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 Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                              §
 In re:
                                                              §    Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         §
                                                              §    Case No. 19-34054-sgj11
                                                              §
                                   Debtor.
                                                              §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                              §
                                   Plaintiff,                 §    Adversary Proceeding No.
                                                              §
 vs.                                                          §    ______________________
                                                              §
 HIGHLAND CAPITAL MANAGEMENT                                  §
 SERVICES, INC,                                               §
                                                              §
                                   Defendant.




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                       COMPLAINT FOR (I) BREACH OF CONTRACT
              AND (II) TURNOVER OF PROPERTY OF THE DEBTOR’S ESTATE

         Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

 possession (the “Debtor”) in the above-captioned chapter 11 case and the plaintiff in the above-

 captioned adversary proceeding (the “Adversary Proceeding”), by its undersigned counsel, as

 and for its complaint (the “Complaint”) against defendant, Highland Capital Management

 Services, Inc. (“HCMS” or “Defendant”), alleges upon knowledge of its own actions and upon

 information and belief as to other matters as follows:

                                 PRELIMINARY STATEMENT

         1.       The Debtor brings this action against HCMS as a result of HCMS’s defaults under

 (i) four demand notes in the aggregate principal amount of $900,000 and payable upon the

 Debtor’s demand, and (ii) one term note in the aggregate principal amount of $20,247,628.02

 and payable in the event of default, all executed by HCMS in favor of the Debtor. HCMS has

 failed to pay amounts due and owing under the notes and the accrued but unpaid interest thereon.

         2.       Through this Complaint, the Debtor seeks (a) damages from HCMS in an amount

 equal to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii)

 all accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

 Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and

 expenses, as provided for in the notes) for HCMS’s breach of its obligations under the Notes, and

 (b) turnover by HCMS to the Debtor of the foregoing amounts.

                                  JURISDICTION AND VENUE

         3.       This adversary proceeding arises in and relates to the Debtor’s case pending

 before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division

 (the “Court”) under chapter 11 of the Bankruptcy Code.


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         4.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334.

         5.       This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b), and,

 pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final order

 by the Court in the event that it is later determined that the Court, absent consent of the parties,

 cannot enter final orders or judgments consistent with Article III of the United States

 Constitution.

         6.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           THE PARTIES

         7.       The Debtor is a limited liability partnership formed under the laws of Delaware

 with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

         8.       Upon information and belief, HCMS is a company with offices located in Dallas,

 Texas, and is incorporated in the state of Delaware.

                                       CASE BACKGROUND

         9.       On October 16, 2019, the Debtor filed a voluntary petition for relief under chapter

 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware

 (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

         10.      On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

 Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

 Redeemer Committee of Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities

 LLC and UBS AG London Branch, and (d) Acis LP and Acis GP.




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            11.      On December 4, 2019, the Delaware Court entered an order transferring venue of

 the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

            12.      The Debtor has continued in the possession of its property and has continued to

 operate and manage its business as a debtor-in-possession pursuant to sections 1107(a) and 1108

 of the Bankruptcy Code. No trustee or examiner has been appointed in this chapter 11 case.

                                            STATEMENT OF FACTS

 A.         The HCMS Demand Notes

            13.      HCMS is the maker under a series of demand notes in favor of the Debtor.

            14.      Specifically, on March 28, 2018, HCMS executed a demand note in favor of the

 Debtor, as payee, in the original principal amount of $150,000 (“HCMS’s First Demand Note”).

 A true and correct copy of HCMS’s First Demand Note is attached hereto as Exhibit 1.

            15.      On June 25, 2018, HCMS executed a demand note in favor of the Debtor, as

 payee, in the original principal amount of $200,000 (“HCMS’s Second Demand Note”). A true

 and correct copy of HCMS’s Second Demand Note is attached hereto as Exhibit 2.

            16.      On May 29, 2019, HCMS executed a demand note in favor of the Debtor, as

 payee, in the original principal amount of $400,000 (“HCMS’s Third Demand Note”). A true

 and correct copy of HCMS’s Third Demand Note is attached hereto as Exhibit 3

            17.      On June 26, 2019, HCMS executed a demand note in favor of the Debtor, as

 payee, in the original principal amount of $150,000 (“HCMS’s Fourth Demand Note,” and

 collectively, with HCMS’s First Demand Note, HCMS’s Second Demand Note, and HCMS’s

 Third Demand Note, the “Demand Notes”). A true and correct copy of HCMS’s Fourth Demand

 Note is attached hereto as Exhibit 4.



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     All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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         18.      Section 2 of the Demand Notes provide: “Payment of Principal and Interest.

 The accrued interest and principal of this Note shall be due and payable on demand of the

 Payee.”

         19.      Section 4 of the Demand Notes provides:

         Acceleration Upon Default. Failure to pay this Note or any installment
         hereunder as it becomes due shall, at the election of the holder hereof, without
         notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
         or any other notice of any kind which are hereby waived, mature the principal of
         this Note and all interest then accrued, if any, and the same shall at once become
         due and payable and subject to those remedies of the holder hereof. No failure or
         delay on the part of the Payee in exercising any right, power, or privilege
         hereunder shall operate as a waiver hereof.

         20.      Section 6 of the Demand Notes provides:

         Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
         otherwise) and is placed in the hands of an attorney for collection, or if it is
         collected through a bankruptcy court or any other court after maturity, the Maker
         shall pay, in addition to all other amounts owing hereunder, all actual expenses of
         collection, all court costs and reasonable attorneys’ fees and expenses incurred by
         the holder hereof.

 B.      HCMS’s Defaults under Each Demand Note

         21.      By letter dated December 3, 2020, the Debtor made demand on HCMS for

 payment under the Demand Notes by December 11, 2020 (the “Demand Letter”). A true and

 correct copy of the Demand Letter is attached hereto as Exhibit 5. The Demand Letter provided:

         By this letter, Payee is demanding payment of the accrued interest and principal
         due and payable on the Notes in the aggregate amount of $947,519.43, which
         represents all accrued interest and principal through and including December 11,
         2020.

         Payment is due on December 11, 2020, and failure to make payment in full
         on such date will constitute an event of default under the Notes.

 Demand Letter (emphasis in the original).

         22.      Despite the Debtor’s demand, HCMS did not pay all or any portion of the

 amounts demanded by the Debtor on December 11, 2020.

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         23.      As of December 11, 2020, there was an outstanding principal amount of

 $158,776.59 on HCMS’s First Demand Note and accrued but unpaid interest in the amount of

 $3,257.32, resulting in a total outstanding amount as of that date of $162,033.91.

         24.      As of December 11, 2020, there was an outstanding principal balance of

 $212,403.37 on HCMS’s Second Demand Note and accrued but unpaid interest in the amount of

 $2,999.54, resulting in a total outstanding amount as of that date of $215,402.81.

         25.      As of December 11, 2020, there was an outstanding principal balance of

 $409,586.19 on HCMS’s Third Demand Note and accrued but unpaid interest in the amount of

 $5,256.62, resulting in a total outstanding amount as of that date of $414,842.81.

         26.      As of December 11, 2020, there was an outstanding principal balance of

 $153,564.74 on HCMS’s Fourth Demand Note and accrued but unpaid interest in the amount of

 $1,675.16, resulting in a total outstanding amount as of that date of $155,239.90.

         27.      Thus, as of December 11, 2020, the total outstanding principal and accrued but

 unpaid interest due under the Demand Notes was $947,519.43. Pursuant to Section 4 of each

 Demand Note, each Note is in default and is currently due and payable.

 C.      The HCMS Term Note

         28.      HCMS is the maker under a term note in favor of the Debtor.

         29.      Specifically, on May 31, 2017, HCMS executed a term note in favor of the

 Debtor, as payee, in the original principal amount of $20,247,628.02 (the “Term Note,” and

 together with the Demand Notes, the “Notes”). A true and correct copy of the Term Note is

 attached hereto as Exhibit 6.

         30.      Section 2 of the Term Note provides: “Payment of Principal and Interest.

 Principal and interest under this Note shall be due and payable as follows:



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         2.1    Annual Payment Dates. During the term of this Note, Borrower shall
         pay the outstanding principal amount of the Note (and all unpaid accrued interest
         through the date of each such payment) in thirty (30) equal annual payments (the
         “Annual Installment”) until the Note is paid in full. Borrower shall pay the
         Annual Installment on the 31st day of December of each calendar year during the
         term of this Note, commencing on the first such date to occur after the date of
         execution of this note.

         2.2    Final Payment Date. The final payment in the aggregate amount of the
         then outstanding and unpaid Note, together with all accrued and unpaid interest
         thereon, shall become immediately due and payable in full on December 31, 2047
         (the “Maturity Date”).

         31.      Section 3 of the Term Note provides:

         Prepayment Allowed: Renegotiation Discretionary.            Maker may prepay in
         whole or in part the unpaid principal or accrued interest of this Note. Any
         payments on this Note shall be applied first to unpaid accrued interest hereon, and
         then to unpaid principal hereof.

         32.      Section 4 of the Term Note provides:

         Acceleration Upon Default.           Failure to pay this Note or any installment
         hereunder as it becomes due shall, at the election of the holder hereof, without
         notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
         or any other notice of any kind which are hereby waived, mature the principal of
         this Note and all interest then accrued, if any, and the same shall at once become
         due and payable and subject to those remedies of the holder hereof. No failure or
         delay on the part of the Payee in exercising any right, power, or privilege
         hereunder shall operate as a waiver hereof.

         33.      Section 6 of the Term Note provides:

         Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
         otherwise) and is placed in the hands of an attorney for collection, or if it is
         collected through a bankruptcy court or any other court after maturity, the Maker
         shall pay, in addition to all other amounts owing hereunder, all actual expenses of
         collection, all court costs and reasonable attorneys’ fees and expenses incurred by
         the holder hereof.

 D.      HCMS’s Default under the Term Note

         34.      HCMS failed to make the payment due under the Term Note on December 31,

 2020.



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         35.      By letter dated January 7, 2021, the Debtor made demand on HCMS for

 immediate payment under the Term Note (the “Second Demand Letter”). A true and correct

 copy of the Second Demand Letter is attached hereto as Exhibit 7. The Second Demand Letter

 provides:

         Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
         the Note, all principal, interest, and any other amounts due on the Note are
         immediately due and payable. The amount due and payable on the Note as of
         January 8, 2021 is $6,757,248.95; however, interest continues to accrue under the
         Note.

         The Note is in default, and payment is due immediately.

 Second Demand Letter (emphasis in the original).

         36.      As of January 8, 2021, the total outstanding principal and accrued but unpaid

 interest under the Term Note was $6,757,248.95.

         37.      Pursuant to Section 4 of the Term Note, the Term Note is in default and is

 currently due and payable.

                                   FIRST CLAIM FOR RELIEF
                                     (For Breach of Contract)

         38.      The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

         39.      The Notes are binding and enforceable contracts.

         40.      HCMS breached each Demand Note by failing to pay all amounts due to the

 Debtor upon the Debtor’s demand.

         41.      HCMS breached the Term Note by failing to pay all amounts due to the Debtor

 upon HCMS’s default and acceleration.

         42.      Pursuant to each Note, the Debtor is entitled to damages from HCMS in an

 amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued


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 and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

 costs of collection (including all court costs and reasonable attorneys’ fees and expenses) for

 HCMS’s breach of its obligations under each of the Notes.

         43.      As a direct and proximate cause of HCMS’s breach of each Demand Note, the

 Debtor has suffered damages in the amount of at least $947,519.43 as of December 11, 2020,

 plus an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

 collection.

         44.      As a direct and proximate cause of HCMS’s breach of the Term Note, the Debtor

 has suffered damages in the amount of at least $6,757,248.95 as of January 8, 2021, plus an

 amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

 collection.

                                 SECOND CLAIM FOR RELIEF
                         (Turnover by HCMS Pursuant to 11 U.S.C. § 542(b))

         45.      The Debtor repeats and re-alleges the allegations in each of the foregoing

 paragraphs as though fully set forth herein.

         46.      HCMS owes the Debtor an amount equal to (i) the aggregate outstanding

 principal due under each of the Notes, plus (ii) all accrued and unpaid interest thereon until the

 date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court

 costs and reasonable attorneys’ fees and expenses) for HCMS’s breach of its obligations under

 each of the Notes.

         47.      Each Demand Note is property of the Debtor’s estate and the amounts due under

 each Demand Note are matured and payable upon demand.

         48.      The Term Note is property of the Debtor’s estate and the amounts due under the

 Term Note are matured and payable upon default and acceleration.


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           49.     The Debtor has made demand for turnover of the amounts due under each of the

  Notes.

           50.     As of the date of filing this Complaint, HCMS has not turned over to the Debtor

  all or any of the amounts due under each of the Notes.

           51.     The Debtor is entitled to the turnover of all amounts due under each of the Notes.

           WHEREFORE, the Debtor prays for judgment as follows:

                   (i)        On its First Claim for Relief, damages in an amount to be determined at

                   trial, including, among other things, (a) the aggregate outstanding principal due

                   under each Note, plus (b) all accrued and unpaid interest thereon until the date of

                   payment, plus (c) an amount equal to the Debtor’s cost of collection (including all

                   court costs and reasonable attorneys’ fees and expenses);

                    (ii)      On its Second Claim for Relief, ordering turnover by HCMS to the Debtor

                   of an amount equal to (a) the aggregate principal due under each Note, plus (b) all

                   accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                   equal to the Debtor’s cost of collection (including all court costs and reasonable

                   attorneys’ fees and expenses); and

                   (iii)      Such other and further relief as this Court deems just and proper.




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  Dated: January 22, 2021.        PACHULSKI STANG ZIEHL & JONES LLP

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                                  John A. Morris (NY Bar No. 2405397)
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                                  -and-

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                    EXHIBIT 1




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                                      PROMISSORY NOTE


 $150,000.00                                                                         March 28, 2018


        FOR VALUE RECEIVED, HIGHLAND CAP!TAL MANAGEMENT SERVICES, INC.
 ("Maker") promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP.
 ("Payee"), in legal and lawful tender of the United States of America, the principal sum of ONE
 HUNDRED AND FIFTY THOUSAND and 00/100 Dollars ($150,000.00), togetl1er with
 interest, on the tenns set forth below (the "Note"). All sums hereunder are payable to Payee at
 300 Crescent Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in
 writing from time to time.

         1.     Interest Rate.    The unpaid principal balance of this Note from time to time
 outstanding sha11 bear interest at a rate equal to the Iong-tenn "applicable federal rate" (2.88 %)
 in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
 Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
 the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
 11365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
 number of days elapsed, and shall be payable on demand of the Payee.

         2.     Payment of Principal and Interest. The accrued interest and principal of this Note
 shall be due and payable on demand of the Payee.

         3.      Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in whole
 or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
 be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof

        4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
 as it becomes due shall, at the election of the holder hereof, without notice, demand,
 presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
 which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
 and the same shall at once become due and payable and subject to those remedies of the holder
 hereof. No failure or delay on the part of Payee fn exercising any right, power or privilege
 hereunder shall operate as a waiver thereof.

         5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
 nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
 all other notices of any kind hereunder.

        6.       Attorneys' Fees. If this Note fa not paid at maturity (whether by acceleration or
 otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
 bankruptcy court or any other comt afier maturity, the Mal<er shall pay, in addition to all other
 amounts_ owing hereunder, all actual expenses of collection, all court costs and reasonable
 attorneys' fees and expenses incun-ed by the holder hereof.
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        7.       Limitation on Agreements. All agreements between Maker and Payee, whether
 now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
 agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
 performance of any covenant or obligation contained herein or in any other document
 evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
 law. The terms and provisions of this paragraph shall control and supersede every other
 provision of all agreements between Payee and Maker in conflict herewith.

         8.     Governing Law. This Note and the rights and obligations of the parties hereunder
 shall be governed by the laws of the United States of America and by the laws of the State of
 Texas, and is performable in Dallas County, Texas.


                                              MAKER:




                                              HI I        APITAL MANAGEMENT
                                              SERVICES, INC.




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                    EXHIBIT 2




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                                      PROMISSORY NOTE


 $200,000.00                                                                           June 25, 2018


         FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
 ("Maker") promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP.
 ("Payee"), in legal and lawful tender of the United States of America, the principal stun of TWO
 HUNDRED THOUSAND and 00/100 Dollars ($200,000.00), together with interest, on the terms
 set forth below (the "Note"). All stuns hereunder are payable to Payee at 300 Crescent Court,
 Dallas, TX 75201, or such other address as Payee may specify to Maker in writing from time to
 time.

         1.      Interest Rate. The unpaid principal balance of this Note from time to time
 outstanding shall bear interest at a rate equal to the long-term "applicable federal rate" (3.05 %)
 in effect on the date hereof for loans of such matmity as detennined by Section 1274(d) of the
 Internal Revenue Code, per amrnm from the date hereof until maturity, compounded annually on
 the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
 11365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
 number of days elapsed, and shall be payable on demand of the Payee.

         2.     Payment of Principal and Interest. The accrued interest and principal of this Note
 shall be due and payable on demand of the Payee.

         3.      Prepayment Allowed; Renegotiation Discretionaiy. Maker may prepay in whole
 or in part the unpaid principal or accrned interest of this Note. Any payments on this Note shall
 be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

        4,      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
 as it becomes due shall, at the election of the holder hereof, without notice, demand,
 presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
 which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
 and the same shall at once become due and payable and subject to those remedies of the holder
 hereof. No failure or delay on the part of Payee in exercising any right, pbwer or privilege
 hereunder shall operate as a waiver thereof:

         5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
 nonpayment, protest, notice of protest, notice- of intent to accelerate, notice of acceleration and
 all other notices of any kind hereunder.

        6.       Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
 otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
 banlauptcy court or any other court after maturity, the Maker shall pay, in addition to all other
 amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
 attorneys' fees and expenses incun·ed by the holder hereof.
    Case 21-03006-sgj Doc 1-2 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-272 Filed
                                        Page01/09/24
                                              3 of 3 Page 17 of 213 PageID 46230



        7.       Limitation on Agreements. All agreements between Maker and Payee, whether
 now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
 agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
 performance of any covenant or obligation contained herein or in any other document
 evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
 law. The terms and provisions of this paragraph shall control and supersede every other
 provision of all agreements between Payee and Maker in conflict herewith.

         8.     Governing Law. This Note and the rights and obligations of the parties hereunder
 shall be governed by the laws of the United States of America and by the laws of the State of
 Texas, and is performable in Dallas County, Texas.


                                              MAKER:




                                           ~~ SERVICES, INC.




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    Case 21-03006-sgj Doc 1-3 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-273 Filed
                                        Page01/09/24
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                    EXHIBIT 3




 EXHIBIT 3
    Case 21-03006-sgj Doc 1-3 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-273 Filed
                                        Page01/09/24
                                              2 of 3 Page 19 of 213 PageID 46232



                                      PROMISSORY NOTE


 $400,000                                                                             May 29, 2019


         FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
 (“Maker”) promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP
 (“Payee”), in legal and lawful tender of the United States of America, the principal sum of
 FOUR HUNDRED THOUSAND and 00/100 Dollars ($400,000.00), together with interest, on
 the terms set forth below (the “Note”). All sums hereunder are payable to Payee at 300 Crescent
 Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in writing from
 time to time.

         1.     Interest Rate. The unpaid principal balance of this Note from time to time
 outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.39%)
 in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
 Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
 the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
 1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
 number of days elapsed, and shall be payable on demand of the Payee.

         2.     Payment of Principal and Interest. The accrued interest and principal of this Note
 shall be due and payable on demand.

         3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
 or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
 be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

        4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
 as it becomes due shall, at the election of the holder hereof, without notice, demand,
 presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
 which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
 and the same shall at once become due and payable and subject to those remedies of the holder
 hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
 hereunder shall operate as a waiver thereof.

         5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
 nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
 all other notices of any kind hereunder.

        6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
 otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
 bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
 amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
 attorneys’ fees and expenses incurred by the holder hereof.
    Case 21-03006-sgj Doc 1-3 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-273 Filed
                                        Page01/09/24
                                              3 of 3 Page 20 of 213 PageID 46233



        7.       Limitation on Agreements. All agreements between Maker and Payee, whether
 now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
 agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
 performance of any covenant or obligation contained herein or in any other document
 evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
 law. The terms and provisions of this paragraph shall control and supersede every other
 provision of all agreements between Payee and Maker in conflict herewith.

         8.     Governing Law. This Note and the rights and obligations of the parties hereunder
 shall be governed by the laws of the United States of America and by the laws of the State of
 Texas, and is performable in Dallas County, Texas.


                                              MAKER:




                                              FRANK WATERHOUSE




                                                 2
    Case 21-03006-sgj Doc 1-4 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-274 Filed
                                        Page01/09/24
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                    EXHIBIT 4




 EXHIBIT 4
    Case 21-03006-sgj Doc 1-4 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-274 Filed
                                        Page01/09/24
                                              2 of 3 Page 22 of 213 PageID 46235



                                      PROMISSORY NOTE


 $150,000                                                                             June 26, 2019


         FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
 (“Maker”) promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP
 (“Payee”), in legal and lawful tender of the United States of America, the principal sum of ONE
 HUNDRED AND FIFTY THOUSAND and 00/100 Dollars ($150,000.00), together with
 interest, on the terms set forth below (the “Note”). All sums hereunder are payable to Payee at
 300 Crescent Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in
 writing from time to time.

         1.     Interest Rate. The unpaid principal balance of this Note from time to time
 outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.37%)
 in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
 Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
 the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
 1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
 number of days elapsed, and shall be payable on demand of the Payee.

         2.     Payment of Principal and Interest. The accrued interest and principal of this Note
 shall be due and payable on demand.

         3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
 or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
 be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

        4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
 as it becomes due shall, at the election of the holder hereof, without notice, demand,
 presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
 which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
 and the same shall at once become due and payable and subject to those remedies of the holder
 hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
 hereunder shall operate as a waiver thereof.

         5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
 nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
 all other notices of any kind hereunder.

        6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
 otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
 bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
 amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
 attorneys’ fees and expenses incurred by the holder hereof.
    Case 21-03006-sgj Doc 1-4 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-274 Filed
                                        Page01/09/24
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        7.       Limitation on Agreements. All agreements between Maker and Payee, whether
 now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
 agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
 performance of any covenant or obligation contained herein or in any other document
 evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
 law. The terms and provisions of this paragraph shall control and supersede every other
 provision of all agreements between Payee and Maker in conflict herewith.

         8.     Governing Law. This Note and the rights and obligations of the parties hereunder
 shall be governed by the laws of the United States of America and by the laws of the State of
 Texas, and is performable in Dallas County, Texas.


                                              MAKER:




                                              FRANK WATERHOUSE




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    Case 21-03006-sgj Doc 1-5 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-275 Filed
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                    EXHIBIT 5




 EXHIBIT 5
    Case 21-03006-sgj Doc 1-5 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-275 Filed
                                        Page01/09/24
                                              2 of 4 Page 25 of 213 PageID 46238
                       HIGHLAND CAPITAL MANAGEMENT, L.P.

 December 3, 2020

 Highland Capital Management Services, Inc.
 c/o Highland Capital Management, L.P.
 300 Crescent Court, Suite 700
 Dallas, Texas 75201
 Attention: Frank Waterhouse, CFO

         Re: Demand on Promissory Notes:

 Dear Mr. Waterhouse,

 Highland Capital Management Services, Inc. (“Maker”) entered into the following promissory
 notes (collectively, the “Notes”) in favor of Highland Capital Management, L.P. (“Payee”):

Date Issued      Original Principal   Outstanding Principal    Accrued But             Total Amount
                      Amount           Amount (12/11/20)      Unpaid Interest      Outstanding (12/11/20)
                                                                (12/11/20)
  3/28/18             $150,000            $158,776.59            $3,257.32              $162,033.91
  6/25/18             $200,000            $212,403.27            $2,999.54              $215,402.81
  5/29/19             $400,000            $409,586.19            $5,256.62              $414,842.81
  6/26/19             $150,000            $153,564.74            $1,675.16              $155,239.90
  TOTALS              $900,000            $934,330.79           $13,188.64              $947,519.43

 As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
 upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
 and principal due and payable on the Notes in the aggregate amount of $947,519.43, which
 represents all accrued and unpaid interest and principal through and including December 11,
 2020.

 Payment is due on December 11, 2020, and failure to make payment in full on such date
 will constitute an event of default under the Notes.

 Payments on the Notes must be made in immediately available funds. Payee’s wire information
 is attached hereto as Appendix A.

 Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
 or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
 expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
 accrue until the Notes are paid in full. Any such interest will remain the obligation of Maker.

 Sincerely,

 /s/ James P. Seery, Jr.

 James P. Seery, Jr.
 Highland Capital Management, L.P.
 Chief Executive Officer/Chief Restructuring Officer



 DOCS_NY:41635.1 36027/002
    Case 21-03006-sgj Doc 1-5 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-275 Filed
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 cc:     Fred Caruso
         James Romey
         Jeffrey Pomerantz
         Ira Kharasch
         Gregory Demo




 DOCS_NY:41635.1 36027/002             2
    Case 21-03006-sgj Doc 1-5 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-275 Filed
                                        Page01/09/24
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                                     Appendix A


                   ABA #:          322070381
                   Bank Name:      East West Bank
                   Account Name:   Highland Capital Management, LP
                   Account #:      5500014686
    Case 21-03006-sgj Doc 1-6 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-276 Filed
                                        Page01/09/24
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                    EXHIBIT 6




 EXHIBIT 6
    Case 21-03006-sgj Doc 1-6 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-276 Filed
                                        Page01/09/24
                                              2 of 4 Page 29 of 213 PageID 46242


                                       PROMISSORY NOTE

 $20,247,628.02                                                                         May 31, 2017

         THIS PROMISSORY NOTE (this "Note") is in substitution for and supersedes in their
 entirety each of those certain promissory notes described in Exhibit A hereto, from Highland
 Capital Management Services, Inc. , as Maker, and Highland Capital Management, L.P. as Payee
 (collectively, the "Prior Notes"), together with the aggregate outstanding principal and accrued
 and unpaid interested represented thereby.

          FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
 ("Maker") promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, L.P.
 ("Payee"), in legal and lawful tender of the United States of America, the principal sum of
 TWENTY MILLION, TWO HUNDRED FORTY SEVEN THOUSAND, SIX HUNDRED
 TWENTY EIGHT AND 02/100 DOLLARS ($20,247,628.02), together with interest, on the terms
 set forth below. All sums hereunder are payable to Payee at 300 Crescent Court, Suite 700, Dallas,
 Texas 75201, or such other address as Payee may specify to Maker in writing from time to time.

          1.     Interest Rate. The unpaid principal balance of this Note from time to time
 outstanding shall bear interest at the rate of two and seventy-five hundredths percent (2.75%) per
 annum from the date hereof until Maturity Date (hereinafter defined), compounded annually on
 the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to 11365th
 ( 1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual number
 of days elapsed, and shall be payable annually.

        2.      Payment of Principal and Interest. Principal and interest under this Note shall be
 payable as follows:

            2.1     Annual Payment Dates. During the tenn of this Note, Borrower shall pay the
     outstanding principal amount of the Note (and all unpaid accrued interest through the date of
     each such payment) in thirty (30) equal annual payments (the "Annual Installment") until
     the Note is paid in full. Borrower shall pay the Annual Installment on the 31st day of December
     of each calendar year during the term of this Note, commencing on the first such date to occur
     after the date of execution of this Note.

           2.2    Final Payment Date.        The final payment in the aggregate amount of the
     then outstanding and unpaid Note, together with all accrued and unpaid interest thereon, shall
     become immediately due and payable in full on December 31 , 2047 (the "Maturity Date").

         3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
 or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
 be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

         4.     Acceleration Upon Default. Failure to pay this Note or any installment hereunder
 as it becomes due shall, at the election of the holder hereof, without notice, demand, presentment,
 notice of intent to accelerate, notice of acceleration, or any other notice of any kind which are
 hereby waived, mature the principal of this Note and all interest then accrued, if any, and the same
 shall at once become due and payable and subject to those remedies of the holder hereof. No
    Case 21-03006-sgj Doc 1-6 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-276 Filed
                                        Page01/09/24
                                              3 of 4 Page 30 of 213 PageID 46243


 failure or delay on the part of Payee in exercising any right, power or privilege hereunder shall
 operate as a waiver thereof.

        5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
 nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and all
 other notices of any kind hereunder.

        6.       Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
 otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
 bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
 amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
 attorneys' fees and expenses incLmed by the holder hereof.

        7.      Limitation on Agreements. All agreements between Maker and Payee, whether
 now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
 agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
 perfonnance of any covenant or obligation contained herein or in any other document evidencing,
 securing or pertaining to this Note, exceed the maximum interest rate allowed by law. The terms
 and provisions of this paragraph shall control and supersede every other provision of all
 agreements between Payee and Maker in confl ict herewith.

         8.     Governing Law. This Note and the rights and obligations of the paiiies hereunder
 shall be governed by the laws of the United States of America and by the laws of the State of
 Texas, and is performable in Dallas County, Texas.

       9.    Prior Notes.       The original of each of the Prior Notes superseded hereby shall be
 marked "VOID" by Payee.


                                                MAKER:

                                                HIGHLAND CAPITA
                                                SERVICES,


                                                By: _ _----'.,..:..--:..__~ :..___ _ _ _ _ _ __
                                                Name:
                                                Title:




                                                   2
    Case 21-03006-sgj Doc 1-6 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-276 Filed
                                        Page01/09/24
                                              4 of 4 Page 31 of 213 PageID 46244


                                    EXHIBIT A

                                   PRIOR NOTES

                                                     Principal and Interest
                    Initial Note
     Loan Date                       Interest Rate      Outstanding as
                     Amount
                                                        of May 31, 2017
      5/29/15        $500,000           2.30%               $523,095
       10/1/15       $350,000           2.58%               $3 15,500
       10/2/15       $310,000           2.58%               $323,301
      10/27/15       $200,000           2.58%               $208,228
      10/28/15       $200,000           2.58%               $208,214
      10/30/15       $100,000           2.58%               $104,093
      11/23/15       $ 100,000          2.57%               $103 ,908
      11/24/15       $250,000           2.57%               $259,752
      2/10/16       $2,000,000          2.62%               $ 83,390
      2/11/16        $250,000           2.62%               $258,524
       4/5/16       $6,000,000          2.25%              $6, 155,712
       5/4/16       $2,700,000          2.24%              $2,764,954
       7/1/16         $30,000           2. 18%               $30,598
       8/5/16        $525,000           2. 18%              $534,375
      8/22/16        $250,000           2. 18%              $254,465
      9/22/16        $185,000           2.18%               $187,773
      12/12/16      $7,700,000          2.26%              $7,78 1,050
      3/31/17        $ 150,000          2.78%               $150,697
                    $21,800,000                          $20,247,628.02




                                        3
    Case 21-03006-sgj Doc 1-7 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-277 Filed
                                        Page01/09/24
                                              1 of 4 Page 32 of 213 PageID 46245




                    EXHIBIT 7




 EXHIBIT 7
    Case 21-03006-sgj Doc 1-7 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-277 Filed
                                        Page01/09/24
                                              2 of 4 Page 33 of 213 PageID 46246
                       HIGHLAND CAPITAL MANAGEMENT, L.P.




 January 7, 2021




 Highland Capital Management Services, Inc.
 c/o Bonds Ellis Eppich Schafer Jones LLP
 420 Throckmorton Street, Suite 1000
 Fort Worth, Texas 76012
 Attention: James Dondero

         Re: Demand on Promissory Note

 Dear Mr. Dondero,

 On May 31, 2017, Highland Capital Management Services, Inc. entered into that certain
 promissory note in the original principal amount of $20,247,628.02 (the “Note”) in favor of
 Highland Capital Management, L.P. (“Payee”).

 As set forth in Section 2 of the Note, accrued interest and principal on the Note is due and
 payable in thirty equal annual payments with each payment due on December 31 of each
 calendar year. Maker failed to make the payment due on December 31, 2020.

 Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of the Note, all
 principal, interest, and any other amounts due on the Note are immediately due and payable. The
 amount due and payable on the Note as of January 8, 2021 is $6,757,248.95; however, interest
 continues to accrue under the Note.

 The Note is in default, and payment is due immediately. Payments on the Note must be made
 in immediately available funds. Payee’s wire information is attached hereto as Appendix A.

 Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Note
 or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
 expressly reserved. Interest, including default interest if applicable, on the Note will continue to
 accrue until the Note is paid in full. Any such interest will remain the obligation of Maker.

 Sincerely,

 /s/ James P. Seery, Jr.

 James P. Seery, Jr.
 Highland Capital Management, L.P.
 Chief Executive Officer/Chief Restructuring Officer


 DOCS_NY:41914.2 36027/002
    Case 21-03006-sgj Doc 1-7 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-277 Filed
                                        Page01/09/24
                                              3 of 4 Page 34 of 213 PageID 46247



 cc:     Fred Caruso
         James Romey
         Jeffrey Pomerantz
         Ira Kharasch
         Gregory Demo
         D. Michael Lynn




 DOCS_NY:41914.2 36027/002             2
    Case 21-03006-sgj Doc 1-7 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
Case 3:21-cv-00881-X Document Exhibit
                              178-277 Filed
                                        Page01/09/24
                                              4 of 4 Page 35 of 213 PageID 46248



                                     Appendix A


                   ABA #:          322070381
                   Bank Name:      East West Bank
                   Account Name:   Highland Capital Management, LP
                   Account #:      5500014686
        Case 21-03006-sgj Doc 1-8 Filed 01/22/21 Entered 01/22/21 18:05:19 Desc
    Case 3:21-cv-00881-X Document
                           Adversary
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                                                   Page 1 Page
                                                          of 2 36 of 213 PageID 46249
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Highland Capital Management, L.P.                                                    Highland Capital Management Services, Inc.



ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Hayward PLLC
10501 N. Central Expressway, Suite 106
Dallas, Texas 75231 Tel.: (972) 755-7100
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Count 1: Breach of contract; Count 2: Turnover pursuant to 11 U.S.C. 542




                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□2 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □1 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $ 7,704,768.38 plus interest, fees, and expenses
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

                   BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                    BANKRUPTCY CASE NO.
Highland Capital Management, L.P.                   19-34054-sgj11
DISTRICT IN WHICH CASE IS PENDING               DIVISION OFFICE                                         NAME OF JUDGE
 Northern District of Texas                        Dallas                                               Stacey G. C. Jernigan
                            RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                             DEFENDANT                                                         ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

 January 22, 2021                                                       Zachery Z. Annable



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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 COUNSEL FOR HIGHLAND MANAGEMENT
 SERVICES, INC.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
  In re:                                            §
                                                    §
  HIGHLAND CAPITAL MANAGEMENT,                      §        Chapter 11
  L.P.                                              §
                                                    §        Case No.: 19-34054-sgj11
            Debtor.                                 §
                                                    §
  HIGHLAND CAPITAL MANAGEMENT,                      §
  L.P.                                              §
                                                    §
            Plaintiff,                              §
                                                    §
  vs.                                               §        Adv. Pro. No. 21-03006-sgj
                                                    §
  HIGHLAND CAPITAL MANAGEMENT                       §
  SERVICES, INC.,                                   §
                                                    §
            Defendant.                              §

                   HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S
                         ANSWER TO PLAINTIFF’S COMPLAINT


           Defendant Highland Capital Management Services, Inc. (“HCMS” or “Defendant”) files

 this Answer in response to Highland Capital Management L.P.’s (“Plaintiff” or “Debtor”)

 Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s Estate (the

 “Complaint”) and respectfully states as follows:



 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                  PAGE 1
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                                      PRELIMINARY STATEMENT 1

          1.       The first sentence of Paragraph 1 sets forth Plaintiff’s objective in bringing the

 Complaint and does not require a response. To the extent a response is required, Defendant denies

 the allegations in the first sentence of Paragraph 1. The second sentence contains a legal conclusion

 that does not require a response. To the extent a response is required, Defendant denies the

 allegations in the second sentence of Paragraph 1.

          2.       Paragraph 2 contains a summary of the relief Plaintiff seeks and does not require a

 response. To the extent a response is required, Defendant denies the allegations in Paragraph 2.

                                       JURISDICTION AND VENUE

          3.       Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

 bankruptcy case but denies any implication that this fact confers constitutional authority on the

 Bankruptcy Court to adjudicate this dispute. Defendant denies any allegations in Paragraph 3 that

 are not expressly admitted.

          4.       Paragraph 4 states a legal conclusion that does not require a response. To the extent

 a response is required, Defendant admits the Bankruptcy Court has statutory jurisdiction over this

 Adversary Proceeding but denies that the Court has constitutional authority over this Adversary

 Proceeding. Defendant denies any allegations in Paragraph 4 that are not expressly admitted.

          5.       Defendant denies that Plaintiff’s breach of contract claim is a core proceeding.

 Defendant further denies that a turnover proceeding under 11 U.S.C. § 542(b) is the appropriate

 mechanism to collect a contested debt. Defendant admits that a turnover proceeding under 11

 U.S.C. § 542(b) is a statutorily core proceeding but denies that it is constitutionally core under

 Stern v. Marshall. Defendant does not consent to the Bankruptcy Court entering final orders or



 1
     The headings herein are from Plaintiff’s Complaint and are solely included for the Court’s convenience.


 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                                         PAGE 2
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 judgment in this Adversary Proceeding. Defendant denies any allegations in Paragraph 5 that are

 not expressly admitted.

        6.      Paragraph 6 states a legal conclusion to which no response is required. To the extent

 a response is required, Defendant admits that venue is proper in this District.

                                          THE PARTIES

        7.      Defendant admits the allegations in Paragraph 7 of the Complaint.

        8.      Defendant admits the allegations in Paragraph 8 of the Complaint.

                                      CASE BACKGROUND

        9.      Defendant admits the allegations in Paragraph 9 of the Complaint.

        10.     Defendant admits the allegations in Paragraph 10 of the Complaint.

        11.     Defendant admits the allegations in Paragraph 11 of the Complaint.

        12.     Defendant admits the allegations in Paragraph 12 of the Complaint.

                                    STATEMENT OF FACTS

 A.     The HCMS Demand Notes

        13.     Defendant admits it has executed at least one promissory note under which the

 Debtor is the payee. Defendant denies any allegations in Paragraph 13 that are not expressly

 admitted.

        14.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 1. Defendant denies any allegations in Paragraph 14 that are not expressly admitted.

        15.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 2. Defendant denies any allegations in Paragraph 15 that are not expressly admitted.

        16.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 3. Defendant denies any allegations in Paragraph 16 that are not expressly admitted.



 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                        PAGE 3
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        17.     Defendant admits that it signed the document attached to the Complaint as Exhibit

 4. Defendant denies any allegations in Paragraph 17 that are not expressly admitted.

        18.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibits 1-4 to

 the Complaint in Paragraph 18.

        19.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibits 1-4 to

 the Complaint in Paragraph 19.

        20.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibits 1-4 of

 the Complaint in Paragraph 20.

 B.     Allegations regarding the Demand Notes

        21.     Defendant admits that Plaintiff sent it a copy of Exhibit 5. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 5 in the third sentence of Paragraph 21.

 Defendant denies any allegations in Paragraph 21 that are not expressly admitted.

        22.     To the extent Paragraph 22 asserts a legal conclusion, no response is required, and

 it is denied. Defendant otherwise admits the allegations in Paragraph 22.

        23.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 23 and, therefore, denies them.

        24.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 24 and, therefore, denies them.

        25.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 25 and, therefore, denies them.

        26.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in Paragraph 26 and, therefore, denies them.




 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                      PAGE 4
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        27.     Defendant lacks sufficient information or knowledge to admit or deny the

 allegations in the first sentence of Paragraph 27 and, therefore, denies them. Defendant denies the

 allegations in the second sentence of Paragraph 27 of the Complaint.

 C.     The HCMS Term Note

        28.     Defendant admits that it has executed at least one promissory note under which

 Debtor is the payee. Defendant denies any allegations in Paragraph 28 that are not expressly

 admitted.

        29.     Defendant admits it signed the document attached to the Complaint as Exhibit 6.

 Defendant denies any allegations in Paragraph 29 that are not expressly admitted.

        30.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibit 6 to the

 Complaint in Paragraph 30. Defendant denies any allegations in Paragraph 30 that are not

 expressly admitted.

        31.     Defendant admits that Plaintiff correctly transcribed Section 3 of Exhibit 6 to the

 Complaint in Paragraph 31. Defendant denies any allegations in Paragraph 31 that are not

 expressly admitted.

        32.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibit 6 to the

 Complaint in Paragraph 32. Defendant denies any allegations in Paragraph 32 that are not

 expressly admitted.

        33.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibit 6 to the

 Complaint in Paragraph 33. Defendant denies any allegations in Paragraph 33 that are not

 expressly admitted.

 D.     Allegations regarding the Term Note.

        34.     To the extent Paragraph 34 of the Complaint asserts a legal conclusion, no response

 is required, and it is denied. Defendant otherwise admits Paragraph 34 of the Complaint.

 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                       PAGE 5
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        35.     Defendant admits that Plaintiff sent it a copy of Exhibit 7. Defendant admits that

 Plaintiff correctly transcribed an excerpt of Exhibit 7 in the third sentence of Paragraph 35 of the

 Complaint. Defendant denies any allegations in Paragraph 35 that are not expressly admitted.

        36.     Defendant is without sufficient information or knowledge to admit or deny the

 allegations in Paragraph 36 of the Complaint and, therefore, denies them.

        37.     Defendant denies Paragraph 37 of the Complaint.

                                  FIRST CLAIM FOR RELIEF
                                    (For Breach of Contract)

        38.     Paragraph 38 of the Complaint seeks to incorporate the allegations in the preceding

 paragraphs and does not require a response. Defendant incorporates all prior denials herein by

 reference.

        39.     Paragraph 39 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        40.     Paragraph 40 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        41.     Paragraph 41 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        42.     Paragraph 42 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

        43.     Defendant denies Paragraph 43 of the Complaint.


 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                        PAGE 6
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         44.     Defendant denies Paragraph 44 of the Complaint.

                               SECOND CLAIM FOR RELIEF
                       (Turnover by HCMS Pursuant to 11 U.S.C. § 549(b))

         45.     Paragraph 45 seeks to incorporate the allegations in the preceding paragraphs and

 does not require a response. Defendant incorporates all prior denials herein by reference.

         46.     Paragraph 46 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         47.     Paragraph 47 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         48.     Paragraph 48 of the Complaint states a legal conclusion that does not require a

 response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

 admit or deny the allegations and, therefore, denies them.

         49.     Defendant admits that Plaintiff transmitted Exhibits 5 and 7 to the Complaint.

 Defendant lacks sufficient information or knowledge to admit or deny the remaining allegations

 in Paragraph 49 of the Complaint and, therefore, denies them.

         50.     Defendant lacks sufficient information or knowledge to admit or deny the

 remaining allegations in Paragraph 50 of the Complaint and, therefore, denies them.

         51.     Defendant denies Paragraph 51 of the Complaint.

         52.     Defendant denies that Plaintiff is entitled to the relief requested in the prayer of the

 Complaint, including parts (i), (ii), and (iii).




 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                            PAGE 7
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                                    AFFIRMATIVE DEFENSES

           53.    Plaintiff’s claims are barred in whole or in part by the doctrine of justification

 and/or repudiation.

           54.    Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel.

           55.    Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

           56.    Plaintiff’s claims are barred in whole or in part by the doctrines of offset and/or

 setoff.

                                           JURY DEMAND

           57.    HCMS demands a trial by jury of all issues so triable under Federal Rule of Civil

 Procedure 38 and Federal Rule of Bankruptcy Procedure 9015.

           58.    HCMS does not consent to the Bankruptcy Court conducting a jury trial and

 therefore demands such jury trial in the District Court.

                                               PRAYER

           For these reasons, HCMS respectfully requests that, following a trial on the merits, the

 Court deny the relief Plaintiffs seeks through its Complaint, enter a judgment that the Plaintiff take

 nothing on the Complaint, and grant HCMS such other relief at law or in equity to which it may

 be entitled.




 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                             PAGE 8
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                                            Respectfully submitted,


                                             /s/ Lauren K. Drawhorn
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                                             Lauren K. Drawhorn
                                             Texas Bar No. 24074528
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                                                     lauren.drawhorn@wickphillips.com

                                             COUNSEL FOR HIGHLAND MANAGEMENT
                                             SERVICES, INC.


                                CERTIFICATE OF SERVICE

        I hereby certify that on March 3, 2021, a true and correct copy of the foregoing pleading
 was served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
 requesting or consenting to such service in this adversary case.

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 Counsel for Highland Capital Management, L.P.


                                             /s/ Lauren K. Drawhorn
                                                 Lauren K. Drawhorn



 HCMS’ ANSWER TO PLAINTIFF’S COMPLAINT                                                    PAGE 9
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  COUNSEL FOR HIGHLAND CAPITAL
  MANAGEMENT SERVICES, INC.

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
   In re:                                           §
                                                    §
   HIGHLAND CAPITAL MANAGEMENT,                     §            Chapter 11
   L.P.                                             §
                                                    §            Case No.: 19-34054-sgj11
             Debtor.                                §
                                                    §
   HIGHLAND CAPITAL MANAGEMENT,                     §
   L.P.                                             §
                                                    §
             Plaintiff,                             §
                                                    §
   vs.                                              §            Adv. Pro. No. 21-03006-sgj
                                                    §
   HIGHLAND CAPITAL MANAGEMENT                      §
   SERVICES, INC.,                                  §
                                                    §
             Defendant.                             §

                   HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S
                  FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT


            Defendant Highland Capital Management Services, Inc. (“HCMS” or “Defendant”) files

  this First Amended Answer in response to Highland Capital Management L.P.’s (“Plaintiff” or

  “Debtor”) Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s

  Estate (the “Complaint”) and respectfully states as follows:



  HCMS’ FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                                       PAGE 1
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                                        PRELIMINARY STATEMENT1

           1.       The first sentence of Paragraph 1 sets forth Plaintiff’s objective in bringing the

  Complaint and does not require a response. To the extent a response is required, Defendant denies

  the allegations in the first sentence of Paragraph 1. The second sentence contains a legal conclusion

  that does not require a response. To the extent a response is required, Defendant denies the

  allegations in the second sentence of Paragraph 1.

           2.       Paragraph 2 contains a summary of the relief Plaintiff seeks and does not require a

  response. To the extent a response is required, Defendant denies the allegations in Paragraph 2.

                                        JURISDICTION AND VENUE

           3.       Defendant admits that this Adversary Proceeding relates to the Plaintiff’s

  bankruptcy case but denies any implication that this fact confers constitutional authority on the

  Bankruptcy Court to adjudicate this dispute. Defendant denies any allegations in Paragraph 3 that

  are not expressly admitted.

           4.       Paragraph 4 states a legal conclusion that does not require a response. To the extent

  a response is required, Defendant admits the Bankruptcy Court has statutory jurisdiction over this

  Adversary Proceeding but denies that the Court has constitutional authority over this Adversary

  Proceeding. Defendant denies any allegations in Paragraph 4 that are not expressly admitted.

           5.       Defendant denies that Plaintiff’s breach of contract claim is a core proceeding.

  Defendant further denies that a turnover proceeding under 11 U.S.C. § 542(b) is the appropriate

  mechanism to collect a contested debt. Defendant admits that a turnover proceeding under 11

  U.S.C. § 542(b) is a statutorily core proceeding but denies that it is constitutionally core under

  Stern v. Marshall. Defendant does not consent to the Bankruptcy Court entering final orders or



  1
      The headings herein are from Plaintiff’s Complaint and are solely included for the Court’s convenience.

  HCMS’ FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                                                           PAGE 2
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  judgment in this Adversary Proceeding. Defendant denies any allegations in Paragraph 5 that are

  not expressly admitted.

         6.      Paragraph 6 states a legal conclusion to which no response is required. To the extent

  a response is required, Defendant admits that venue is proper in this District.

                                           THE PARTIES

         7.      Defendant admits the allegations in Paragraph 7 of the Complaint.

         8.      Defendant admits the allegations in Paragraph 8 of the Complaint.

                                       CASE BACKGROUND

         9.      Defendant admits the allegations in Paragraph 9 of the Complaint.

         10.     Defendant admits the allegations in Paragraph 10 of the Complaint.

         11.     Defendant admits the allegations in Paragraph 11 of the Complaint.

         12.     Defendant admits the allegations in Paragraph 12 of the Complaint.

                                     STATEMENT OF FACTS

  A.     The HCMS Demand Notes

         13.     Defendant admits it has executed at least one promissory note under which the

  Debtor is the payee. Defendant denies any allegations in Paragraph 13 that are not expressly

  admitted.

         14.     Defendant admits that it signed the document attached to the Complaint as Exhibit

  1. Defendant denies any allegations in Paragraph 14 that are not expressly admitted.

         15.     Defendant admits that it signed the document attached to the Complaint as Exhibit

  2. Defendant denies any allegations in Paragraph 15 that are not expressly admitted.

         16.     Defendant denies that it signed the document attached to the Complaint as Exhibit

  3. Defendant denies any allegations in Paragraph 16 that are not expressly admitted.



  HCMS’ FIRST AMENDED ANSWER TO PLAINTIFF’S COMPLAINT                                          PAGE 3
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         17.     Defendant denies that it signed the document attached to the Complaint as Exhibit

  4. Defendant denies any allegations in Paragraph 17 that are not expressly admitted.

         18.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibits 1-4 to

  the Complaint in Paragraph 18.

         19.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibits 1-4 to

  the Complaint in Paragraph 19.

         20.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibits 1-4 of

  the Complaint in Paragraph 20.

  B.     Allegations regarding the Demand Notes

         21.     Defendant admits that Plaintiff sent it a copy of Exhibit 5. Defendant admits that

  Plaintiff correctly transcribed an excerpt of Exhibit 5 in the third sentence of Paragraph 21.

  Defendant denies any allegations in Paragraph 21 that are not expressly admitted.

         22.     To the extent Paragraph 22 asserts a legal conclusion, no response is required, and

  it is denied. Defendant otherwise admits the allegations in Paragraph 22.

         23.     Defendant lacks sufficient information or knowledge to admit or deny the

  allegations in Paragraph 23 and, therefore, denies them.

         24.     Defendant lacks sufficient information or knowledge to admit or deny the

  allegations in Paragraph 24 and, therefore, denies them.

         25.     Defendant lacks sufficient information or knowledge to admit or deny the

  allegations in Paragraph 25 and, therefore, denies them.

         26.     Defendant lacks sufficient information or knowledge to admit or deny the

  allegations in Paragraph 26 and, therefore, denies them.




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         27.     Defendant lacks sufficient information or knowledge to admit or deny the

  allegations in the first sentence of Paragraph 27 and, therefore, denies them. Defendant denies the

  allegations in the second sentence of Paragraph 27 of the Complaint.

  C.     The HCMS Term Note

         28.     Defendant admits that it has executed at least one promissory note under which

  Debtor is the payee. Defendant denies any allegations in Paragraph 28 that are not expressly

  admitted.

         29.     Defendant admits it signed the document attached to the Complaint as Exhibit 6.

  Defendant denies any allegations in Paragraph 29 that are not expressly admitted.

         30.     Defendant admits that Plaintiff correctly transcribed Section 2 of Exhibit 6 to the

  Complaint in Paragraph 30. Defendant denies any allegations in Paragraph 30 that are not

  expressly admitted.

         31.     Defendant admits that Plaintiff correctly transcribed Section 3 of Exhibit 6 to the

  Complaint in Paragraph 31. Defendant denies any allegations in Paragraph 31 that are not

  expressly admitted.

         32.     Defendant admits that Plaintiff correctly transcribed Section 4 of Exhibit 6 to the

  Complaint in Paragraph 32. Defendant denies any allegations in Paragraph 32 that are not

  expressly admitted.

         33.     Defendant admits that Plaintiff correctly transcribed Section 6 of Exhibit 6 to the

  Complaint in Paragraph 33. Defendant denies any allegations in Paragraph 33 that are not

  expressly admitted.

  D.     Allegations regarding the Term Note.

         34.     To the extent Paragraph 34 of the Complaint asserts a legal conclusion, no response

  is required, and it is denied. Defendant otherwise denies Paragraph 34 of the Complaint.

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         35.     Defendant admits that Plaintiff sent it a copy of Exhibit 7. Defendant admits that

  Plaintiff correctly transcribed an excerpt of Exhibit 7 in the third sentence of Paragraph 35 of the

  Complaint. Defendant denies any allegations in Paragraph 35 that are not expressly admitted.

         36.     Defendant is without sufficient information or knowledge to admit or deny the

  allegations in Paragraph 36 of the Complaint and, therefore, denies them.

         37.     Defendant denies Paragraph 37 of the Complaint.

                                   FIRST CLAIM FOR RELIEF
                                     (For Breach of Contract)

         38.     Paragraph 38 of the Complaint seeks to incorporate the allegations in the preceding

  paragraphs and does not require a response. Defendant incorporates all prior denials herein by

  reference.

         39.     Paragraph 39 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

  admit or deny the allegations and, therefore, denies them.

         40.     Paragraph 40 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

  admit or deny the allegations and, therefore, denies them.

         41.     Paragraph 41 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

  admit or deny the allegations and, therefore, denies them.

         42.     Paragraph 42 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

  admit or deny the allegations and, therefore, denies them.

         43.     Defendant denies Paragraph 43 of the Complaint.


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          44.     Defendant denies Paragraph 44 of the Complaint.

                                SECOND CLAIM FOR RELIEF
                        (Turnover by HCMS Pursuant to 11 U.S.C. § 549(b))

          45.     Paragraph 45 seeks to incorporate the allegations in the preceding paragraphs and

  does not require a response. Defendant incorporates all prior denials herein by reference.

          46.     Paragraph 46 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

  admit or deny the allegations and, therefore, denies them.

          47.     Paragraph 47 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

  admit or deny the allegations and, therefore, denies them.

          48.     Paragraph 48 of the Complaint states a legal conclusion that does not require a

  response. To the extent it alleges facts, Defendant lacks sufficient information or knowledge to

  admit or deny the allegations and, therefore, denies them.

          49.     Defendant admits that Plaintiff transmitted Exhibits 5 and 7 to the Complaint.

  Defendant lacks sufficient information or knowledge to admit or deny the remaining allegations

  in Paragraph 49 of the Complaint and, therefore, denies them.

          50.     Defendant lacks sufficient information or knowledge to admit or deny the

  remaining allegations in Paragraph 50 of the Complaint and, therefore, denies them.

          51.     Defendant denies Paragraph 51 of the Complaint.

          52.     Defendant denies that Plaintiff is entitled to the relief requested in the prayer of the

  Complaint, including parts (i), (ii), and (iii).




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                                    AFFIRMATIVE DEFENSES

         53.     Plaintiff’s claims are barred in whole or in part by the doctrine of justification

  and/or repudiation.

         54.     Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel.

         55.     Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

         56.     Plaintiff’s claims are barred in whole or in part because prior to the demands for

  payment Plaintiff agreed that it would not collect the Notes upon fulfillment of conditions

  subsequent. Specifically, sometime between December of the year in which each note was made

  and February of the following year, Nancy Dondero, as representative for a majority of the Class

  A shareholders of Plaintiff agreed with Mr. James Dondero, acting for Defendant, that Plaintiff

  would forgive the Notes if certain portfolio companies were sold for greater than cost or on a basis

  outside of Mr. Dondero’s control. This agreement setting forth the conditions subsequent to

  demands for payment on the Notes was an oral agreement; however, Defendant believes there may

  be testimony or email correspondence that discusses the existence of this agreement that may be

  uncovered through discovery in this Adversary Proceeding.

         57.     HCMS further asserts that each Note is ambiguous as a whole based on the

  signatory and/or references to unspecified related agreements.

                                          JURY DEMAND

         58.     HCMS demands a trial by jury of all issues so triable under Federal Rule of Civil

  Procedure 38 and Federal Rule of Bankruptcy Procedure 9015.

         59.     HCMS does not consent to the Bankruptcy Court conducting a jury trial and

  therefore demands such jury trial in the District Court.




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                                               PRAYER

          For these reasons, HCMS respectfully requests that, following a trial on the merits, the

  Court deny the relief Plaintiffs seeks through its Complaint, enter a judgment that the Plaintiff take

  nothing on the Complaint, and grant HCMS such other relief at law or in equity to which it may

  be entitled.

                                                Respectfully submitted,


                                                 /s/ Lauren K. Drawhorn
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                                                 Lauren K. Drawhorn
                                                 Texas Bar No. 24074528
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                                                 SERVICES, INC.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 11, 2021, a true and correct copy of the foregoing pleading
  was served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
  requesting or consenting to such service in this adversary case.

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                                              /s/ Lauren K. Drawhorn
                                                  Lauren K. Drawhorn




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                       IN THE UNITED STATES BANKRUPTCY COURT
    1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
    2
                                         )   Case No. 19-34054-sgj-11
    3   In Re:                           )   Chapter 11
                                         )
    4   HIGHLAND CAPITAL                 )   Dallas, Texas
        MANAGEMENT, L.P.,                )   Thursday, June 10, 2021
    5                                    )   9:30 a.m. Docket
                   Debtor.               )
    6                                    )   MOTION TO COMPEL COMPLIANCE
                                         )   WITH BANKRUPTCY RULE 2015.3
    7                                    )   FILED BY GET GOOD TRUST AND
                                         )   THE DUGABOY INVESTMENT TRUST
    8                                    )   (2256)
                                         )
    9                                    )
        HIGHLAND CAPITAL                 )   Adversary Proceeding 21-3006-sgj
   10   MANAGEMENT, L.P.,                )
                                         )
   11              Plaintiff,            )   DEFENDANT'S MOTION FOR LEAVE
                                         )   TO FILE AMENDED ANSWER AND
   12   v.                               )   BRIEF IN SUPPORT [15]
                                         )
   13   HIGHLAND CAPITAL                 )
        MANAGEMENT SERVICES, INC.,       )
   14                                    )
                   Defendant.            )
   15                                    )
                                         )
   16   HIGHLAND CAPITAL                 )   Adversary Proceeding 21-3007-sgj
        MANAGEMENT, L.P.,                )
   17                                    )
                   Plaintiff,            )   DEFENDANT'S MOTION FOR LEAVE
   18   TO                               )   TO AMEND ANSWER TO PLAINTIFF'S
        v.                               )   COMPLAINT [16]
   19                                    )
        HCRE PARTNERS, LLC               )
   20   N/K/A NEXPOINT REAL              )
        ESTATE PARTNERS, LLC,            )
   21                                    )
             Defendant.                  )
   22                                    )
   23                        TRANSCRIPT OF PROCEEDINGS
                    BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
   24                     UNITED STATES BANKRUPTCY JUDGE.
   25
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    1   WEBEX APPEARANCES:

    2   For the Get Good Trust           Douglas S. Draper
        and Dugaboy Investment           HELLER, DRAPER & HORN, LLC
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   22                                    UNITED STATES BANKRUPTCY COURT
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   23                                    Dallas, TX 75242
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   24

   25
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    1   Transcribed by:                  Kathy Rehling
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    2                                    Shady Shores, TX 76208
                                         (972) 786-3063
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               Proceedings recorded by electronic sound recording;
   24             transcript produced by transcription service.
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    1                DALLAS, TEXAS - JUNE 10, 2021 - 9:44 A.M.

    2              THE COURT:    All right.    Let me change my stacks here.

    3   I will now hear what was Matter No. 1 on the docket, Highland

    4   Capital, Case No. 19-34054.        We have a motion from the Dugaboy

    5   and Get Good Trusts seeking compliance with Bankruptcy Rule

    6   2015.3.

    7        Who do we have appearing for the trusts this morning?

    8              MR. DRAPER:    Douglas Draper, Your Honor.

    9              THE COURT:    All right.    And for the Debtor this

   10   morning?

   11              MR. POMERANTZ:     Good morning, Your Honor.      Jeffrey

   12   Pomerantz; Pachulski Stang Ziehl & Jones; on behalf of the

   13   Debtor.

   14              THE COURT:    All right.    Do we have any other parties

   15   wishing to make an appearances?        These are the only parties

   16   who filed pleadings, but I'll go ahead and ask if anyone wants

   17   to appear for any reason.

   18              MR. CLEMENTE:     Good morning, Your Honor.      It's Matt

   19   Clemente at Sidley on behalf of the Committee.          I'm here.

   20              THE COURT:    All right.    Thank you, Mr. Clemente.

   21        All right.    Mr. Draper, how did you want to proceed?

   22              MR. DRAPER:     I'd just -- I think the issue is

   23   primarily a legal issue, Your Honor.

   24              THE COURT:    Uh-huh.

   25              MR. DRAPER:    So we've filed with the Court our
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    1   response to the Debtor's opposition, I have some comments I'd

    2   I like to make, and just leave it at that.          I think -- as I

    3   said, I believe the issue is purely a legal issue --

    4              THE COURT:    Uh-huh.    Okay.

    5              MR. DRAPER:    -- and can go from that.

    6              THE COURT:    All right.

    7              MR. DRAPER:    All right.    We are here -- thank you,

    8   Your Honor.    Can I start?

    9              THE COURT:    Yes, you may.

   10              MR. DRAPER:    Thank you.    We're here before the Court

   11   today on what should be a rather routine matter.           All I'm

   12   asking the Court to do is to require the Debtor to do what it

   13   should have done when the case was filed and is required

   14   pursuant to Bankruptcy Rule 2015.3.

   15        2015.3 uses the term "shall" and requires the Debtor to

   16   file an official form -- and this is important, because I'm

   17   going to come back to the official form -- with respect to the

   18   value, operations, and profitability of each entity in which

   19   the Debtor has a substantial or controlling interest.

   20        The reports, the Rule says, shall be filed seven days

   21   before the first meeting of creditors and every six months

   22   thereafter.

   23        Under 2015.3(d), I recognize a court may, after notice and

   24   a hearing, modify the reporting requirement.          No request has

   25   been made by counsel for the Debtor, who I will stipulate
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    1   knows the Rules, are experienced, and understand that the rule

    2   existed the day they came into the case.         And quite frankly,

    3   what we have now is, from what I can see, an intentional

    4   decision not to file the report.

    5        As the Court knows, this matter was brought before this

    6   Court in February, when the confirmation hearing was held.

    7   And if the Court will recall, Mr. Seery's comment was (a) it

    8   slipped through the cracks; and (b) he implied that it would

    9   be done.    That was February.     I had hoped, and I think

   10   everybody had hoped, that Mr. Seery, Highland, and Debtor's

   11   counsel would be so embarrassed by the fact that they didn't

   12   file [sic] the rule that they would have either (a) filed

   13   [sic] the rule; or (b) sought -- sought a waiver of the rule.

   14   They did neither.

   15        Now, let's -- let's go through the 2015.3(d).          There are

   16   two items that are not exclusive, and so I recognize it.            The

   17   first is that they can't do it, and second is with respect to

   18   the information is publicly available.         If you look at the

   19   cases that the Debtor has cited in support of their position

   20   that courts have waived compliance with the rule, you'll note

   21   that three of the four cases deal with first day motions when

   22   in fact they ask for extensions of time to file their

   23   schedule, Statement of Financial Affairs, and other things.

   24   These are normal first day motions.        I understand the

   25   extension in that case.      And quite frankly, those extensions
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    1   are -- fall into the "I can't do it."

    2        The only excuse the Debtor has offered, other than their

    3   response to date, was, oh, I forgot, or it slipped through the

    4   cracks.    That is not a legitimate excuse.       It never has been

    5   and never will be, and should not be countenanced by the

    6   Court.

    7        And so let's start with the after-the-fact excuses offered

    8   by the Debtor.     The first is the bad guy defense -- i.e.,

    9   Dugaboy is a Dondero entity; they're asking for this

   10   information for nefarious purposes.        That has to -- that

   11   should be completely disregarded by the Court.          This is a

   12   systematic issue that neither you nor I nor the Debtor's

   13   counsel put in the Code or put in the Rules.          It is a

   14   requirement, it's systematic, and we, as counsel and people

   15   acting on behalf of the estate and sort of people who oversee

   16   the system, should insist that this be filed.          The bad guy

   17   defense is not an excuse.       And quite frankly, this is

   18   information that is required.

   19        So what I'm asking for today is not gamesmanship.           I don't

   20   think it is ever gamesmanship when you ask for the compliance

   21   with a rule that says shall.       Again, it's systematic, and we

   22   are here -- and I don't know why -- either the U.S. Trustee

   23   was asleep at the switch or anybody else was asleep at the

   24   switch -- that this matter hadn't been brought to the Court's

   25   attention.
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    1        So the word "shall" is not strained in any fashion.            It's

    2   not limited in any fashion.        The word "shall" is absolute.

    3        So, again, had -- was there some secret deal between the

    4   Trustee -- U.S. Trustee and the Debtor?         I don't know.     That

    5   may have been.     But quite frankly, --

    6              THE COURT:    A secret deal?

    7              MR. DRAPER:    -- the Code, in 2015 --

    8              THE COURT:    Did you just use the term "a secret

    9   deal"?

   10              MR. DRAPER:    Well, some --

   11              THE COURT:    What --

   12              MR. DRAPER:    I'm not using the term.       What I --

   13              THE COURT:    That's highly charged, that --

   14   =          MR. DRAPER:    No, --

   15              THE COURT:    -- choice of words.

   16              MR. DRAPER:    What I mean, what I really mean is

   17   sometimes we go to the U.S. Trustee and say, look, can we have

   18   an extension?     Can we have -- can we do this a little bit

   19   later?   And the U.S. Trustee, in fairness to them, basically

   20   says, okay, you can do this or that.         I don't know if that

   21   occurred in this case.      But quite frankly, what we have are 20

   22   months of noncompliance.       And so I don't know if they said,

   23   look, --

   24              THE COURT:    Okay.

   25              MR. DRAPER:    -- you don't have to file it now.
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    1              THE COURT:    So you meant an informal deal, not secret

    2   deal?

    3              MR. DRAPER:    Yes.

    4              THE COURT:    A secret deal, that sounds like something

    5   nefarious.    Okay?   So, --

    6              MR. DRAPER:    No, it is not intended in that -- it's

    7   --

    8              THE COURT:    Okay.

    9              MR. DRAPER:    Judge, it's not intended in that

   10   fashion.

   11              THE COURT:    Okay.

   12              MR. DRAPER:    This goes to my issue that it's

   13   systematic.    It's a systematic compliance.

   14        And let's also go the fact that the Bankruptcy Code

   15   requires complete and open disclosure.         It does not matter who

   16   or why compliance is requested.

   17        The next objection is I waited too long.         And they offer

   18   an excuse, Judge, we're going to go effective.          Let's look at

   19   what the Code requires -- the rule requires.          It says it shall

   20   be filed, it has to be filed at certain points, through the

   21   effective date of a plan.        It doesn't say after the effective

   22   date of a plan is filed or after the effective date of a -- of

   23   a plan occurs, your compliance is not required.

   24        And I'll point out something where you ruled against me,

   25   and we've contrasted that in our motion -- in our opposition.
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    1   If you look at the examiner statute, which I know the Court

    2   has looked at and completely disagreed with my reading of it,

    3   it basically says after confirmation you don't have to do it.

    4   This statute doesn't say that.        This statute says you have to

    5   file these through the effective date of a plan.

    6        And so, you know, that "You waited too long" is really not

    7   a legitimate excuse.

    8        The next issue is -- and --

    9               THE COURT:    Well, on that point, --

   10               MR. DRAPER:    And let's look at the cases.

   11               THE COURT:    On that point, can I just ask, what is

   12   the utility?    I mean, let's say we're one -- okay.         Let's say

   13   we're one month away from the effective date.          Let's say we're

   14   three months away from the effective date.          What is the

   15   utility at this point?      There's a confirmed plan.       Now,

   16   granted, it's on appeal.      But, you know, what -- what would

   17   you --

   18               MR. DRAPER:    Well, --

   19               THE COURT:    What would you do with this information

   20   at this point?     We have a confirmed plan.

   21               MR. DRAPER:    Well, there are two responses to that.

   22   First of all, the rule says you have to file it through the

   23   effective date of a plan.       Somebody in rulemaking authority

   24   made that determination.      And so it's not for you or I to

   25   question.    That's the rule.
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    1        The second is the utility may be for further actions in

    2   the case that occur after the effective date.          We just don't

    3   know.

    4        And so the rule is designed to require things to be filed

    5   --

    6              THE COURT:    Wait.   What did that last statement mean,

    7   --

    8              MR. DRAPER:    -- through the effective date.

    9              THE COURT:    -- for actions that might occur after the

   10   effective date?

   11              MR. DRAPER:    It may be --

   12              THE COURT:    What does that mean?

   13              MR. DRAPER:    After the effective date of a plan.

   14   There may be some -- some matter that comes up before the

   15   Court.   And I'll give you the best example --

   16              THE COURT:    Well, --

   17              MR. DRAPER:    -- of all of them.

   18              THE COURT:    Okay.

   19              MR. DRAPER:    If you look -- if you look at the form,

   20   all right, and what I'd ask the Court to look at is -- I think

   21   it's Exhibit E that's required on the form.          And what Exhibit

   22   E requires is disclosure of information where one of the

   23   subsidiaries has either paid or has decided -- has incurred a

   24   liability to somebody who would have an administrative expense

   25   against the Debtor.
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    1        The utility of that post-effective date is important,

    2   because post-effective date you'll be dealing with fee

    3   applications and other things.         So the rule envisions

    4   disclosure --

    5              THE COURT:      Okay, I -- say that again for me slowly.

    6   How --

    7              MR. DRAPER:      Okay.

    8              THE COURT:      How could there be an administrative

    9   expense --

   10              MR. DRAPER:      If you'll --

   11              THE COURT:      -- claim against the estate in your

   12   scenario, again?

   13              MR. DRAPER:      Well, my scenario, if you look at

   14   Exhibit E that's required in the form, --

   15              THE COURT:      Do I have that, Nate?

   16              MR. DRAPER:      -- it basically requires a disclosure.

   17              THE COURT:      Okay.    I don't know if I have it in my

   18   stack of paper.     I --

   19              MR. DRAPER:      Well, let me read it to -- I can read it

   20   to you, Your Honor.      It's easy.     Let me pull it up.

   21        Exhibit E, "Describe any payment by the controlled

   22   nondebtor entity of any claim, administrative expense, or

   23   professional fee that have been paid or could be asserted

   24   against the Debtor or the incurrence of any obligation to make

   25   such payments, together with the reason for the entity's
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    1   payment thereof or the incurrence of any obligation with

    2   respect thereof."

    3        That is clearly a post-effective date issue that the Court

    4   should be concerned about, all parties should be concerned

    5   about, and so if that occurred, then everybody needs to know

    6   about it.

    7        So E envisions something that is absolutely after the

    8   effective date that will be -- has a utility after the

    9   effective date.

   10        Let's look at B.     Again, something that may have something

   11   to do with after the effective date.         That deals with tax-

   12   sharing agreements and tax-sharing attributes.

   13        So -- and then C, which also has something to do with

   14   after the effective date and how things sort out through the

   15   liquidation, is described claims between controlled debtor,

   16   controlled nondebtor entity and any other controlled nondebtor

   17   entity.

   18        So there needs to be a disclosure of due-to's and due-

   19   from's between the entities.       This is -- this is not secret

   20   stuff.    This is stuff that transcends the effective date of a

   21   plan.

   22        And so when I focused on the rule, what I think the Court

   23   really needs to look at for the utility of this is exactly

   24   what the -- is required by a 2015.3 disclosure.

   25        Does that answer the Court's question?
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    1              THE COURT:    Yes.

    2              MR. DRAPER:    Now, my favorite excuse that's been

    3   offered is really what I'll call the secret sauce dispute --

    4   excuse, or the former lawyers for the Debtor.          Again, let's

    5   break this down and let's look at the form.

    6        What the form requires is there's nothing the Debtor's

    7   former lawyers did or who were working for Mr. Dondero.            If

    8   you look at Exhibit A that's required, is contains the most

    9   readily-available balance sheet.        That's not a legal issue.

   10   Statement of income or loss.       That's -- that's just an

   11   accounting concept.      Statement of cash flows.      That's also an

   12   accounting concept.      And statement of changes in shareholders

   13   or partners equity for the period covered by the entire

   14   report.

   15        B again has nothing to do with the lawyers, is describe

   16   the controlled nondebtor business entity's business

   17   operations.

   18        So the information that's here is purely accounting

   19   information and it is not secret.

   20        Let's, again, let's focus on A, which -- which I think

   21   just deals with financial information.         The first one is

   22   balance sheet.     All right.    They've argued that this tells

   23   what the value -- what we think the value of an asset is.

   24   That's not true.     A balance sheet may have a fair market

   25   value.    A balance sheet may have a book value.        I don't know
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    1   what they have here.      But quite frankly, if you or I sell my

    2   house, our house, we go to our agent and we say, hey, look,

    3   agent, you know, this is my listing price.          That's my opinion

    4   as to value.    It may not be somebody else's opinion as to

    5   value.   And quite frankly, when somebody asks or wants to buy

    6   an asset, what they come to, don't they ask, hey, what do you

    7   want for it?

    8        You know, book value does not equal value.          And I know the

    9   Court has held -- has had before it many clients or many

   10   debtors, and I've represented a lot of debtors, who think a

   11   Bic pen that they have is not worth ten cents but is worth a

   12   gazillion dollars.

   13        So that issue doesn't go to any secret information.           The

   14   statement of income doesn't go to secret information.

   15   Statement of cash flows does not.        And changes in shareholders

   16   does not.    There's no secret information.       The only person who

   17   this may be kept away from, possibly, and that -- that, I

   18   don't think applies, is a competitor who may want to look at

   19   these.   And a court can fashion that relief and say, okay,

   20   let's put this under seal.       If somebody signs a

   21   confidentiality agreement, they can have access to this.

   22        But this is purely accounting information.          It's nothing

   23   more.

   24        And the reference to trade secrets that the Debtor

   25   attempts to make is just not true.        This is not a trade
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    1   secret.    There's no confidential research or development or

    2   commercial information that's being disclosed.          And 9018 that

    3   they cite is truly an evidentiary rule.         We're not -- this --

    4   this requirement does not go to customers.          It does not go to

    5   pricing.    It does not go to business processes.        It just goes

    6   to financial information.

    7        So the global argument that they're making is undercut

    8   significantly by the -- by what is required under the rule.

    9   I'm just asking for mere compliance with the rule, nothing

   10   more.

   11        And so, you know, what -- I still don't understand what

   12   the issue is, why it hadn't been done.         And quite frankly,

   13   again, this is systematic.       It has nothing to do with who is

   14   requesting it, what is requesting it.         It should have been

   15   done.    It should have been done probably by the U.S. Trustee.

   16   You know, somebody -- you know, and quite frankly, I've been

   17   in this case since December.       It was raised in February.       You

   18   know, I don't understand why, from February to the time I

   19   filed this motion, they didn't come in and either (a) file the

   20   reports, which on their face appear to be benign; or (b) ask

   21   for some reason other than, oops, I forgot.

   22        And so I'd ask the Court to require compliance.           I don't

   23   think the information here falls into any category of for

   24   cause.    They can do it.    This -- and the cases -- any case

   25   they cite does not support their proposition that it shouldn't
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    1   be done.

    2        Does the Court have any questions for me?

    3              THE COURT:    Well, I do.    My brain just constantly

    4   goes to standing.     And remind me again, the trusts you

    5   represent have each filed proofs of claim, correct?

    6              MR. DRAPER:    Yes.   And they're objected to, --

    7              THE COURT:    They are objected to.

    8              MR. DRAPER:    -- just so the Court's aware.

    9              THE COURT:    Okay.   Remind me again what the substance

   10   of the claim is about.

   11              MR. DRAPER:    The substance of the claim is I have a

   12   -- I have a $17 million debt owed to me by Highland Select.

   13   And it is our position that this Debtor is also liable for the

   14   Highland Select debts through its general partner status,

   15   through its comingling of things, and how these assets fit

   16   together, between Highland Select, which is a hundred percent

   17   owned by the -- ultimately owned by this Debtor.           So I'd --

   18   again, the standing issue --

   19              THE COURT:    And the debt is --

   20              MR. DRAPER:    And I am also an equity holder.

   21              THE COURT:    And the debt is pursuant to a note?

   22              MR. DRAPER:    It's pursuant to a loan agreement

   23   between my client and Highland Select.

   24              THE COURT:    All right.    And was an administrative

   25   expense filed by your client?
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    1               MR. DRAPER:    Not by my client.     No.   And I'm also an

    2   equity holder in the Debtor that, when the plan goes

    3   effective, I ultimately have, at best, a residual interest

    4   when the Star Trek Enterprise returns.

    5               THE COURT:    Okay.   And what is that residual

    6   interest?    Remind me again.       Isn't it less than one percent --

    7               MR. DRAPER:    After the --

    8               THE COURT:    -- of a subordinated --

    9               MR. DRAPER:    After all the class --

   10               THE COURT:    Go ahead.

   11               MR. DRAPER:    Right.    Well, after all the classes are

   12   paid in full plus a hundred cents on the dollar -- get a

   13   hundred cents on the dollar plus some interest factor, and the

   14   -- there's another party who has an equity interest that's

   15   ahead of me get paid, I get some -- some money.

   16        Again, I have a residual interest.        It's very tangential.

   17   And I'll be very frank to the Court and honest, I think

   18   ultimately I will receive nothing under that residual

   19   interest.

   20        However, my -- the standing is not really an issue here.

   21   Honestly, this is a systematic issue.         I've tried to make that

   22   clear for the Court.      It's something that should be employed,

   23   and who is asking for it is irrelevant.         The Code requires --

   24   the Rules require it.      There is no excuse that they've given

   25   that should absolve them of that.         And whatever excuse they've
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    1   given basically falls in -- falls in the face of what the rule

    2   -- the official form requires.

    3        I'm not asking for a variance of the official form.           I'm

    4   asking that this Court not allow a "Oops, I forgot" or "It

    5   slipped through the cracks" excuse.

    6              THE COURT:    All right.    And who is the current

    7   trustee of these trusts now?

    8              MR. DRAPER:    My trusts?    Nancy Dondero is the trustee

    9   of the Dugaboy Trust, and I think Grant Scott is the trustee

   10   of the Get Good Trust.

   11              THE COURT:    Okay.   I'm asking because we heard

   12   earlier this week that Grant Scott has resigned from certain

   13   roles.

   14        All right.    Mr. Pomerantz, do you have evidence, --

   15              MR. POMERANTZ:     Yes, Your Honor.

   16              THE COURT:    -- or argument only?

   17              MR. POMERANTZ:     Argument only, Your Honor.

   18              THE COURT:    Okay.

   19              MR. POMERANTZ:     As with -- as with many of the other

   20   motions that have been filed with this -- in this case and has

   21   burdened the Court's docket over the last several months, I

   22   really can't help to wonder why we are here.

   23        Eighteen months after the case was filed, after plan

   24   confirmation, and with the effective date that's set to occur

   25   soon, Dugaboy and Get Good, the family trusts, ask the Court
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    1   to compel the Debtor's compliance with 2015.3.          It reminds me

    2   of the motion that Mr. Draper mentioned that he filed on the

    3   eve of confirmation, the eve of confirmation, fourteen months

    4   after the case had been filed, seeking an examiner.           And the

    5   Court denied that motion without a hearing.

    6         Now they're back again with, as Your Honor mentioned and

    7   I'll get to in a little bit, with the same tangential

    8   connection to the bankruptcy case and the same tenuous

    9   standing that the Court has alluded to on several occasions,

   10   including just a couple minutes ago.

   11         It's clear that the motion, which is not supported by any

   12   other creditor in the case and is actually opposed by the

   13   Official Unsecured Creditors' Committee, is not about

   14   financial transparency, as Mr. Draper would like Your Honor to

   15   believe, but it's filed as a further litigation tactic to gain

   16   access to information that Mr. Dondero would not be able to

   17   obtain through discovery, who has tried to obtain through

   18   other means, and that the Debtor believes will be used for

   19   improper purposes.

   20         One of the Movants, Dugaboy, is actually the holder of two

   21   claims against the Debtor.       I guess Mr. Draper forgot about

   22   his administrative claim, which really goes to the validity of

   23   it.   One is the claim against the Select Fund, a subsidiary of

   24   the Debtor, for which Mr. Draper says they should be liable,

   25   including under an alter ego theory.
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    1        Yes, Your Honor heard me right.        Dugaboy is saying that

    2   the Debtor is an alter ego with a nondebtor entity.           One would

    3   think that, given the recent disclosures and commencement of

    4   litigation -- and I'm talking about the UBS litigation -- that

    5   Mr. Dondero would be the last one to raise alter ego.            In any

    6   event, that claim is disputed.

    7        The second claim is an administrative claim that Mr.

    8   Draper filed on account of their 1.71 percent interest in

    9   Multistrat, saying they were damaged by decisions Mr. Seery

   10   made by selling certain life insurance policies in the spring

   11   of 2020.

   12        There is a theme here, Your Honor:        Claims that Mr. Seery

   13   made decisions that harmed -- in this case -- Dugaboy's 1.71

   14   percent interest.

   15        The claim has no merit.       The Debtor will contest it.      But

   16   even if it was allowed, the claim would be paid a hundred

   17   cents on the dollar under the plan.        And accordingly, the

   18   information under 2015.3 is not relevant.

   19        Get Good filed a claim which alleges they may have a claim

   20   from its limited partnership interest in the Debtor.           But for

   21   the record, Get Good is not a limited partner of the Debtor.

   22        So, how did we get here, Your Honor?         The Dondero entities

   23   sandbagged the Debtor by raising the issue for the first time

   24   during the confirmation trial.       Not in their briefs, not in

   25   communications to the Debtor in advance of the confirmation,
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    1   but while the Debtor had its witness on the stand.

    2        And why did they do it that way?        Because they wanted to

    3   be able to argue, and they did argue to Your Honor, that the

    4   Court couldn't confirm the plan because the Debtor did not

    5   comply with Rule 2015.3, was in violation of 1129(a)(2), and

    6   the Court could not confirm the plan.

    7        Of course, the Court rejected that argument.          And when the

    8   Debtor entity -- when the Dondero entities raised it as a

    9   reason for Your Honor to enter a stay pending appeal, Your

   10   Honor commented that that claim bordered on frivolous.            And of

   11   course, that issue has been raised to the Fifth Circuit as one

   12   of the reasons to overturn Your Honor's confirmation order.

   13        And why are the Dondero entities persisting now in their

   14   effort to obtain disclosure?       It's because they're desperate

   15   to obtain financial information about the Debtor because they

   16   want to become involved in the Debtor's future asset

   17   dispositions at the nondebtor affiliates and they want to get

   18   information.

   19        As Your Honor will recall, Mr. Dondero filed a motion in

   20   January asking for this Court to require the Debtor to bring

   21   affiliated -- affiliated entity asset sales to the Court.            The

   22   Debtor opposed the motion, and before the hearing it was

   23   withdrawn.

   24        Your Honor has heard testimony from Mr. Seery throughout

   25   the case that Mr. Dondero previously interfered with the
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    1   Debtor's asset sales and that -- and on that basis, the Debtor

    2   was not comfortable including Mr. Dondero in sale processes.

    3   And I'm not talking about the AVYA and the SKY stock from the

    4   CLO funds, but rather certain transactions regarding SSP and

    5   OmniMax which were subject to a motion made by, I believe, the

    6   Funds or the Advisors -- I get them confused sometimes --

    7   accusing the Debtor of mismanaging the CLOs.          And if Your

    8   Honor recalls, Your Honor denied that motion based upon a

    9   directed verdict.

   10        So, having been rebuffed by the Debtor in its attempts to

   11   obtain financial information that they're not entitled to, the

   12   trusts have one last effort.       Press 2015.3 arguments, because,

   13   of course, they're very interested in the integrity of the

   14   process, in the institution, in the following of the

   15   Bankruptcy Code.     That is exactly what their motivation is.

   16        But there's yet another reason, Your Honor, the Debtor

   17   believes Mr. Dondero, through the trusts, is pursuing this

   18   motion.    As Your Honor is aware, the Debtor recently

   19   discovered some extremely troubling information regarding a

   20   massive fraud involving a previous --

   21        (Audio cuts out.)

   22              THE COURT:    Uh-oh.

   23              THE CLERK:    He froze up.

   24        (Pause.)

   25              THE COURT:    All right.    Mr. Pomerantz, you're frozen.
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    1   Is everybody frozen, or is it just him?

    2               MR. POMERANTZ:       There'll be some judicial estoppel.

    3               THE COURT:     Okay.   Mr. Pomerantz?

    4               MR. POMERANTZ:       Yes.

    5               THE COURT:     You were frozen for about one minute.         So

    6   I am sorry, --

    7               MR. POMERANTZ:       Uh-huh.

    8               THE COURT:     -- you're going to need to repeat the

    9   past minute for me.

   10               MR. POMERANTZ:       Just to check if you were listening,

   11   Your Honor, what was the last thing you remember me saying?

   12               THE COURT:     I was listening.

   13               MR. POMERANTZ:       Okay.   So I will -- did you hear me

   14   talk about Mr. Seery's testimony throughout the case?

   15               THE COURT:     No.    No.

   16               MR. POMERANTZ:       Okay.   I'll go back a paragraph

   17   before.    Okay.   Okay.

   18        And why are the Debtor -- why are the Dondero entities

   19   persisting now in their effort to obtain disclosure?           It's

   20   because the Dondero entities are desperate to try to obtain

   21   financial information, information they would not otherwise be

   22   entitled to under discovery rules, because they want to become

   23   involved, he wants to become involved in the Debtor's asset

   24   dispositions in the future regarding affiliated nondebtor

   25   entities.
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    1        If Your Honor will recall, Mr. Dondero made a motion in

    2   January seeking an order from this Court requiring the Debtor

    3   to bring to this Court asset sales from nondebtor affiliates.

    4   The Debtor opposed the motion, and before the hearing on the

    5   motion it was withdrawn.

    6        Your Honor has heard testimony from Mr. Seery throughout

    7   the case that Mr. Dondero previously interfered or tried to

    8   interfere with the Debtor's asset sales, and on that basis the

    9   Debtor was not comfortable inviting Mr. Dondero into its asset

   10   sale processes.

   11        And I'm not talking about the AVYA and SKY stock from the

   12   CLOs, but rather certain transactions regarding SSP and

   13   OmniMax, which were closed for fair value, which were subject

   14   of a motion that the Advisors or the Funds -- and I often get

   15   them confused -- that they made, accusing the Debtor of

   16   mismanaging the CLOs.      And I'm sure Your Honor recalls.        Your

   17   Honor denied that motion on a directed verdict basis.

   18        So, having been rebuffed in their attempts to try to get

   19   the information that they weren't entitled to, they're now

   20   proceeding under 2015.3.       And, of course, Mr. Draper say he is

   21   a protector of the process, the integrity of the system

   22   demands it.    It has nothing to do with Mr. Dondero's

   23   interests, of course, because Mr. Draper is just there to make

   24   sure everything runs on time and everything is done according

   25   to the law, notwithstanding the fact that the U.S. Trustee
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    1   hasn't brought this motion, notwithstanding the fact that the

    2   Unsecured Creditors' [Committee] supports our position, and

    3   notwithstanding the fact that not one creditor, not one

    4   unaffiliated creditor, has asked this Court for that

    5   information and relief.

    6        There's yet another reason, Your Honor, the Debtor

    7   believes that the trusts are pursuing this motion.           As Your

    8   Honor is aware, the Debtor recently discovered some extremely

    9   troubling information regarding a massive fraud involving a

   10   previously-unknown entity called Sentinel Reinsurance.            And

   11   that information is the subject of an adversary proceeding

   12   filed by UBS, which Your Honor heard substantial information

   13   about both in connection with hearings on that motion practice

   14   and also at the UBS 9019 motion.

   15        The Debtor believes that the 2015.3 motion is a veiled or

   16   pretty transparent effort of Dondero trying to find out what

   17   the Debtor knows and what the Debtor doesn't know and trying

   18   to get the Debtor to go on record with information that later

   19   in litigation they will use as a judicial estoppel.

   20        Your Honor, that's not an appropriate predicate for the

   21   motion.    Mr. Draper will deny that that's the reason, of

   22   course, but I leave it for Your Honor to look at the

   23   circumstances and make your own conclusions.

   24        As the Court has mentioned many times, context matters,

   25   and the Court should take this context into account in looking
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    1   at the motion and the requested relief.

    2        In our opposition, we argue that the Court should either

    3   waive the 2015.3 compliance, given the anticipated effective

    4   date, or continue the hearing to September 1 for a further

    5   status conference if the effective date doesn't occur.

    6        The burden on the estate if it was required to comply with

    7   2015.3 is significant, and this goes to the issue Your Honor

    8   mentioned, that, really, what's the point at this stage of the

    9   case?   There are more than 150 entities that arguably meet the

   10   definition of substantial or controlling interest for which

   11   the Debtor would be required to file reports under 2015.3.               As

   12   the Court knows, the Debtor is down to 12 staff, 13 if you

   13   include Mr. Seery.     And if those employees working with the

   14   Debtor's financial advisors were required to devote the

   15   necessary time and effort to prepare the reports, the time and

   16   the cost it would take would be substantial.          The Debtor just

   17   doesn't have the bandwidth to comply.

   18        More importantly, Your Honor, as we mention in our

   19   opposition, Mr. Seery and the board are extremely concerned

   20   with the quality of information it has received from the

   21   Debtor's employees who have since been terminated by the

   22   Debtor and now most of them are working for Mr. Dondero and

   23   his related entities in one form or another.          It's not just

   24   the lawyers, as Mr. Draper says.        It's the financial advisors,

   25   who, in other contexts, and you'll hear a little later, are
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    1   coming up with new information, new defenses on notes, et

    2   cetera.    The Debtor has no confidence that the information in

    3   its records is accurate from a financial perspective or from a

    4   legal perspective.

    5         As I mentioned, the Court is aware of the Sentinel cover-

    6   up.   And uncovering just the facts regarding Sentinel was a

    7   very difficult process and required the Debtor to essentially

    8   conduct discovery against itself.        It just couldn't rely on

    9   its information.     So conducting the diligence that would be

   10   required to provide accurate information for 150 entities,

   11   intercompany claims, administrative claims, back and forth,

   12   due-to's, due-from's, tax issues, all the stuff required by

   13   the forms would be an extremely arduous task.          It would take

   14   millions of dollars of forensic accounting.          And it wouldn't

   15   -- and for what purpose?       There is no purpose.

   16         In addition, Your Honor, to waiving filing the reports,

   17   2015.3 also allows the Court to modify the reports requirement

   18   for cause when the debtor is not able, in making a good faith

   19   effort, to comply with the requirements.         Your Honor, in this

   20   case, cause is clearly established under 2015.3.

   21         Dugaboy spends a lot of time in their reply attacking the

   22   cases that the Debtor cites in its opposition.          While the

   23   facts in those cases are different from the case here, they

   24   all share something in common which is the key point:           All of

   25   the cases involve a waiver of the 2015.3 requirement for plans
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    1   that will be confirmed or will soon become effective.

    2        Mr. Draper doesn't contest that this Court has the power

    3   to waive.    He says, well, those requests were made in the

    4   first 30 days of the case or in the initial part of the case.

    5   But they all granted relief where the effective date -- where

    6   either the confirmation date occurred and they were waiting

    7   for the effective date, or the confirmation case was -- was

    8   pending.

    9        And Your Honor, we would ask the Court to treat the

   10   Debtor's opposition as a motion to waive the requirement under

   11   2015.3.    We could file a separate motion after this hearing.

   12   It would be a waste of time.       But we would ask Your Honor,

   13   treat our opposition as a motion.

   14        Dugaboy spends the rest of its time, in the papers and its

   15   argument that Mr. Draper made, challenging several arguments,

   16   other arguments the Debtor makes in its opposition.           First,

   17   they argue that there is no deadline for seeking compliance

   18   and that the insinuation that we made that this is

   19   gamesmanship is off base.       I'll acknowledge, Your Honor,

   20   2015.3 does not contain a deadline for a party seeking

   21   compliance.    But as I said before, context matters.         And given

   22   how this motion has come to be before your court, I will leave

   23   it for Your Honor to determine which party is the true one

   24   playing games here.

   25        Second, Dugaboy argues that there's nothing confidential
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    1   in any of the information required to be filed in the 2015.3

    2   reports and that the disclosure of information will facilitate

    3   interest in the assets and maximization of the Debtor's

    4   assets.    Twenty months into this case, Your Honor, no party

    5   other than Mr. Dondero or his related entities has complained

    6   to the Court that the Debtor is not being transparent or

    7   forthcoming.

    8        And there's good reason for that.        Even during the early

    9   stages of this case, when the Debtor and the Committee had

   10   their differences, the Debtor was entirely forthcoming with

   11   information about its assets, nondebtor affiliates, and

   12   strategy for maximizing assets of the Debtor and its

   13   affiliated entities.      That collaborative effort continues

   14   today, and I suspect is one of the reasons that the Committee

   15   has joined in the Debtor's opposition here.

   16        Similarly, the Debtor's nondebtor affiliates have

   17   transacted business with third parties postpetition.           The

   18   Debtor has provided information to those parties as

   19   appropriate, subject to nondisclosure agreement, and several

   20   successful processes have been run that have maximized value.

   21        And just to make clear, Your Honor, we do not believe that

   22   Mr. Dondero or his related entities signed a nondisclosure

   23   agreement that they would comply with the obligations.            So we

   24   have no interest and no desire, unless ordered by the Court,

   25   either in this context or another context, to provide Mr.
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    1   Dondero or his related entities with information that the

    2   Debtor believes would prejudice its ability to monetize

    3   assets.

    4        The alleged transparency that Mr. Draper and the trusts

    5   seek is not borne out of a desire to open the playing field

    6   and make it level and put financial information in the public

    7   domain for the good of the case.        It's about getting access to

    8   information that the Debtor, in the exercise of its business

    9   judgment -- should not be disclosed.

   10        Lastly, Mr. Draper again, during oral argument, harped on

   11   Mr. Seery's testimony that the reason the reports were not

   12   filed is that they fell through the cracks.          It's misleading.

   13   He also stated that Mr. Seery said they would file the

   14   reports.    I've looked at the testimony.       That's not what he

   15   said.   But he did say at confirmation that it slipped through

   16   the cracks.    No doubt.    That's in the transcript.

   17        And yes, the Debtor stands behind the fact that, in the

   18   months leading to the confirmation hearing, neither Mr. Seery

   19   nor the Debtor's professionals even thought about 2015.3.

   20        But Your Honor, it's what has happened since that

   21   justifies the Debtor's request for a waiver.          The plan is soon

   22   to become effective.      As I said, the Debtor is down to 12

   23   employees, who could not possibly prepare this information

   24   without substantial time and effort.         Their effort and their

   25   time should be focused on monetizing assets that will put
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    1   money in creditors' pockets, hopefully sooner than later.

    2        And on top of that, given the massive fraud that

    3   management has uncovered, and continues to uncover information

    4   to this day, Your Honor, on matters separate from the Sentinel

    5   matter -- every week, we are finding out new information that

    6   has not been made public that causes us real concern, and at

    7   the appropriate time that information will be brought before

    8   the Court -- the Debtors simply can't rely on that

    9   information.    And to be required to go through the effort to

   10   put that information out in the public record so Mr. Dondero

   11   can later say that the Debtor was judicially estopped, or use

   12   that information for an ulterior purpose or a litigation

   13   strategy, just does not make sense.

   14        Based upon the foregoing, Your Honor, we would ask that

   15   the Court deny the motion and grant the Debtor a waiver of the

   16   2015.3 requirements.

   17        Does Your Honor have any questions?

   18              THE COURT:    I do not think so.      Well, I just -- am I

   19   correct in remembering the Debtor had somewhere around 75

   20   employees at the beginning of this case?         And I didn't know it

   21   was down to 12.     I knew it was down very low.       But that's what

   22   we're talking about?

   23              MR. POMERANTZ:     Yeah, that -- that sounds about

   24   right, Your Honor.

   25              THE COURT:    Okay.
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    1              MR. POMERANTZ:     And I should mention, you know, I was

    2   there at the beginning.      I was there before the board.        The

    3   first couple months of the case, it was extremely difficult to

    4   get the Debtor's employees focused on trying to get the

    5   information for the 2015.3.       They did not want that

    6   information disclosed.      And it's sort of a -- sort of a little

    7   ironic that now they're here asking for disclosure.

    8        But, look, we're not going to walk away from the fact

    9   that, yeah, it slipped through the cracks.          After the board

   10   took over, Your Honor has heard many times what they did, the

   11   efforts they went to.      If the U.S. Trustee had approached us,

   12   if Mr. Dondero had approached us early on, we would have

   13   figured out a way to address that and deal with that.           The

   14   fact of the matter, it wasn't.        The fact of the matter, it was

   15   brought up as a litigation tactic on confirmation, to defeat

   16   confirmation of the plan.       And as I mentioned, for the

   17   reasons, it's being used as a tactic now as well.

   18              THE COURT:    All right.    Thank you.

   19              MR. DRAPER:    Your Honor, I -- can I -- can I make a

   20   few comments?

   21              THE COURT:    No, not --

   22              MR. DRAPER:    I'll be short.

   23              THE COURT:    Not yet.    Mr. Clemente, --

   24              MR. DRAPER:    Okay.

   25              THE COURT:    -- I neglected to mention when I was
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    1   taking appearances, you filed a joinder on behalf of the

    2   Committee with regard to --

    3              MR. CLEMENTE:     That's correct, Your Honor.

    4              THE COURT:    So I need to hear from you next, and then

    5   I'll circle back to Mr. Draper.

    6              MR. CLEMENTE:     That's correct, Your Honor.       And just

    7   for the record, Matt Clemente from Sidley Austin.

    8              THE COURT:    I should say, a joinder in the

    9   opposition.    That was a confusing statement I just made.

   10              MR. CLEMENTE:     Yeah, that's correct, Your Honor.

   11              THE COURT:    Uh-huh.

   12              MR. CLEMENTE:     And so I will be very brief, because

   13   Mr. Pomerantz was obviously very thorough.          But just to echo

   14   what he said, you know, the Committee is comfortable with the

   15   information that it has received.        And as Your Honor knows, we

   16   haven't been and won't be shy about coming to the Court if we

   17   felt that that was not the case.

   18        You know, we obviously had our issues early on in the

   19   case, including with respect to getting information from the

   20   Debtor.    But, again, the Committee, you know, has been

   21   comfortable with the information that it's received from the

   22   Debtor.

   23        Therefore, at this point, Your Honor, from the Committee's

   24   perspective, there doesn't seem to be any bona fide purpose to

   25   making the Debtor go through the cost and the expensive effort
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    1   that Mr. Pomerantz said would be required to create the Rule

    2   2015.3 reports.     And, again, I -- without casting aspersions,

    3   it would suggest, based on previous activity, that there's

    4   really only a nefarious purpose for what is being pressed

    5   before Your Honor today.

    6        So, Your Honor, again, we support the Debtor's position.

    7   I absolutely agree with Mr. Pomerantz's arguments.           We would

    8   request that Your Honor, you know, enter the relief that the

    9   Debtor is requesting today.

   10              THE COURT:    All right.    And Mr. Clemente, I just --

   11              MR. CLEMENTE:     Yes?

   12              THE COURT:    I just want to seal in my brain the

   13   context that I think applies here.        The January 2020 corporate

   14   governance settlement order.        In there, we all know there were

   15   lots of protocols about lots of things, but one of them or a

   16   set of the protocols dealt with transfers of assets in these

   17   nondebtor subs or entities controlled by the Debtor.           And, of

   18   course, Mr. Pomerantz alluded to this, but I'm just going to

   19   make sure I'm crystal clear on what I remember.          You know, the

   20   whole -- well, it was a protocol that the Committee would have

   21   to be consulted on transfers of assets of those nondebtor

   22   subs, those nondebtor controlled entities, and, you know,

   23   there was a discussion that 363 doesn't apply, of course, to

   24   nondebtor assets, and you could really argue all day, even if

   25   it did apply, about whether these are ordinary course or non-
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    1   ordinary course because of the business Highland is in.            But

    2   the Debtor negotiated with you and your clients:           We're going

    3   to have full transparency to let you all get notice of

    4   transfers of assets of these subs, and you could even object

    5   and bring a motion.      I mean, you can file some sort of

    6   pleading, even though we were not so sure 363 under any

    7   stretch might apply.

    8        Am I correctly restating the context that -- you know, Mr.

    9   Pomerantz alluded to it, but I just want to make sure I'm

   10   clear and the record is clear.

   11              MR. CLEMENTE:     Your Honor, you are -- you are

   12   absolutely correct.      There's a very complex set of protocols

   13   that we painstakingly negotiated with the Debtor that had

   14   different categories depending upon the asset --

   15              THE COURT:    Uh-huh.

   16              MR. CLEMENTE:     -- and the Debtor's ownership and its

   17   relationship with respect to the nondebtor entities or the

   18   related parties.     That required the Debtor to come to the

   19   Committee in certain sets of circumstances and explain a

   20   potential transaction and get the input from the Committee,

   21   and either the Committee could consent to the transaction, or

   22   if the Committee did not consent to the transaction, the

   23   Debtor could seek relief from the Court.

   24        Your Honor will remember that, in fact, one of the

   25   hearings we had with respect to the monies that were placed in
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    1   the Court registry arose out of the protocols.          So the

    2   protocols worked from that perspective in requiring the Debtor

    3   to come to the Committee, allow the Committee to make an

    4   evaluation, and then the Debtor would make a decision from the

    5   perspective of how it wished to proceed.

    6        So, Your Honor is absolutely correct.         That was all part

    7   of the governance settlement that was negotiated back in

    8   January.    And from the Committee's perspective, again, it

    9   hasn't always been lemon water and rose petals, but we believe

   10   that those protocols worked, and worked to provide the

   11   Committee with information so it could appropriately evaluate

   12   what the Debtor was doing.

   13              THE COURT:    All right.    So I'm correct, you would

   14   say, in thinking there was a lot of transparency built in?               It

   15   didn't always work smoothly in the beginning, and as we know,

   16   there were document production requests, many of them from the

   17   Committee.    That all came to a head last July, with more

   18   protocols put in place.      But lots of transparency was

   19   negotiated by the Committee with regard to all of these

   20   controlled entities and subs?

   21              MR. CLEMENTE:     That was a critical, Your Honor, that

   22   was a critical component of the governance settlement.

   23              THE COURT:     Okay.

   24              MR. CLEMENTE:     Because that was obviously the impetus

   25   for us wanting that governance settlement, so we could get
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    1   that transparency.

    2        So, to answer your question, Your Honor, yes, the

    3   protocols served that function of providing the Committee with

    4   information on transactions that the Debtor was proposing to

    5   enter into.

    6              THE COURT:    Okay.   And of course, there was a waiver

    7   of the privilege -- I don't know if that's the word; I guess

    8   that is the right word -- with regard to possible estate

    9   causes of action.     Maybe I'm getting into something unrelated.

   10   Maybe I'm not.     But that was part of the protocol, too, right,

   11   the Debtor would waive its --

   12              MR. CLEMENTE:     That's correct, Your Honor.

   13              THE COURT:    -- privilege with regard to --

   14              MR. MORRIS:    Your Honor, I apologize for

   15   interrupting.     This is John Morris from Pachulski Stang.         I

   16   just want to recharacterize that a bit.

   17              THE COURT:    Okay.

   18              MR. MORRIS:    It's not a waiver of the privilege.           We

   19   agreed to share the privilege --

   20              THE COURT:    Share the privilege.      Okay.

   21              MR. MORRIS:     -- with the Debtor.     The Debtor --

   22              MR. CLEMENTE:     I --

   23              MR. MORRIS:    I'm sorry to -- sorry to correct you,

   24   but it's a --

   25              THE COURT:    Well, no, --
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    1              MR. MORRIS:     -- very important point.

    2              THE COURT:    -- that's why I hesitated on that word.

    3   I wasn't sure if that was the word, the concept.

    4              MR. MORRIS:    There's no waiver.

    5              THE COURT:    Okay.   Okay.    I'm not always --

    6              MR. CLEMENTE:     That is -- and that is correct, Your

    7   Honor.

    8              THE COURT:    Okay.

    9              MR. CLEMENTE:     Mr. Morris is correct.      As are you.

   10              THE COURT:    Okay.   So I'm asking you, is all of this

   11   protocol that was in place, I mean, is it reasonable for me to

   12   think maybe that's the reason you all never pressed the 2015.3

   13   issue, because you were getting a full look, as best you could

   14   tell, and more?     You were getting more information, perhaps,

   15   than these reports would have provided, even.          Is that fair

   16   for me to think?

   17              MR. CLEMENTE:     It is fair for you to think that, Your

   18   Honor.   We viewed the protocols as our mechanism to get the

   19   information that was necessary for the Committee to evaluate

   20   the transactions that the Debtor wanted to engage in.           And so

   21   we were looking to the protocols, and in fact, I think the

   22   protocols were very broad in certain respects, and we were not

   23   thinking about the Rule 2015 reports, nor would we have said

   24   that that would have been a substitute for negotiating those

   25   protocols and implementing them.
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    1               THE COURT:    Uh-huh.

    2               MR. CLEMENTE:    So that's how the Committee was

    3   looking at it, Your Honor.

    4               THE COURT:    Okay.   All right.   Well, okay.     Mr.

    5   Draper, I'm going to come back to you.         You get the last word

    6   on that.

    7               MR. DRAPER:    Thank you.   First of all, the answer is

    8   yes, there are extensive protocols between the Debtor and the

    9   Committee.    I one hundred percent agree with you.         And the

   10   other point I'd make with that is this information is a

   11   scaled-down version of what they're giving the Committee on a

   12   regular basis.     So the argument that it would take hundreds of

   13   man hours and millions of dollars to do that is absolutely not

   14   true.   This information, in large measure, even vaster

   15   portions of it have already been given to the Committee.

   16   Number one.

   17        Number two, we as lawyers are literalists --

   18               THE COURT:    But I presume not in this format.       I

   19   presume not in the format of filling out the form A through E

   20   exhibits.    I mean, maybe it's an email.

   21               MR. DRAPER:    Well, --

   22               THE COURT:    Maybe it's a phone call.

   23               MR. DRAPER:     -- it's not in a form -- no, there is --

   24   there is -- they both have financial advisors who I'm sure

   25   you're going to see whopping fee applications from who have
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    1   pored through all of this.       My bet, and I'd bet big dollars on

    2   this, is that financial -- balance sheets are given to them on

    3   a regular basis, statements of financial information for

    4   subsidiaries and changes in cash flow are given to them.

    5   Otherwise, there's no way the Creditors' Committee could

    6   monitor what's going on and what's happening.

    7        So, really, this is -- this is not a phone call thing.

    8   There is real financial data that's being given that is

    9   available and can be given on a scaled-down basis.

   10        My real point of this is we as lawyers are literalists

   11   until it suits our purposes not to be literalists.           There is

   12   no exception in 2015.3 for information being given to a

   13   creditors' committee.      In fact, when you look at 2015.3, it

   14   basically figures there is information going to a creditors'

   15   committee.    This is for the others who don't have access to

   16   that information.

   17        And the interesting part of that is, as the Court's aware,

   18   the Bankruptcy Code was amended that if I had gone to the

   19   Creditors' Committee and made a request as a creditor, I

   20   probably have a right to get even more information than 2015.3

   21   allows me to get.

   22        Next, which is the giant smokescreen.         We're basically

   23   dealing now with the gee, Mr. Dondero's a bad guy; gee, they

   24   want this information because they want to uncover what we

   25   know.   That's just not true with respect to these reports.              If
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    1   you look at what the reports do, the reports start from the

    2   day that the case was filed and ask for changes in financial

    3   condition from the day the case was filed going forward.            It

    4   is all postpetition in its effect.        And to the extent they've

    5   uncovered things that are incorrect in the Debtor's schedules,

    6   the truth is the amendment of the schedules is warranted.

    7   2015.3 does not deal with prepetition activity in any way,

    8   shape, or form.     They are balance sheets that ask for -- or

    9   changes in financial condition that go from the filing of the

   10   case, or seven days before, and require reports every six

   11   months.

   12        So this giant smokescreen that there's a massive fraud,

   13   there's all this other stuff that's been uncovered, is just

   14   not true.    It is an attempt to cover up or give an excuse that

   15   is unwarranted with respect to why they haven't done the

   16   2015.3.

   17        Next point.     There is no secret stuff that's being done.

   18   There's no valuation that we're asking for.          2015.3 asks for

   19   balance sheet information.       So, in fact, if they own ten

   20   pieces of property, 2015.3 would bind them together in a

   21   balance sheet and say, this is the total real estate that we

   22   have.   If an entity has 15 entities under its umbrella, it

   23   would have a balance sheet entry.        Assets and liabilities.

   24   It's not broken down.      The assets are probably at book value

   25   or some sort of mark to market.
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    1        But honestly, this is -- there is no way that this

    2   information gives anybody any benefit in terms of any bidding.

    3        And the other point that's problematic is anybody who

    4   wants to buy these assets would walk in and say, look, I want

    5   a data room, let me look at this.        If what Mr. Pomerantz is

    6   saying, which I don't understand, is that we're not going to

    7   let a Dondero entity buy an asset, notwithstanding the fact

    8   that they may pay more for the asset than somebody else would,

    9   I think that's -- I have a huge problem with that.           We're here

   10   for monetization of assets.       We're here to maximize the value.

   11   And if, in fact, somebody walks in that may be a tangentially-

   12   related Dondero entity and is willing to pay more, they should

   13   be thrilled with that fact, not jettison it or disregard it.

   14   That is -- their job is to maximize value, not minimize value

   15   through a controlled sale process.

   16        Again, I'm looking at the Code section.         I'm looking at

   17   2015.3.    It basically says what it says.       It's designed to

   18   give basic financial information.        It has nothing to do and

   19   offers no disclosures of anything Mr. Pomerantz has thrown up

   20   before the Court or that Mr. Dondero or any of his entities or

   21   people are alleged to have done.

   22        And the last is, if in fact there's financial information

   23   that's incorrect in any of these entities, I question what the

   24   Debtor's financial advisors have been doing for the last

   25   months.    Honestly, they should be poring over these books.             If
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    1    they find a problem, they should correct 'em and address them.

    2    And so there's no basis under the Code.        We've -- what's been

    3    given to you and what their argument is is an excuse for not

    4    doing something they should have done.        It can't be couched as

    5    to who's asking.     It is systematic in nature.      And what's been

    6    thrown up before the Court in Mr. Pomerantz's arguments are

    7    just not true when you look at what the form requires.

    8               THE COURT:    You know, I can't remember ever being in

    9    a contested matter involving this rule.        And I was kind of

   10    pondering before coming out here, I wonder why that is.           And,

   11    you know, I'm thinking the vast majority of our complex

   12    Chapter 11s that involve many, many, many entities, they all

   13    file.   Okay?   You know, they're kind of a different animal, if

   14    you will, from Highland.

   15         You know, we know how it normally works.         You've got maybe

   16    the mothership, holding company, and many, many subs, and

   17    you've got asset-based lending, right, where, you know, maybe

   18    the majority of the entities in the big corporate complex are

   19    liable, so you just put them all in.        Okay?

   20         We don't have -- I have not experienced a lot of Chapter

   21    11s where you have basically just the mothership and then you

   22    keep subs and lots of affiliates out.        Okay?   So I'm thinking

   23    that's one reason.

   24         Another thing, I can't remember how old this rule is.

   25    Does anyone -- can anyone educate me?        How long has this rule
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    1    been around?

    2               MR. DRAPER:    Your Honor, this is Douglas.       I think it

    3    came in after Lehman Brothers.       And it came --

    4               THE COURT:    Uh-huh.

    5               MR. DRAPER:    It was put in to deal with off-balance

    6    sheet items.

    7               THE COURT:    Uh-huh.

    8               MR. POMERANTZ:    2008, Your Honor.

    9               THE COURT:    2008?

   10               MR. DRAPER:    Which is exactly right.      It --

   11               THE COURT:    Okay.

   12               MR. DRAPER:    Yep.

   13               THE COURT:    Okay.   So that, that's another reason.

   14    Because I was thinking like Enron days.        You know, that's a

   15    big giant, a gazillion entities, and, of course, a whole huge

   16    slew of them were all put in.

   17         So, there's not a lot of case law.        And you know, maybe

   18    there are other situations where a judge ruled on this issue

   19    but without issuing an opinion.       So, anyway, that's neither

   20    here nor there.

   21         Mr. Draper, you've urged me to focus on the literal

   22    wording of the rule.     It's "shall" language.      You've talked

   23    about essentially the integrity of the system as being the

   24    reason for the rule.     You've told me not to accept the

   25    Debtor's "bad guy" defense, you know, as an excuse.            This is
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    1    just Dondero, you know, wanting the information, and therefore

    2    I should discount the motivations here.

    3         But let me tell you something that is nagging very, very

    4    much at me, and I'll hear whatever response you want to give

    5    to this.   I just had an all-day hearing a couple of days ago,

    6    and this involved the Charitable DAF entities and a contempt

    7    motion the Debtor filed because those entities went into the

    8    U.S. District Court upstairs in April and filed a lawsuit that

    9    was all about Mr. Seery's alleged mismanagement with regard to

   10    HarbourVest.

   11         So what I'm really worried about is the idea that your

   12    client wants this information to cobble together a new

   13    adversary alleging mismanagement.       How can I not be worried

   14    about that?

   15               MR. DRAPER:    It's real simple.     Because the

   16    information that's here doesn't go to management decisions.

   17    The information that's requested here has balance sheet items.

   18    It has to do with changes in cash flow.        It is not something

   19    that you can cobble together a claim, because it doesn't deal

   20    with discrete transactions.      It deals with only transactions

   21    between affiliated entities.       It only deals with disclosure of

   22    administrative expenses that are incurred by a subsidiary for

   23    which the Debtor is liable.      It only deals with changes in

   24    condition on a go-forward basis and a balance sheet.           It

   25    doesn't say, gee, we have to disclose that, with respect to
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    1    HarbourVest or with respect to the MGM stock or whatever,

    2    we're doing A, B, or C.      It doesn't go there.

    3         That's why I asked the Court in my opening, look at the

    4    form.   Because the form is what I'm asking for adherence to.

    5    I'm not asking the form to be varied.        I'm just asking the

    6    form to be approved -- to be addressed.        And the form

    7    controls.    It is not something you can cobble together a

    8    complaint with.

    9                THE COURT:    Well, you left out when I asked, you

   10    know, did your client have an administrative expense claim in

   11    this case, and Mr. Pomerantz corrected the record on that.

   12    Your client, while it's not a lawsuit in another court, has

   13    filed an administrative expense that there was mismanagement

   14    of a nondebtor sub or nondebtor controlled entity, --

   15                MR. DRAPER:    That -- that's --

   16                THE COURT:    -- Multistrat.

   17                MR. DRAPER:    No, that's not -- if -- if I understand

   18    the claim -- again, I didn't file it, and I forgot, that's an

   19    oops on me as opposed to an oops on Mr. Seery for not filing,

   20    and I apologize for the Court for that.        But if I understand

   21    that claim, is when he acquired whatever he acquired, he

   22    should have offered it to the other -- to the other members of

   23    the -- that group.       Again, I'm not -- that's not -- I'm a

   24    bankruptcy lawyer, as the Court's well aware.         This other

   25    stuff is beyond me.
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    1         But the truth is, my understanding of the claim, it goes

    2    to who should have benefited by the transaction and whether

    3    the Debtor got CLO interests or got cash for it is irrelevant

    4    and that it should have been offered.        That's what I

    5    understand the claim.

    6               THE COURT:    Okay.    So the same sort of theory --

    7               MR. DRAPER:    So, the claim --

    8               THE COURT:    -- as HarbourVest?     The same sort of

    9    theory as HarbourVest?

   10               MR. DRAPER:    No.    No.   Well, no, I'm just saying,

   11    that's -- that's what -- again, you're asking me for something

   12    that's outside my expertise.

   13               THE COURT:    Okay.

   14               MR. DRAPER:    Yes, we may have filed a claim.

   15               THE COURT:    Who filed a proof of claim?

   16               MR. DRAPER:    And the point I'm making --

   17               THE COURT:    Who filed the proof of claim?

   18               MR. DRAPER:    What?    I did not -- I have not filed the

   19    proof of claims that were asserted by Dugaboy.

   20               THE COURT:    I mean, --

   21               MR. DRAPER:    I think that was --

   22               THE COURT:    -- request for administrative expense.

   23    Who filed this?     You say you don't -- you didn't file it.

   24               MR. DRAPER:    I did -- I don't think I did.

   25               MR. POMERANTZ:    Your Honor, to clarify, it was filed
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    1    as a proof of claim, but it related to postpetition actions.

    2    And, again, I don't have it before me.        This has been raised

    3    --

    4                MR. DRAPER:    I --

    5                MR. POMERANTZ:   -- several times in the confirmation

    6    hearing when Mr. Draper was there, so I guess he must have

    7    just forgotten about it.      But I don't know who actually filed

    8    it.    But it is -- it is -- it is a proof of claim that is on

    9    the record.

   10                MR. DRAPER:    Mr. Pomerantz, God forbid that I should

   11    forget something.     I'm sure you never have.

   12                THE COURT:    Okay.   Well, here's what I'm going to do.

   13    I'm not going to grant the relief being sought today, but I

   14    will continue the hearing to a date in early September.           And

   15    Mr. Draper, you can coordinate with my courtroom deputy, Traci

   16    Ellison, with regard to a setting in early September.

   17           I can assure you it's not going to be until after Labor

   18    Day.    I think Labor Day falls on the 6th, maybe, and I plan to

   19    be far away the first few days of September, far away from

   20    this country.

   21           But here are a few things I want to say.       First, I care

   22    about transparency, and I tend to strictly construe a rule

   23    like this.    I think, you know, it should be very clear for

   24    anyone who's appeared before me that I really like -- I say

   25    open kimono.    I probably shouldn't use that expression, but I
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    1    use that expression a lot.      You know, when you're in Chapter

    2    11, the world changes and you have to be very transparent.

    3         But while I generally feel that way, we have -- as I also

    4    always say, facts matter, contexts matter -- and here we are

    5    twenty months into a case and we're post-confirmation.           This

    6    motion was filed post-confirmation.        So I acknowledge that the

    7    Rule 2015.3(b) has the requirement of filing reports as to

    8    these nondebtor controlled entities until the effective date

    9    of a plan.    We're so -- we're presumably so very close to the

   10    effective date that I think I should exercise my discretion

   11    under Subsection (d) of this rule to, after notice and a

   12    hearing, vary the reporting requirements for cause.          I think

   13    there's cause, and that cause is I think we're oh so close to

   14    the effective date.     That's number one.     Number two, we're

   15    down to 12 staff members.      And I've heard that 150 entities

   16    may be implicated, and I don't think that is a necessary and

   17    reasonable use of staff members at this extremely late

   18    juncture of the case.

   19         And my third reason for cause under Subsection (d) of this

   20    rule is we have had an active, a very active Creditors'

   21    Committee in this case with sophisticated members and

   22    sophisticated professionals who negotiated getting more

   23    information, I think more useful information than this rule

   24    even contemplates with the various form blanks.

   25         Now, obviously, I'm continuing this to September because,
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    1    if we don't have an effective date by early September, well,

    2    context matters, maybe that causes me to view this in a whole

    3    different light.     But that is the ruling of the Court.

    4         You know, I just want to say on behalf of the U.S.

    5    Trustee, I don't know if anyone's listening in, but it was an

    6    unfortunate use of words earlier, I think, saying, you know,

    7    secret deal with them.      And I use unfortunate words all the

    8    time.   I'm not being critical.      But I just want to defend

    9    their honor here.     Oh my goodness, they --

   10         (Phone ringing.)

   11               THE COURT:    -- exercise integrity in every case I see

   12    to the utmost degree, and I suspect they were satisfied that

   13    the Committee was getting so much access to the Debtor, with

   14    the sharing of the privilege and the protocols, that it just

   15    didn't seem necessary in the facts and circumstances of this

   16    case to require strict compliance with 2015.3.

   17         So I'm going to ask Mr. Pomerantz to upload a form of

   18    order reflective of my ruling.       And, again, if --

   19         Whose phone is ringing?      Is there something going on with

   20    our equipment?

   21               THE CLERK:    No.

   22               THE COURT:    I don't know where that phone ringing is

   23    coming from.

   24               THE CLERK:    I can hear it.

   25               THE COURT:    Okay.   So, you'll get a day from Ms.
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    1    Ellison in -- after labor day, and we'll see where we are.

    2    This will be a moot matter as far as I'm concerned if we've

    3    had an effective date at that point.

    4         (Continued phone ringing.)

    5               MR. POMERANTZ:    Your Honor, one clarification I would

    6    ask to have.    I don't think -- I think Your Honor intends that

    7    to be a status conference, so to save the Debtor from, you

    8    know, spending time in doing a pleading, and Mr. Draper as

    9    well, and Your Honor from reading them, I would say that there

   10    should be no pleadings filed in advance.         We will appear

   11    before Your Honor with a status conference.          And to the extent

   12    Your Honor determines there's further briefings or further

   13    issues that need to be decided, you could decide at that

   14    point.   But no further briefing.

   15               THE COURT:    Okay.   I think that is a fair request.

   16         (Ringing stops.)

   17               THE COURT:    And so that -- that is the way we'll set

   18    this up.   Status conference.      No further pleading.

   19               MR. DRAPER:    Your Honor?

   20               THE COURT:    All right?    Mr. Draper?

   21               MR. DRAPER:    Can I make a request, Your Honor?        Can I

   22    change -- can I make a comment about the Court's ruling?

   23    Because I want to be transparent about this.          And I think the

   24    Court's ruling, I would request that you shapeshift it a

   25    little bit.
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    1         If, in fact, you're going to take the position that if the

    2    plan goes effective, this issue -- this -- this motion is moot

    3    and will be denied, I think, quite frankly, why don't we enter

    4    that order now, rather than waiting.        Because that at least

    5    gives me the ability to address the issue.

    6         I don't think the rule has a waiver of it on the effective

    7    date.    Let's -- let's get the issue before the -- before

    8    everybody.    Because, again, as I said, if in fact your

    9    position is that if it goes effective I'm going to deny the

   10    relief and claim it's -- and assert it's moot in a ruling, I'm

   11    fine, let's get the ruling now.       Because -- because my

   12    position is that that waiver -- there is no basis for that

   13    waiver due to time.     The rule requires being filed through a

   14    point.

   15         And, look, again, that way I'm not wasting the Court's

   16    time.    We're not rearguing it.     If we're not having new

   17    pleadings, let's get it over with.

   18               MR. POMERANTZ:    Your Honor, I would reject that.

   19    It's pretty transparent what Mr. Draper wants.          He wants

   20    another appeal --

   21               THE COURT:    Uh-huh.

   22               MR. POMERANTZ:    -- because he wants to go to another

   23    court, and he's unhappy that Your Honor has essentially given

   24    an interlocutory order that he will be stuck with.

   25         So we have, I think, close to a dozen appeals.          We're
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    1    spending millions of dollars.       And I find -- I find Mr.

    2    Draper's request, quite honestly, offensive, that it would

    3    require us to -- a lot more time and money on an issue we

    4    shouldn't.    So, I would ask Your Honor to reject Mr. Draper's

    5    request.

    6               THE COURT:    All right.    I do --

    7               MR. DRAPER:    And again, my --

    8               THE COURT:    -- reject it.    That's exactly where my

    9    brain went, Mr. Draper.      This is an order continuing your

   10    motion.    Okay?   And we'll have a status conference in early

   11    September on your motion.

   12         And you know, again, I'm just letting you know my view it

   13    will be moot if the effective date has occurred, and then

   14    we'll get some sort of order to that effect issued at that

   15    time.   And then I guess you'll have your final order that you

   16    can appeal if you want at that point.

   17         The last thing I'm going to say is this.         Mr. Draper, as

   18    I'm sure you remember, at some point many weeks back -- I

   19    think it was in January, actually -- I ordered that Mr.

   20    Dondero should be on the WebEx, or if we're live in the court

   21    for a hearing, live in the court, any time there's a hearing

   22    where he, his lawyers, have taken a position, filed an

   23    objection or filed the motion himself.        If he and his lawyers

   24    are requesting relief or --

   25               MR. DONDERO:    I'm here.
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    1               THE COURT:    -- objecting to relief, that he has to be

    2    in the courtroom.

    3          I am now going to make the same requirement with regard to

    4    the trusts.    Any time the trusts file a pleading seeking

    5    relief, object to a pleading seeking relief, file any kind of

    6    position paper, I'm going to require a trust representative to

    7    be in court.

    8          Now, I don't know if that's the trustee, Nancy Dondero.           I

    9    don't know if that's Mr. Dondero's wife, a sister, who that

   10    is.   But it'll either be her or whoever the trustee is or Mr.

   11    Dondero as beneficiary.       But it has gotten to that point.

   12    Okay?   And --

   13               MR. DRAPER:    Your Honor?

   14               THE COURT:    And it's not -- it's not personal.        I

   15    have said this before.      I've done this in many cases.       If we

   16    have a party who feels so invested in what's going on that

   17    they're waging litigation, litigation, litigation, at some

   18    point very often I will make this order.         Like, okay, we're

   19    all spending a lot of time on what you want, so you need to

   20    show you're invested in it and be here with the rest of us.

   21    And, you know, potentially we're going to want testimony in

   22    certain contexts.     Okay?

   23          So I don't know who that human being is for the trusts,

   24    but I'm now to the point where I'm making that same order that

   25    I did with regard to Mr. Dondero personally.         All right?
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    1               MR. POMERANTZ:       Your Honor?

    2               THE COURT:    Yes?

    3               MR. POMERANTZ:    Your Honor, just to clarify, that's

    4    Mr. Dondero and the trustee.

    5         And I would also ask Your Honor, I know Mr. Dondero will

    6    say that he was on, and that's what Mr. Taylor is going to

    7    say, he was on audio.     I think, in order to have them actively

    8    participating, they should be on the video the entire hearing.

    9    Because if they're just on the phone on mute, Your Honor is

   10    not able to really tell if they are really listening.           So I

   11    would ask Your Honor to clarify to both Mr. Draper and Mr.

   12    Taylor that, for both the trustee and Mr. Dondero, they should

   13    be on video.

   14               THE COURT:    All right.

   15               MR. DRAPER:    Your Honor, Mr. Dondero is on.       You can

   16    see him down in the lower screen.

   17               THE COURT:    All right.    Just so you know, I mean, the

   18    screen I'm looking at is not quite the same screen you're

   19    looking at.    We have this Polycom.      And I show that there are,

   20    you know, thirty-something people, but I only see the people

   21    who have most recently talked.        Okay?   So, I see you, Mr.

   22    Draper.   I see Mr. Pomerantz.       I see Mr. Clemente.    A few

   23    minutes ago, I saw Mr. Morris.        But, you know, we've set it up

   24    where I'm not overwhelmed with blocks; I'm just seeing the

   25    people when they speak.
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    1               MR. POMERANTZ:    Your Honor, and those were the only

    2    four people whose videos were on during the entire hearing.

    3               THE COURT:    Oh, okay.

    4               MR. POMERANTZ:    So I hope Mr. Draper is not going to

    5    say that Mr. Dondero was on video, because he was not.

    6               THE COURT:    Okay.

    7               MR. DRAPER:    No, you can see -- Mr. Pomerantz, what I

    8    said is you can see him on the screen here.         You can see that

    9    he has dialed in.     I don't see him jumping up and down or his

   10    person.

   11               THE COURT:    Oh, okay.

   12               MR. DRAPER:    But it is clear that somebody dialed in

   13    on his behalf.

   14               MR. POMERANTZ:    Well, --

   15               MR. DRAPER:    Or he dialed in.     He is -- he is

   16    present.

   17               MR. POMERANTZ:    Exactly.    That's my point, Your

   18    Honor, that someone may have dialed in on his behalf.           And I

   19    think Mr. Dondero, for them to have active, meaningful

   20    participation, because I think that's what Your Honor is

   21    getting at, that they should be here, engaged.          And if we were

   22    in court like we were the other day, Mr. Dondero would have

   23    had to sit in Your Honor's courtroom.        And if he is going to

   24    take up the time of Your Honor and all the parties, he and the

   25    trustee should be really engaged, which you cannot be if
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    1    you're only on the phone.

    2                THE COURT:    Okay.   All right.    Well, --

    3                MR. DRAPER:     Your Honor?

    4                THE COURT:    Go ahead, Mr. Draper.

    5                MR. DRAPER:     Mr. Dondero just talked a few moments

    6    ago, so Mr. Pomerantz heard him.          This is -- this is truly

    7    unwarranted.    He's appeared, he's here, and he's made a

    8    comment to the Court.       So, again, we are invested.       He was

    9    present at this hearing.       He heard the hearing.       And so, you

   10    know, I just don't know where this is coming from.            I

   11    understand he missed a hearing before, but he is here for this

   12    one.

   13                THE COURT:    Okay.   Well, I'm not going to get bogged

   14    down in this issue.       I am going to issue an order, though,

   15    that is going to be reflective of what I said, and we'll just

   16    -- we'll make sure we have him check in or whoever the

   17    representative is of the trusts in future hearings and turn

   18    the video on and we'll make sure.

   19           Again, this is -- I used the word frustrated the other

   20    day.    I'm very frustrated.      This is just -- this is -- it's

   21    out of control.     Okay?    I ordered mediation earlier in this

   22    case.    I believed that an earnest effort was put in.            But if

   23    we're not going to have settlement of issues, you know, I'll

   24    address these issues, but everyone who files a pleading,

   25    whether it's Mr. Dondero personally or the trusts, the family
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    1    trusts, and, of course, we're going to get -- I'm going to go

    2    the same direction, actually, with all these other entities.

    3    You know, it's -- I've gotten to where I had my law clerk the

    4    other day prepare me basically what was like a program from a

    5    sports event, you know, who represents which entities, because

    6    it's gotten overwhelming.      And --

    7               MR. POMERANTZ:    Your --

    8               THE COURT:    And I mentioned the other day, I'm very

    9    close to requiring some sort of disclosures about the

   10    ownership of each of these entities, because I -- you know,

   11    the standing is just so tenuous, so tenuous with regard to

   12    certain of these entities.      And I've erred on the side of

   13    being conservative and, you know, okay, we maybe have

   14    prudential standing, constitutional standing, even if it's

   15    kind of hard finding statutory standing under the Bankruptcy

   16    Code.   But it's gotten to the point where it's just costing

   17    too much time and expense for me to not press some of these

   18    issues and hold people accountable.

   19         So, Mr. Pomerantz, were you about to say something?           I

   20    know that we had talked at another hearing about the Court

   21    maybe requiring some sort of disclosures for me to really

   22    understand party in interest status maybe better than I do.

   23               MR. POMERANTZ:    That, Your Honor, was where I was

   24    going to go before Your Honor made the comment.          Your Honor

   25    made that comment a few weeks ago.        I think, since then, quite
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    1    honestly, nothing really has changed.        And I think it would be

    2    helpful -- it would be helpful for the Debtor, and more

    3    importantly, I think it would be helpful to the Court to have

    4    a list that you can refer to every time we are in a hearing of

    5    every entity that has appeared that Mr. Dondero has a

    6    relationship with, who the lawyers are, what the claims they

    7    filed, what the status of the claims they filed, and maybe

    8    even what litigation they are in pending with the Debtor.

    9         We're happy with -- part of it we could prepare.          But I

   10    would think Your Honor should order that from Mr. Dondero's

   11    related entities, because it might cut through a lot of it,

   12    and give Your Honor the information Your Honor needs and the

   13    context and perspective as you're hearing a lot of these

   14    motions.

   15               THE COURT:    All right.    Well, is there anything else

   16    before we move on to the other matter?        I'm about to close the

   17    loop on this by saying I am --

   18               MR. TAYLOR:    Your Honor?    Your Honor?

   19               THE COURT:    Who is that speaking?

   20               MR. TAYLOR:    This is Clay -- this is Clay Taylor,

   21    Your Honor, --

   22               THE COURT:    All right.

   23               MR. TAYLOR:    -- representing Jim Dondero

   24    individually.

   25               THE COURT:    Okay.
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    1               MR. TAYLOR:    And I just wanted to be heard.       I've

    2    just listened in, even though Mr. Dondero was not the movant,

    3    because sometimes issues like this do come up where his name

    4    is thrown about.

    5         First of all, Jim Dondero was indeed, as Mr. Draper said,

    6    was indeed present.      He did indeed try to speak.      I kind of

    7    overrode him.    And because, you know, he needs to speak

    8    through his lawyer most of the time and shouldn't address the

    9    Court directly.     But I wanted to let you know that Mr. Dondero

   10    was indeed on the line, was actively listening, and was

   11    participating.

   12         As far as additional disclosures, it would be, I would

   13    just note, somewhat ironic if the Court denies the motion for

   14    what appears to be mandatory disclosures under Rule 2015.3 but

   15    then imposes additional disclosure requirements on somebody --

   16    on another party, without any rule stating that there is such

   17    disclosures.    It just -- it strikes me as ironic, and I would

   18    like Your Honor to consider that, at least, as Your Honor

   19    says, context matters.

   20         You know, that's the context in which this arises.           And we

   21    would just ask Your Honor to reflect upon that before she

   22    imposes additional duties upon my client.

   23         But there is -- and the Debtor has asked for the response

   24    to be taken as a motion for leave to not comply with a rule,

   25    but yet Mr. Seery is not here.       The UCC regularly
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    1    participates.    Its members are not here.       And so I just, to

    2    the extent Your Honor is going to impose duties upon certain

    3    parties, then what's good for the goose is good for the

    4    gander, Your Honor.

    5               THE COURT:    All right.

    6               MR. POMERANTZ:    Your Honor, I would point out that

    7    Mr. --

    8               THE COURT:    I respect your argument.      I always

    9    respect your arguments, Mr. Taylor.

   10         By the way, you aren't wearing a jacket.         You know, next

   11    time you need to wear a jacket.       And forgive me if I seem

   12    nagging, but I'm letting you all know, if you all are soon

   13    going to be having lots of litigation in the District Court, I

   14    promise you the district judges are way more formal than me

   15    and sticklers for every rule.       You'll also be doing everything

   16    live in the courtroom, too.      I'm just letting you know that.

   17         But while I respect your argument, apples and oranges.             I

   18    mean, the 2015.3 rule, not only is it not -- not -- I wouldn't

   19    say mandatory, since the Court has discretion for cause to

   20    waive the requirement.      But it's a very onerous set of forms

   21    that would have to be filled out for 150 entities by 12 staff

   22    members.   I don't really consider that the same as the

   23    disclosure that I'm now going to require.

   24         But my law clerk and I will -- we'll craft a form of order

   25    that will be specific as far as what I'm going to require.
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    1         And, again, I think it's way beyond the point of this

    2    being necessary.     And just so -- again, I'm wanting to explain

    3    this thoroughly.     You know, standing -- for the nonlawyers; I

    4    don't know how many nonlawyers are on the phone, WebEx -- it's

    5    a subject matter jurisdiction thing.        Okay?   And, you know, if

    6    there's a dispute and someone involved in a dispute

    7    technically doesn't have standing, that means the Court didn't

    8    have subject matter jurisdiction to be adjudicating it.            Okay?

    9    That's first year law school concept.

   10         And it's been mentioned we have lots and lots of appeals,

   11    and I can promise you, if you've never been through the

   12    appellate process, that's the very first thing they'll look at

   13    -- you know, District Court, Fifth Circuit, any Court of

   14    Appeals -- because they have an overwhelming docket.           And if

   15    there's a reason to push out this appeal before then because

   16    of lack of subject matter jurisdiction, which would include

   17    lack of standing, of course they are going to quickly get it

   18    off their plates because they have other things to get to,

   19    like criminal matters that are, you know, their top priority

   20    because of the Constitution.

   21         So this has been an evolving thing with me.         At some

   22    point, I feel like the Courts of Appeals that are involved

   23    with all of these appeals, they might be really, really

   24    zeroing in on the standing of parties more than perhaps even I

   25    have.   So I want to do my job and I want it clear on the
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    1    record, this is why this person has standing or doesn't have

    2    standing.    Okay?    I just feel like we've gotten to that point.

    3    And so we'll issue an order in that regard, and it will, I

    4    promise you, be crystal clear.

    5         Anything else?

    6                MR. POMERANTZ:    Your Honor, one last point.      Mr.

    7    Taylor insinuated that the board is not present here, which is

    8    incorrect.    A member or two members or three members of the

    9    board have been present at every hearing before Your Honor.

   10    And that's without an order requiring them to do so, because

   11    they are -- they are interested, they are engaged.          Mr. Dubel

   12    is on the phone.      He has been on the phone.     I think this may

   13    have been only the second hearing that Mr. Seery has missed,

   14    felt it wasn't necessary to take him away from his running the

   15    company.    So the Debtor has been, through its board members,

   16    fully engaged, and I just wanted Your Honor to know that, that

   17    we would never have a hearing before Your Honor without at

   18    least one member of the independent board listening in and

   19    participating as necessary.

   20                THE COURT:    All right.   Thank you.

   21         All right.      Well, let's move on to the other contested

   22    matters, or adversary proceeding matters, I should say.           And

   23    they're Adversary 21-3006 and 21-3007.        We have Motions for

   24    Leave to Amend Answers.      And do we have Ms. Drawhorn appearing

   25    for that motion or those motions?
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    1                 MS. DRAWHORN:    Yes, Your Honor.   Lauren Drawhorn with

    2    Wick Phillips on behalf of Highland Capital Management

    3    Services, Inc. and NexPoint Real Estate Partners, LLP,

    4    formerly known as HCRE Partners, LLC.

    5                 THE COURT:    All right.   And who will be making the

    6    argument for the Debtor on this one?

    7                 MR. MORRIS:    John Morris, Your Honor; Pachulski Stang

    8    Ziehl & Jones; for the Debtor.

    9                 THE COURT:    All right.   Are there any other

   10    appearances on this?

   11         Okay.    Ms. Drawhorn?

   12                 MS. DRAWHORN:    Yes, Your Honor.   We are -- so, my

   13    clients are seeking leave to amend the answer to add two

   14    affirmative defenses.        As you know, under Rule 15(a), there is

   15    a bias towards granting leave, and leave should be freely

   16    granted unless there's a substantial reason to deny it.

   17         The main factors that are considered in determining

   18    whether there is a substantial reason to deny a motion for

   19    leave to amend are prejudice, bad faith, and futility.

   20         Here, there is no prejudice to the Plaintiff.          Under the

   21    case law, if the -- as long as a proposed amendment is not

   22    presented on the eve of trial, continuing deadlines or

   23    reopening discovery does not constitute sufficient prejudice

   24    to deny leave.

   25         Here, discovery does not close until July 5th for Highland
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    1    Capital Management Services, and it does not close until July

    2    26th for NexPoint Real Estate Partners.

    3         The Plaintiff has not -- neither party has taken any

    4    depositions in this case.      And we are open and willing to

    5    extend the discovery deadlines if necessary.         We think that

    6    discovery can be extended as necessary without extending any

    7    dispositive motion deadline or the docket call which are set

    8    in August.    Dispositive motions are August 16th for Highland

    9    Capital Management and September 6th for NexPoint Real Estate

   10    Partners, with docket call in those cases being October and

   11    November.

   12         So there's significant time.       If the -- if the party just

   13    wants to conduct additional written discovery, I think that

   14    that -- they would be easily be able to do that.

   15         We're also open to continuing all the deadlines in this

   16    case, and practically speaking, those -- the deadlines may be

   17    continued depending on what happens with the pending motion to

   18    withdraw the reference and the motion to stay.

   19         So we don't think -- we don't see any reason why our

   20    amended additional affirmative defenses will result in any

   21    prejudice to the Plaintiff, and don't see that as a reason --

   22    a substantial reason to deny the motion for leave.

   23         There is no bad faith here.       The motion for leave was

   24    filed two months after our original answer.         Again, this is

   25    not a situation where we're trying to add a new defense on the
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    1    eve of trial.    We're not even waiting until after discovery is

    2    closed to try and add this new defense.        And it's not after

    3    one of our prior defenses failed.        Instead, we've been

    4    conducting additional investigations, preparing for written

    5    discovery.    And as set forth in more detail in the Sauter

    6    declaration that was filed yesterday, we discovered these

    7    additional defenses through that additional investigation.

    8         So there's certainly no bad faith here in adding these two

    9    defenses.    We are just trying to make sure that we can prove

   10    up our defenses and prove up our case on the merits, as we

   11    need to.

   12         And then the last factor, the new affirmative defenses

   13    we're seeking to add, they're not futile.         I cited some cases

   14    in the pleadings.     There are some judges in the Northern

   15    District of Texas that refrain from even evaluating futility

   16    at this stage, at a motion for leave to amend stage,

   17    preferring to address those on a motion for summary judgment

   18    situation.    But even when it is considered, futility looks

   19    more at is there a statute of limitations that prevents the

   20    claim from being successful, or does the court lack subject

   21    matter on its face, based on this defense?         And that's not the

   22    case here.

   23         The Debtor -- the Plaintiff tries to argue on the merits

   24    of our affirmative defenses, and a motion for leave to amend

   25    is not a basis for that.      This isn't a motion for summary
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    1    judgment.    This is just -- just a motion for leave to add

    2    these defense, and they can certainly address the merits later

    3    on in the case.

    4         So we think we provided sufficient notice in our proposed

    5    amendment.    I mean, our proposed amended answer.        To the

    6    extent we need to add any specifics, we are certainly open to.

    7    We've noted them in our reply.       The ambiguity is -- is to the

    8    notes as a whole.     We noted the Highland Capital Management,

    9    there's two notes that are signed by Frank Waterhouse without

   10    indication of corporate capacity, which creates some

   11    ambiguity.    The notes reference other related agreements,

   12    which create some ambiguity.       So we think there's sufficient

   13    pleading of these new defenses to support leave to amend and

   14    address those on the merits.

   15         And then the condition subsequent defenses, while we --

   16    the schedules and the SOFAs, the notes related to that

   17    reference that some loans between parties and related -- to

   18    affiliates and related entities may not be enforceable, we

   19    think that supports our position and this defense here, now

   20    that we've furthered our investigation and heard about this

   21    additional subsequent agreement that supports the condition

   22    subsequent.

   23         And the opposition, the Plaintiff's opposition notes that

   24    there has been some discovery on this defense.          It's similar

   25    to one that's asserted in a related note adversary.          And
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    1    while, again, they try to assert the merits and the

    2    credibility of certain testimony, that's -- that's a decision,

    3    credibility of a witness is a decision for a fact finder and

    4    not for this stage of the proceedings and not for a motion for

    5    leave to amend.

    6         So we don't believe there's a substantial reason to deny

    7    leave.   Again, under Rule 15, leave should be granted freely.

    8    And so we would request that the Court grant our motion for

    9    leave to amend so that we can have our amended answer and

   10    affirmative defenses in this case.

   11               THE COURT:    All right.    Well, Mr. Morris, you know,

   12    the law is not too much in your favor on this one.          So what do

   13    you have to say?

   14               MR. MORRIS:    I have to say a few things first, Your

   15    Honor.   The notes are one of the most significant assets of

   16    the estate.    As the Court will recall at the confirmation

   17    hearing, Mr. Dondero and all of his affiliated entities

   18    objected to confirmation on the ground -- challenging, among

   19    other things, both the liquidation analysis as well as the

   20    projections on feasibility going forward.

   21         One of the assumptions in those projections and in the

   22    liquidation analysis was indeed the collection of these notes

   23    in 2021.   They all sat on their hands, attacked the

   24    projections, attacked the liquidation analysis, but never on

   25    the grounds that the notes wouldn't be collectable in 2001
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    1    [sic], never informing the Court that there was some agreement

    2    by which collection would be called into question, never ever

    3    disclosing to anybody that the plan might not be feasible or

    4    the liquidation analysis might not be accurate because these

    5    notes were uncollectable.

    6         So what happened after that, Your Honor?         We commenced

    7    these actions.    Actually, before the hearing.       We actually

    8    commenced these actions before the confirmation hearing, when

    9    they sat silently on this.

   10         And Mr. Dondero's first answer, because this is all very

   11    important because they say that they're -- they're

   12    piggybacking on Mr. Dondero.       Mr. Dondero's first answer to

   13    the complaint said, I don't have to pay because there is an

   14    agreement by which the Debtor said they would not collect.

   15    It's in the record.     It's attached to my declaration.        And

   16    that was it.    Full stop.    I don't have to pay because the

   17    Debtor agreed that I would not have to collect.

   18         So we served a request for admission.        Admit that you

   19    didn't pay taxes.     He realized, okay, that defense doesn't

   20    work, so he changes it completely and he amends his answer.

   21    Now the amended answer says, I don't -- the Debtor agreed that

   22    I wouldn't have to pay based on conditions subsequent.

   23         And we said, what are those conditions subsequent?           Please

   24    tell us in an interrogatory response.        And under oath, Mr.

   25    Dondero said, I don't have to pay if the Debtor sells their
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    1    assets in the future.     At a favorable price, I think it says.

    2    Again, this is in the record.       And we asked him under oath,

    3    who made that agreement on behalf of the Debtor?          And he said,

    4    I did.

    5           And Your Honor will recall that we had a hearing on that

    6    very defense, on the motion to compel, where they said Mr.

    7    Seery has to come in and testify to the defense that Mr.

    8    Dondero made this agreement with himself.         And then the

    9    following week, on a Tuesday, we had the hearing on the motion

   10    to withdraw the reference, and Your Honor said finish

   11    discovery, because we told you discovery was going to be

   12    concluded on Friday with Mr. Dondero's deposition.          You know

   13    what they did, Your Honor?      The night before the hearing, they

   14    amended Mr. Dondero's interrogatory.        Again, these are sworn

   15    statements.    They amended it again to say he didn't enter the

   16    agreement on behalf of the Debtor; Nancy Dondero, his sister,

   17    did.

   18           And then I took his deposition.     And we're going to get to

   19    that in a moment, because I'm going to put it up on the screen

   20    so you can see these answers, Your Honor.         And I say this by

   21    way of background because it goes to both good faith -- or,

   22    actually, bad faith -- as well as the lack of a bona fide

   23    affirmative defense here.

   24           This is -- there are five notes litigation.       One against

   25    Mr. Dondero.    So that's package number one.       And they're
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    1    represented by the Stinson firm, who is signing all of these

    2    things.   The Stinson firm is out there claiming that in good

    3    faith each of these -- each of these amendments, each of these

    4    amendments to the interrogatories, are in good faith.           They're

    5    not in good faith, Your Honor.       They're just not.

    6         And the Bonds firm.

    7         Then bucket two is what we have here today.         That's HCRE

    8    and Highland Capital Management Services.         They're represented

    9    by Ms. Drawhorn.     I think the Stinson firm has now also

   10    entered an appearance in those two adversary proceedings.

   11         And the other two are against the two Advisors.          More

   12    entities controlled by Dondero.       And Mr. Rukavina, I believe,

   13    last night filed his motion to amend to add these same

   14    defenses.

   15         Okay?   Is this good faith?      I don't think this is good

   16    faith.

   17         Let's look at Mr. Dondero's testimony so that the Court

   18    has an understanding of what we're talking about here.           I

   19    think I have Ms. Canty on the phone, and I'd ask her to go to

   20    Page 178.    3.   Just going to read (garbled) so you can see.

   21    This was Mr. Dondero's testimony the day after telling me that

   22    he amended his interrogatory -- sworn interrogatory answer to

   23    say that he didn't enter the agreement on behalf of the Debtor

   24    but Ms. -- but Ms. Dondero, his sister, did.

   25         Question.    Are we -- 178, please.
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    1               MS. DRAWHORN:    Your Honor, I would --

    2               MR. MORRIS:     Question.   Please --

    3               MS. DRAWHORN:    This is not testimony in this

    4    adversary and I was not -- my clients were not present at this

    5    deposition that Mr. Morris is referring to, so I --

    6               MR. MORRIS:     Your Honor, with all due respect, she's

    7    interrupting me, and I would ask her to allow me to finish my

    8    presentation and then she can make whatever comments she

    9    wants.   Because -- because --

   10               MS. DRAWHORN:    Well, I'm objecting to this testimony

   11    --

   12               THE COURT:    Okay.

   13               MS. DRAWHORN:    -- coming into evidence.

   14               THE COURT:    Okay.   So your objection is -- if you

   15    could just articulate your objection for the record, please,

   16    Ms. Drawhorn.

   17               MS. DRAWHORN:    I would object to this -- this

   18    deposition is not in this proceeding, this adversary

   19    proceeding, either of these two the adversary proceedings, and

   20    my client was not present at this deposition, so I would

   21    object to it as hearsay.

   22               THE COURT:    Response?

   23               MR. MORRIS:     Your Honor, if I may, I think this --

   24    this points to just one of the fundamental problems that we

   25    have here.    As we pointed out in our objection, the Debtor, as
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    1    we sit here right now, still has no notice of the facts and

    2    circumstances surrounding this alleged agreement.                We still

    3    don't know who entered into the agreement on behalf of the

    4    Debtor.   We don't know what the terms of the agreement were.

    5    We don't know when the agreement was entered into.               We don't

    6    -- right?

    7         If they're going to assert that there's an agreement --

    8    and they seem to be piggybacking on this conversation between

    9    Mr. Dondero and his sister.          If there's a different one, they

   10    need to say that right now.          They need to put their cards on

   11    the table and they need to inform the Debtor who entered the

   12    agreement on behalf of the Debtor pursuant to which the Debtor

   13    agreed to waive millions and millions of dollars without

   14    telling anybody.

   15                THE COURT:    Okay.      I overrule the objection.       We can

   16    go through the transcript.

   17                MR. MORRIS:      So, I'm just going to use part of it,

   18    Your Honor.       But on Lines 3 to 7:

   19         "Q     Did    anybody    else     participate   --    did     anybody

   20         participate in any of the conversations other than you

   21         and your sister?

   22         "A     I   don't   believe   it    was   necessary.     It     didn't

   23         include anybody else."

   24         Go down to Line 19, please.

   25         "Q     Was the agreement subject to any negotiation?              Did
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    1         she make any kind of -- any counterproposal of any

    2         kind?

    3         "A      No."

    4         Page 179, Line 2.

    5         "Q      Do you know if she sought any independent advice

    6         before     entering    into        the   agreement      that    you   have

    7         described?

    8         "A      I don't know."

    9         Line 23, please.

   10         "Q      Do you know if there were any resolutions that

   11         were    adopted   by   Highland          to   reflect    the    agreement

   12         that's referred to in the -- in the answer?

   13         "A      Resolutions that -- no.           Not that I'm aware of."

   14         Page 180, Line 5.

   15         "Q      Did you give Nancy a copy of the promissory notes

   16         that were a subject of the agreement?

   17         "A      No."

   18         Continue.

   19         "Q      Did she ask to see any documents before entering

   20         into the agreement that's referred to?

   21         "A      I don't remember."

   22         Page 181, Line 19.

   23         "Q      Under the agreement that you reached with Nancy

   24         that's     referred    to     in     Paragraph    40,     was    it   your

   25         understanding that Highland surrendered its right to
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    1         make    a    demand    for   payment   of    unpaid   principal    and

    2         interest under the notes?

    3         "A     Essentially, I think so."

    4         Page 219.      I'll just summarize 219, Your Honor.          Mr.

    5    Dondero has no recollection of telling Mr. Waterhouse, the

    6    chief financial officer, or any other employee of Highland

    7    that he'd entered into this agreement with his sister pursuant

    8    to which the Debtor agreed to not collect almost $10 million

    9    of principal and interest.

   10         Now let's -- let's go -- I think it's really -- because it

   11    took me an awfully long time to get there.             On Page 214 at

   12    Lines 16 through 24.        This is what the agreement was, because

   13    this is -- this is -- this is his third try to describe the

   14    agreement.       Right?    The first time -- it's just his third try,

   15    and this is what the agreement is, Your Honor.

   16         "Q     Did you and Nancy agree in January or February

   17         2019 that if Highland sold either MGM or Cornerstone or

   18         Trussway for an amount that was equal to at least one

   19         dollar more than cost, that Highland would forgive your

   20         obligations under the three notes?

   21         "A     I believe that is correct."

   22         That's -- that's the agreement.             It took him three times

   23    to get there, but look at -- look at that.             He and his sister

   24    did that.

   25         And I do want to point out, Your Honor, that in their
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    1    opposition that they filed last night, the Defendants claim

    2    that Ms. Dondero was authorized because she was -- she was the

    3    trustee of Dugaboy and Dugaboy holds the majority of the

    4    limited partnership interests in the Debtor and therefore she

    5    had the authority to enter into the agreement on behalf of the

    6    Debtor.

    7         There is that flippant -- there is just that unsupported

    8    statement out there.     Section 4.2(b) of the limited

    9    partnership agreement says, and I quote, "No limited partner

   10    shall take part in the control of the partnership's business,

   11    transact any business in the partnership's name, or have the

   12    power to sign documents for or otherwise bind the partnership,

   13    other than as specifically set forth in the agreement."

   14         So I look forward to hearing what basis there was to

   15    submit a document to this Court that Nancy Dondero had the

   16    authority to bind the Debtor in an agreement with her brother

   17    pursuant to which tens of millions of dollars was apparently

   18    forgiven.

   19         Can we go to Page 238?      This is the last piece, Your

   20    Honor.    The Debtor's outside auditors were

   21    PricewaterhouseCoopers.      There's management representation

   22    letters signed by both Mr. Dondero and Mr. Waterhouse

   23    attesting that they had given their auditors all of the

   24    information necessary to conduct the audit.         We will get to

   25    that in due course, but these are very important questions
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    1    right here.

    2         What page are we on?          Is it 238?    Okay.    So, Line 16, I

    3    believe.

    4         "Q    You knew at the time -- you knew at the time the

    5         audited     financials      were   finalized   that    Highland   was

    6         carrying on its balance sheet notes and other amounts

    7         due from affiliates?

    8         "A    Yep."

    9         And if we could just keep going, Your Honor, you will see:

   10         "Q    Did      you          personally      tell       anybody       at

   11         PricewaterhouseCoopers             in     connection     with     the

   12         preparation    of     the    audited     financial   statements   for

   13         2018 that you and your sister had entered into the

   14         agreement with your sister Nancy in January or February

   15         of 2019?

   16         "A    Not that I recall."

   17         There's a lot more here, Your Honor.            I'm really just

   18    touching the surface.       I am going to take Nancy's deposition

   19    later this month.     But there is -- this is wrong.            This is

   20    just all so wrong.        For three different reasons.         At least.

   21    This is not a viable defense and will never be a viable

   22    defense.

   23         The audited financial statements carry these loans as

   24    assets on the books, without qualification, and they were

   25    subject to Mr. Dondero and Mr. Waterhouse's representations.
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    1         There is partial performance.       These entities that we're

    2    talking about today, they made payments on these notes.           How

    3    do you make payments on the notes and then come to this Court

    4    and say the notes are ambiguous?       How do you -- how do you

    5    make payments on the notes and come to this Court and tell

    6    this Court, I just learned that there was an agreement by

    7    which I don't have to pay, subject to conditions precedent in

    8    the future.

    9         Mr. Sauter submits a declaration in support of this

   10    motion.   He has no personal knowledge.       He states in Paragraph

   11    14 that his review of the Defendants' books and records did

   12    not reveal any background facts regarding the notes.           Mr.

   13    Dondero is the maker on all of the notes except for two of

   14    them.   Mr. Dondero owns and controls the Defendants.          Mr.

   15    Dondero was not employed or otherwise affiliated with the

   16    Debtor after these actions were commenced.         Mr. Sauter takes

   17    Mr. Seery to task for telling the Debtor's employees not to

   18    take actions that were adverse, and he uses that as his excuse

   19    for not knowing these facts.       He is the general counsel.        He

   20    was served with a complaint that alleged that his clients were

   21    liable for millions and millions of dollars.         His boss is

   22    James Dondero.    He had unfettered access to James Dondero.

   23    Mr. Dondero is the one who signed the notes, except for two of

   24    them.   There is absolutely no excuse for not doing the

   25    diligence to find out from Mr. Dondero that this defense
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    1    existed.

    2         And you know why it didn't happen?        Because the defense is

    3    not real.    It is completely fabricated.      It continues to

    4    change and evolve every single time I -- every single time I

    5    talk about these note cases, it's a new defense, it's a

    6    different defense, the contours change, somebody else is

    7    involved.    This is an abuse of process, Your Honor.        It is bad

    8    faith.   It just really is.     And somebody's got to start to

    9    take responsibility and say, I won't do this.         I won't do

   10    this.

   11         Somebody's got to stand up and say that, because, I'm

   12    telling you, it's not enough, Your Honor, that the Debtor is

   13    going to collect all of its fees under the notes at the end of

   14    this process.    It's not enough,     because we're now giving an

   15    interest-free loan.     These are -- these are notes that are

   16    part of the Debtor's plan that nobody objected to, that nobody

   17    suggested were the subject of some condition subsequent.

   18         This is not your normal, you know, gee, I'd like leave to

   19    amend the complaint.     They're simply following what Mr.

   20    Dondero did.    And I would really ask the Court to press the

   21    Defendants to identify specifically who made the agreement on

   22    behalf of the Debtors, when was the agreement made, is there

   23    any document that they know of today that reflects this

   24    agreement, and what were the terms of the agreement?           Is it

   25    really that he would sell -- if he sells MGM for a dollar over
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    1    cost, $70 million of notes get forgiven?         How is that

    2    possible?    How is that possible?      It doesn't pass the good

    3    faith test.    The Court should deny the motion.

    4         Thank you, Your Honor.

    5                THE COURT:    Mr. Morris, in all of your listing of

    6    allegedly problematic things, one trail my brain was going

    7    down is this:    Is this adversary going to morph even further

    8    to add fraudulent transfer allegations?        I mean, if notes --

    9                MR. MORRIS:    Here's the --

   10                THE COURT:    -- were forgiven or agreements were made

   11    --

   12                MR. MORRIS:    Yeah, I --

   13                THE COURT:    -- that they would be forgiven if, you

   14    know, assets are sold at a dollar more than cost, is the

   15    Debtor going to say, well, okay, if this is an agreement,

   16    there was a fraudulent transfer?

   17                MR. MORRIS:    Your Honor, that is an excellent

   18    question, one which I was discussing with my partners just

   19    this morning.    You know, we have to -- we're balancing a

   20    number of things on our side, including the delay that that

   21    might entail; including, you know, what happens if we go down

   22    that path.    You know, the benefit of suing under the notes, of

   23    course, is that he's contractually obligated to pay all of our

   24    fees.

   25         And so we're balancing all of those things as these -- as
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    1    these defenses metastasize.      But it's something that we're

    2    considering, and we reserve the right to do exactly that, as

    3    these defenses continue to get -- and it would be fraudulent

    4    transfer, it would be breach of fiduciary duty against Nancy

    5    Dondero, it would be breach of fiduciary duty against Jim

    6    Dondero.   I'm sure that there are other claims, Your Honor.

    7    But if they want to -- if I'm forced to go down that path, I'm

    8    certainly going to use every tool that I have available to

    9    recover these amounts from the -- for the Debtor and their

   10    creditors.    This is just an abuse of process.

   11         How do you -- how does one enter into agreements of this

   12    type without telling your CFO, without telling your auditors,

   13    without putting it in writing?       And I asked Mr. Dondero, what

   14    benefit did the Debtor get from all of this?         And you know

   15    what his answer was, Your Honor?       Because it's really -- it's

   16    appalling.    It was going to give him heightened focus on

   17    getting the job done because of this agreement that he entered

   18    into with his sister, Nancy, acting on behalf of the Debtor,

   19    with no information, with no documents, with no notes, with no

   20    advice, with no corporate resolutions.        The Debtor was going

   21    to get Mr. Dondero's heightened focus to sell MGM, Trussway,

   22    or Cornerstone for one dollar above cost.

   23         I think the fraudulent transfer claim is probably a pretty

   24    solid one.    But why do we have to do this?       Why do we have to

   25    do this?
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    1               THE COURT:    Well, one of the reasons I'm asking is I

    2    would not set the motion to withdraw the reference status

    3    conference on an expedited basis, which I was asked to do a

    4    few days ago in these two adversary proceedings, and I can't

    5    remember when I've set it, but now I'm even worried, if I

    6    grant this motion, is it going to be premature to have that

    7    status conference in a month or so, whenever I've set it,

    8    because if I grant this motion I'm wondering, am I going to

    9    have your motion to amend to add fraudulent transfer claims?

   10    It's -- you know, I want to give as complete a package to the

   11    District Court as I can whenever I have that motion to

   12    withdraw the reference.

   13         All right.    Ms. Drawhorn, back to you.       As I said --

   14               MS. DRAWHORN:    Yes.

   15               THE COURT:    -- before inviting Mr. Morris to make his

   16    argument, I know the law is very much on your clients' favor

   17    as far as the law construing Rule 15(a).         But my goodness, I'm

   18    wondering if your client needs -- your client needs to be

   19    careful what they're asking for here, after what I've just

   20    heard.

   21         Anyway, what -- you get the last word on this.

   22               MS. DRAWHORN:    Yes.   Thank you, Your Honor.      My

   23    response is that Mr. Morris's argument was all on the merits

   24    of the defenses, and certainly he is free to argue on the

   25    merits, but that's not a determination for today and that's
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    1    not a determination for the motion for leave to amend.           That's

    2    a determination for if he files a dispositive motion.

    3         Like I said, we are still in the discovery phase.          Mr.

    4    Morris mentioned at least three parties that will be -- likely

    5    be deposed and potentially give us the additional information

    6    that he's asking for to support this defense.         He mentioned

    7    PricewaterhouseCoopers; Nancy Dondero, who he's already got

    8    scheduled in a different adversary; Frank Waterhouse.

    9         So it's too early, as you know, to look at the merits.

   10    That's not -- that's not what's the focus of a motion for

   11    leave to amend.

   12         As to the -- the what amendment, what agreement, what are

   13    the conditions subsequent, I believe we provided sufficient

   14    information in our reply.      And if the Court would like us to

   15    update our proposed amended answer, if the Court is inclined

   16    to grant our motion, we can certainly do that.          But I think

   17    the Plaintiff seems to be well aware of what the defenses are,

   18    especially after his argument today on why he thinks it's not

   19    a valid defense.

   20         And then, on the due diligence, we did -- we did do due

   21    diligence.    That's why we're seeking to amend the answer,

   22    obviously, and add these claims.

   23         If the Court -- if the Plaintiff wants to file a motion to

   24    amend later, then we can address those amendments then.

   25         But I think, on the Rule 15 standard, we have met our
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    1    burden and there's no substantial reason to deny the motion to

    2    amend to add these defenses.

    3                THE COURT:   All right.    By the way, have your

    4    clients, have they filed proofs of claim?         And I'm asking for

    5    a different reason than maybe I was asking earlier.          NexPoint

    6    Real Estate Partners?

    7                MS. DRAWHORN:   They're -- NexPoint Real Estate

    8    Partners, LLC, formerly known as HCRE Partners, does have a

    9    proof of claim on file.      It's unrelated to the notes.       And it

   10    is subject to a contested matter that's pending -- that's a

   11    separate matter that's before the Court being addressed.

   12           And then HCMS initially filed a proof of claim that was

   13    objected to in the Debtor's first omnibus objection and then

   14    was disallowed.     There was no response to that omnibus

   15    objection, so there's no longer a proof of claim for Highland

   16    Capital Management Services.

   17                THE COURT:   Okay.   Again, I'm just thinking ahead to

   18    this report and recommendation I'm eventually going to have to

   19    make on the motions to withdraw the reference.          And as I

   20    alluded to, if this morphs to the point of including

   21    fraudulent transfer claims, that certainly --

   22                MS. DRAWHORN:   And Your Honor, one --

   23                THE COURT:   It's going to affect the report and

   24    recommendation.     And, you know, proofs of claim affect that,

   25    too.    So, --
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    1               MS. DRAWHORN:    Uh-huh.    Yes.    And I understand that,

    2    Your Honor.    And the issue, I think, with you -- we need to

    3    have this motion resolved, because it -- unless the Court is

    4    going to continue discovery or stay.          You know, one of the

    5    reasons why we had initially requested the expedited hearing

    6    was because of the discovery is continued -- continuing to --

    7    discovery deadlines are continuing to move.         And obviously

    8    whatever the Court decides on this motion for leave to amend

    9    will determine what the scope of that discovery is.

   10         Similarly, if the Debtor decides to amend, that could

   11    change the scope of discovery as well.

   12         So we are open to continuing deadlines, and I think, you

   13    know, might end up filing a motion to continue.          I haven't

   14    conferred with Mr. Morris yet.        I suspect he's opposed, based

   15    on our prior conversations.      But that's something that might

   16    be helpful, especially if the Court is concerned on how it

   17    will affect the motion to withdraw the reference, to -- maybe

   18    we continue some of these upcoming deadlines, and that might

   19    appease, you know, solve some of your concerns.

   20               THE COURT:    All right.    Well, Rule 15(a), of course,

   21    is the governing rule here, and the case law is abundant that

   22    courts "should freely give leave when justice so requires."

   23    And the law is also abundantly clear that the rule "evinces a

   24    bias in favor of granting leave to amend."         And again and

   25    again, cases say that leave should be granted unless there's
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    1    substantial reason to deny leave, and courts may consider

    2    factors such as delay or prejudice to the non-movant, bad

    3    faith or dilatory motives on the part of the movant, repeated

    4    failure to cure deficiencies, or futility of the amendment.

    5         While the Debtor has presented arguments that there might

    6    be bad faith here on the part of the Movants and there might

    7    be futility in allowing the amendments because of various

    8    strong arguments and defenses the Debtor believes it has to

    9    this issue of agreements with regard to the notes that

   10    allegedly provide affirmative defenses, the Court believes the

   11    rule requires me to allow leave to amend the answer.

   12         Now, a couple of things.      I am going to require, though,

   13    that the amended answer be more specific than has been

   14    suggested.    I am going to agree that if new affirmative

   15    defenses are made that there was this agreement to forgive

   16    when certain conditions happened, then there does need to be

   17    identification of who the human beings were that were involved

   18    in making the agreement, the date of any agreement or

   19    agreements, and disclose what documents substantiate the

   20    agreement or reflect the agreement.        All right?    So if that

   21    could --

   22               MR. MORRIS:    Your Honor?

   23               THE COURT:    Yes?

   24               MR. MORRIS:    John Morris.    I apologize for

   25    interrupting, but just a fourth thing is what is the
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    1    agreement?    I mean, what is the agreement?

    2                THE COURT:    Well, okay.   That's fair enough.     What is

    3    the agreement?    I guess --

    4                MR. MORRIS:    And -- and --

    5                THE COURT:    -- that needs to be spelled out.      I mean,

    6    I guess I was assuming that that would be spelled out in --

    7    but maybe it's not.       So we'll go ahead and add that.

    8           As far as extension of the discovery, Ms. Drawhorn has

    9    offered that.    I think it would be reasonable if the Debtor or

   10    Plaintiff wants that.       Do you want an extension of discovery?

   11                MR. MORRIS:     What I really want, Your Honor, is a

   12    direction for them to serve this amended answer within 24 or

   13    48 hours and grant leave to the Debtor to promptly file

   14    written discovery.       We've got Nancy Dondero -- if it turns out

   15    -- and maybe Ms. Drawhorn can just answer the question right

   16    now.    Who entered the agreement on behalf of the Debtor?

   17    Because I'm already taking Nancy Dondero's deposition on the

   18    28th.    And it seems to me, if they would just answer the

   19    question of whether Ms. Dondero is the person who did that, I

   20    could just add a notice of deposition and take the deposition

   21    on that date, too, and it would be, really, more efficient for

   22    everybody.

   23                THE COURT:    Ms. Drawhorn, who was the human being?

   24                MS. DRAWHORN:    Yes.   It was -- yes, Nancy Dondero

   25    entered into the -- the subsequent agreement.
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    1                MR. MORRIS:     Okay.    Super.

    2                THE COURT:    All right.    You said you've already --

    3                MR. MORRIS:     So, --

    4                THE COURT:    -- got a depo scheduled of her?

    5                MS. DRAWHORN:    Well, what's the date --

    6                MR. MORRIS:     I do --

    7                MS. DRAWHORN:    -- Mr. Morris?

    8                MR. MORRIS:     I believe it's the 28th.    Your co-

    9    counsel can confirm, but I think it's the 28th.

   10           And I'll just get another deposition notice for that one,

   11    and we'll figure out a time to take Mr. Sauter's deposition,

   12    too.

   13           But I don't think that there is a need, frankly, for --

   14    having been told by Mr. Dondero that there's no documents

   15    related to this, having the Court just ordered the Defendants

   16    to disclose the identity of any documents that relate to this

   17    agreement, I don't think we need to extend the discovery

   18    deadline at all.     I can take Ms. Dondero's deposition, I can

   19    take Mr. Dondero's deposition, and I can take Mr. Sauter's

   20    deposition in due course over the next four weeks.

   21                THE COURT:    All right.    Well, Ms. Drawhorn, we'll say

   22    that this amended answer needs to be filed by midnight Friday

   23    night, 11:59.    That gives you a day and a half to get it done.

   24    All right.    If you could please --

   25                MS. DRAWHORN:    Yes, Your Honor.
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    1               THE COURT:    Please upload an order, Ms. Drawhorn,

    2    granting your motion with these specific requirements that

    3    I've orally worked in.

    4         I think clients need to be careful what they ask for.           I'm

    5    very concerned.     And I know it was just argument and I'll hear

    6    evidence, but of all of the things that I guess -- well, I'm

    7    concerned about a lot of things, but do we have audited

    8    financial statements that didn't disclose these agreements

    9    with regard to --

   10               MR. MORRIS:    Yes, Your Honor.

   11               THE COURT:    I mean, that's -- I'm just -- you know,

   12    there's a lot to be concerned about on that point alone, I

   13    would think.    But, all right.      If there's nothing further, we

   14    are adjourned.    Thank you.

   15               THE CLERK:    All rise.

   16         (Proceedings concluded at 11:58 a.m.)

   17                                    --oOo--

   18

   19                                  CERTIFICATE

   20         I certify that the foregoing is a correct transcript from
         the electronic sound recording of the proceedings in the
   21    above-entitled matter.
   22      /s/ Kathy Rehling                                     06/12/2021

   23    ______________________________________               ________________
         Kathy Rehling, CETD-444                                  Date
   24    Certified Electronic Court Transcriber
   25
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    5    EXHIBITS

    6    -none-

    7    RULINGS

    8    19-34054-sgj

    9    Motion to Compel Compliance with Bankruptcy Rule 2015.3           49/54
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   10    (2256)
   11
         21-3006-sgj
   12
         Motion for Leave to File Amended Answer and Brief in                    86
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   14
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   15
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BTXN 138 (rev. 03/15)
                                     UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
Highland Capital Management, L.P.                          §
                                                           §    Case No.: 19−34054−sgj11
                                         Debtor(s)         §    Chapter No.: 11
Highland Capital Management, L.P.                          §
                                    Plaintiff(s)           §    Adversary No.:      21−03006−sgj
      vs.                                                  §
Highland Capital Management Services, Inc.                 §    Civil Case No.:
                                    Defendant(s)           §
                                                           §
Highland Capital Management, L.P.                          §
                                    Plaintiff(s)           §
     vs.                                                   §
Highland Capital Management Services, Inc.                 §
                                    Defendant(s)           §
                                                           §
                                                           §


       NOTICE OF TRANSMITTAL REGARDING WITHDRAWAL OF REFERENCE
I am transmitting:

            X One copy of the Motion to Withdraw Reference (USDC Civil Action No. − DNC Case) NOTE:
              A Status Conference has been set for 7/8/2021 at 2:30pm, in via
              https://us−courts.webex.com/meet/jerniga before U.S. Bankruptcy Judge Stacey G. Jernigan .
              The movant/plaintiff, respondent/defendant or other affected parties are required to attend the
              Status Conference.
                One copy of: .

TO ALL ATTORNEYS: Fed.R.Bankr.P. 5011(a) A motion for withdrawal of a case or proceeding shall be heard by
a district judge, [implied] that any responses or related papers be filed likewise.



DATED: 6/14/21                                  FOR THE COURT:
                                                Robert P. Colwell, Clerk of Court

                                                by: /s/Sheniqua Whitaker, Deputy Clerk
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BTXN 150 (rev. 11/10)
In Re:                                                                                §
Highland Capital Management, L.P.                                                     §
                                                                                      §           Case No.: 19−34054−sgj11
                                                          Debtor(s)                   §           Chapter No.: 11
Highland Capital Management, L.P.                                                     §
                                                          Plaintiff(s)                §           Adversary No.: 21−03006−sgj
     vs.                                                                              §
Highland Capital Management Services, Inc.                                            §
                                                          Defendant(s)                §



                                                              CIVIL CASE COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet.

             I. (a) PLAINTIFF                                                                     DEFENDANT
                    Highland Capital Management, L.P.                                             Highland Capital Management Services, Inc.
                 (b) County of Residence of First Listed Party:                                   County of Residence of First Listed Party:
                     (EXCEPT IN U.S. PLAINTIFF CASES)                                             (IN U.S. PLAINTIFF CASES ONLY)
                 (c) Attorney's (Firm Name, Address, and Telephone Number)                        Attorney's (If Known)
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                                                                                                  Lauren Kessler Drawhorn
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                                                                                                  Suite 1500
                                                                                                  Fort Worth, TX 76102
                                                                                                  (817) 332−7788


             II. BASIS OF JURISDICTION
                                                                                                      Federal Question                     Diversity
                          U.S. Government                   U.S. Government
                                                                                                      (U.S. Government                     (Indicate Citizenship
                  1       Plaintiff                  2      Defendant                         3                                     4
                                                                                                      Not a Party)                         of Parties in Item III)


             III. CITIZENSHIP OF PRINCIPAL PARTIES
                                                                                   Incorporated or Principal Place
             Citizen of This State
                                                      1                  1         of Business In This State                               4                 4
                                                                                   Incorporated and Principal Place
             Citizen of Another State
                                                      2                  2         of Business In Another State                            5                 5
             Citizen or Subject of a
                                                                                   Foreign Nation
             Foreign Country                          3                  3                                                                 6                 6


             IV. NATURE OF SUIT

                  422 Appeal 28 USC 158                      423 Withdrawal 28 USC 157                             890 Other Statutory Actions


             V. ORIGIN
                                                           Removed from State                                                                      Reinstated or
                        Original Proceeding                                                       Remanded from Appellate Court
                  1                                  2     Court                          3                                                    4   Reopened
                        Transferred from                   Multidistrict                          Appeal to District Judge from
                  5     another district             6     Litigation                     7       Magistrate Judgment


             VI. CAUSE OF ACTION
             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
             423 Withdrawal 28 USC 157
             Brief description of cause:
             Motion to withdraw the reference


             VII. REQUESTED IN COMPLAINT:
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                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS




                        WITHDRAWAL OF REFERENCE SERVICE LIST
                                     Transmission of the Record
BK Case No.: 19−34054−sgj11

Adversary No.: 21−03006−sgj

Received in District Court by:

Date:

Volume Number(s):

cc: Stacey G. Jernigan
    Robert (Bob) Schaaf
    Nathan (Nate) Elner
    Attorney(s) for Appellant
    US Trustee




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                                                                                  CHECK YES only if demanded in complaint:
          CHECK IF THIS IS A CLASS ACTION UNDER F.R.C.P. 23        DEMAND $
                                                                                  JURY DEMAND:          Yes      No


    VIII. RELATED CASE(S) IF ANY
    Judge:                                                    Docket Number:


    DATED: 6/14/21                              FOR THE COURT:
                                                Robert P. Colwell, Clerk of Court
                                                by: /s/Sheniqua Whitaker, Deputy Clerk
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  COUNSEL FOR HIGHLAND CAPITAL
  MANAGEMENT SERVICES, INC.

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
   In re:                                          §
                                                   §
   HIGHLAND CAPITAL MANAGEMENT,                    §           Chapter 11
   L.P.                                            §
                                                   §            Case No.: 19-34054-sgj11
             Debtor.                               §
                                                   §
   HIGHLAND CAPITAL MANAGEMENT,                    §
   L.P.                                            §
                                                   §
             Plaintiff,                            §
                                                   §
   vs.                                             §           Adv. Pro. No. 21-03006-sgj
                                                   §
   HIGHLAND CAPITAL MANAGEMENT                     §
   SERVICES, INC.,                                 §
                                                   §
             Defendant.                            §

                    HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S
                        MOTION TO WITHDRAW THE REFERENCE


            Defendant Highland Capital Management Services, Inc. (“HCMS” or “Defendant”) files

  this Motion seeking to withdraw the reference of Highland Capital Management L.P.’s (“Plaintiff”

  or “Debtor”) Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s

  Estate (the “Complaint”) from the United States Bankruptcy Court for the Northern District of

  Texas (the “Bankruptcy Court”) to the United States District Court for the Northern District of


  HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S MOTION TO WITHDRAW THE REFERENCE        PAGE 1 OF 4
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  Texas (the “District Court”) under 28 U.S.C. §§ 157(d) and (e), Federal Rule of Bankruptcy

  Procedure 5011 and Local Bankruptcy Rule 5011-1. 1 In support of its Motion, Defendant

  respectfully states as follows:

          1.       This Adversary Proceeding was automatically referred to the Bankruptcy Court

  under 28 U.S.C. § 157(a) and District Court Miscellaneous Order No. 33, Order of Reference of

  Bankruptcy Cases and Proceedings Nunc Pro Tunc.

          2.       Under 28 U.S.C. § 157(d) and for the reasons set forth in the accompanying Brief

  in Support of Defendant’s Motion to Withdraw the Reference, as supported by the Appendix in

  Support of Defendant’s Motion to Withdraw the Reference, filed contemporaneously herewith and

  incorporated by reference herein, Defendant respectfully requests that the District Court withdraw

  from the Bankruptcy Court the reference (i.e. the referral) of the Adversary Proceeding, in which

  case the Adversary Proceeding will continue as a Civil Action in the District Court.

          For these reasons, Defendant respectfully requests that the Court enter an order (i) granting

  the Motion; (ii) withdrawing from the Bankruptcy Court the reference of this Adversary

  Proceeding; and (iii) granting Defendant such other and further relief to which it may be entitled.




  1
      This motion for withdrawal “shall be heard by a district judge;” however, under Local Bankruptcy Rule 5011-1(a),
  the motion must be filed with the Clerk of the Bankruptcy Court. Fed. R. Bankr. P. 5011(a); L.B.R. 5011-1(a).
  Accordingly, this motion is addressed to the District Court, but filed in the Bankruptcy Court.


  HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S MOTION TO WITHDRAW THE REFERENCE                          PAGE 2 OF 4
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                                               Respectfully submitted,

                                                /s/ Lauren K. Drawhorn
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                                                COUNSEL FOR HIGHLAND MANAGEMENT
                                                SERVICES, INC.



                               CERTIFICATE OF CONFERENCE

          I hereby certify that on June 2-3, 2021, I conferred with counsel for the Plaintiff regarding
  the relief requested herein. Counsel for Plaintiff indicated it is unopposed to the Motion to
  Withdraw on the condition that the Bankruptcy Court include in its report and recommendation to
  the District Court that the Bankruptcy Court will hear all pre-trial matters, including summary
  judgment motions.



                                                /s/ Lauren K. Drawhorn
                                                    Lauren K. Drawhorn




  HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S MOTION TO WITHDRAW THE REFERENCE             PAGE 3 OF 4
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 3, 2021, a true and correct copy of the foregoing pleading
  was served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
  requesting or consenting to such service in this adversary case.

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  Counsel for Highland Capital Management, L.P.


                                               /s/ Lauren K. Drawhorn
                                                   Lauren K. Drawhorn




  HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S MOTION TO WITHDRAW THE REFERENCE          PAGE 4 OF 4
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  COUNSEL FOR HIGHLAND CAPITAL
  MANAGEMENT SERVICES, INC.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
   In re:                                   §
                                            §
   HIGHLAND CAPITAL MANAGEMENT,             §        Chapter 11
   L.P.                                     §
                                            §        Case No.: 19-34054-sgj11
            Debtor.                         §
                                            §
   HIGHLAND CAPITAL MANAGEMENT,             §
   L.P.                                     §
                                            §
            Plaintiff,                      §
                                            §
   vs.                                      §        Adv. Pro. No. 21-03006-sgj
                                            §
   HIGHLAND CAPITAL MANAGEMENT              §
   SERVICES, INC.,                          §
                                            §
            Defendant.                      §

              HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S BRIEF
             IN SUPPORT OF ITS MOTION TO WITHDRAW THE REFERENCE
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          Defendant Highland Capital Management Services, Inc. (“HCMS” or “Defendant”) files

  this Brief in Support of its Motion seeking to withdraw the reference of Highland Capital

  Management L.P.’s (“Plaintiff” or “Debtor”) Complaint for (I) Breach of Contract and (II)

  Turnover of Property of the Debtor’s Estate (the “Complaint”) from the United States Bankruptcy

  Court for the Northern District of Texas (the “Bankruptcy Court”) to the United States District

  Court for the Northern District of Texas (the “District Court”) under 28 U.S.C. §§ 157(d) and (e),

  Federal Rule of Bankruptcy Procedure 5011 and Local Bankruptcy Rule 5011-1. 1 In support of its

  Motion, and respectfully states as follows:

                                              I. INTRODUCTION

          1.       Federal district courts have original and exclusive jurisdiction of civil cases under

  title 11 and original but not exclusive jurisdiction of proceedings arising under title 11 or arising

  in or related to cases under title 11. 28 U.S.C. § 1334(a), (b). District courts can refer these cases

  and proceedings to the bankruptcy court within that district. 28 U.S.C. § 157(a). This Adversary

  Proceeding is referred to the Bankruptcy Court under a local order of the United States District

  Court for the Northern District of Texas. Ord. of Reference of Bankr. Cases and Proc. Nunc Pro

  Tunc, In re Misc. Ord. No. 33, No. 3:04-MI-00033 (N.D. Tex. Oct. 4, 1982) (the “Reference

  Order”).

          2.       Defendant respectfully requests the United States District Court for the Northern

  District of Texas, Dallas Division withdraw the Reference Order as to the above-referenced

  Adversary Proceeding for all purposes, including all pre-trial matters, under 28 U.S.C. § 157(d),

  Federal Rule of Bankruptcy Procedure 5011(a) and the Northern District of Texas Local



  1
      This motion for withdrawal “shall be heard by a district judge;” however, under Local Bankruptcy Rule 5011-1(a),
  the motion must be filed with the Clerk of the Bankruptcy Court. Fed. R. Bankr. P. 5011(a); L.B.R. 5011-1(a).
  Accordingly, this motion is addressed to the District Court, but filed in the Bankruptcy Court.

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  Bankruptcy Rule 5011-1(a). Defendant has a constitutional right to a jury trial under the Seventh

  Amendment if a trial is necessary. Defendant does not consent to the Bankruptcy Court conducting

  a jury trial in this Adversary Proceeding and does not consent to the Bankruptcy Court entering

  final orders or judgments in this Adversary proceeding. In addition, Defendant respectfully

  requests that the reference be withdrawn immediate because: (1) the Bankruptcy Court has not yet

  decided any substantive matters related to these claims; (2) the inherent nature of the state law

  breach of contract claim is not within the specialized expertise of the Bankruptcy Court; and (3)

  efficiency and expediency would be served by obviating the need for two courts to become familiar

  with this matter, when the District Court can efficiently and cost-effectively address the pretrial

  matters and jury trial on the foundational breach of contract issue.

           3.       The Bankruptcy Court already determined it should recommend the reference be

  withdrawn in three similar adversary proceedings in which the Debtor asserts breach of contract

  and turnover claims based on certain demand and term notes. Highland Capital Management LP

  v. Dondero, Adv. No. 21-03003; Highland Capital Management LP v. Highland Capital

  Management Fund Advisors, L.P., Adv. No. 21-03004; Highland Capital Management LP v.

  NexPoint Advisors LP, Adv. No. 21-03005. 2 The claims, facts, and circumstances surrounding

  those adversary proceedings and motions to withdraw the reference are substantially similar to the

  claims, facts, and circumstances here. As such, Defendant respectfully requests the Bankruptcy

  Court determine the reference should similarly be withdrawn here.




  2
      The Bankruptcy Court concluded it would follow the “usual protocol” and recommend that the reference only be
  withdrawn at such time as the matters are trial ready and therefore recommend the District Court defer to the
  bankruptcy judge to handle all pretrial matters. Defendant respectfully requests that, due to the nature of this Adversary
  Proceeding and the underlying issues, it would be beneficial to all parties and a more effective use of the parties’ and
  Court’s time to have the District Court withdraw the reference for pretrial matters as well as opposed to having to
  revisit potentially every order the Bankruptcy Court enters in the interim before trial.

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                                     II. RELEVANT BACKGROUND

  A.        The Bankruptcy Case

            4.      On October 16, 2019, the Debtor filed a voluntary petition for relief under Chapter

  11 of the United States Bankruptcy Code (the “Bankruptcy Code”) commencing this Bankruptcy

  Case in the United States Bankruptcy Court for the District of Delaware (the “Delaware

  Bankruptcy Court”). On October 29, 2019, the Delaware U.S. Trustee appointed the Official

  Committee of Unsecured Creditors (the “Committee”). On December 4, 2019, the Delaware

  Bankruptcy Court entered an Order transferring venue of this Bankruptcy Case to the United States

  Bankruptcy Court for the Northern District of Texas.

            5.      On November 24, 2020, the Debtor filed its Disclosure Statement [Dkt. No. 1473]

  (the “Disclosure Statement”) for the Fifth Amended Plan of Reorganization [Dkt. No. 1472, as

  modified Dkt. No. 1808] (the “Plan”). The Bankruptcy Court approved the Disclosure Statement

  on November 24, 2020 [Dkt. No. 1476] and set a hearing to consider the confirmation of the Plan

  on January 14, 2021, which was continued to January 26, 2021, and then again to February 2, 2021.

  On February 22, 2021, after a hearing, the Bankruptcy Court entered its Order Confirming the

  Plan [Dkt. No. 1943] (the “Confirmation Order”). 3 The Confirmation Order is currently on appeal.

  B.        The HCMS Proof of Claim

            6.      On April 23, 2020, HCMS filed Proofs of Claim No. 175 and 176 asserting a claim

  consisting of potential claims relating to post-petition actions or inactions of the Debtor as fund

  investment manager in managing certain funds in which HCMS is an investor (collectively, the

  “Proofs of Claim”). 4 On July 30, 2020, the Debtor filed its First Omnibus Objection to Certain (A)

  Duplicate Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-


  3
       App. 087-248 (Order Confirming Fifth Amended Plan of Reorganization).
  4
       App. 070-081 (Proofs of Claim Nos. 175 & 176).

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  Liability Claims; and (F) Insufficient-Documentation Claims [Dkt. No. 906] (“First Omnibus

  Objection”), including objections to the HCMS Proofs of Claim. On October 20, 2020, the Court

  entered its First Supplemental Order Sustaining First Omnibus Objection to Certain (A) Duplicate

  Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability

  Claims; and (F) Insufficient-Documentation Claims (“Order on First Omnibus Objection”), which,

  among other things, disallowed the HCMS Proofs of Claim in their entirety. 5 Accordingly, the

  HCMS Proofs of Claim have been resolved since October 20, 2020, and HCMS no longer holds a

  claim against the Debtor’s bankruptcy estate.

  C.        This Adversary Proceeding

            7.      On January 22, 2021, the Debtor filed its Complaint initiating the above-referenced

  Adversary Proceeding against Defendant. In the Complaint, the asserting two causes of action: (i)

  the state law, non-core breach of contract claim, and (ii) asserting turnover under 11 U.S.C. §

  542(b). The Complaint alleges Defendant breached four demand notes in the aggregate principal

  amount of $900,000 and one term note in the aggregate principal amount of $20,247,628.02. 6

            8.      Defendant’s counsel accepted service of the Complaint on February 1, 2021, and

  the parties agreed that Defendant’s deadline to answer or otherwise respond to the Complaint was

  March 3, 2021. Defendant filed its Answer on March 3, 2021, expressly stating it did not consent

  to the Bankruptcy Court entering final orders or judgment, that it did not consent to the Bankruptcy

  Court conducting a jury trial, and that it demanded a jury trial. [Dkt. No. 6, ¶¶ 3-5, 57, 58]. 7

            9.      On May 10, 2021, Defendant filed its Motion for Leave to Amend its Answer,

  seeking to add in two affirmative defenses, among other things. [Dkt. No. 15]. 8 The hearing on


  5
       App. 082-086 (Order on First Omnibus Objection).
  6
       App. 001-038 (Complaint).
  7
       App. 039-048 (Answer).
  8
       App. 049-069 (Motion for Leave).

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  Defendant’s Motion for Leave is set for June 10, 2021. Defendant again states in its proposed First

  Amended Answer that it does not consent to the Bankruptcy Court entering final orders or

  judgment, that it does not consent to the Bankruptcy Court conducting a jury trial and demanding

  a jury trial. [Dkt. No. 15-1, ¶¶ 3-5, 58-59]. 9

           10.     Because this Adversary Proceeding involves the non-core proceeding of a state law

  breach of contract claim, for which Defendant is entitled to a jury trial, the result of Plaintiff’s

  breach of contract claim wholly controls the determination of Plaintiff’s turnover claim. As such,

  the claims asserted by the Debtor arise under state law and because, at a minimum, the District

  Court will be conducting a de novo review, cause exists for permissive withdrawal of the reference

  for the entire Adversary Proceeding.

                                 III. ARGUMENTS AND AUTHORITY

           11.     Under the Reference Order, “any and all cases under Title 11 and any all proceeding

  arising under Title 11 or arising in or related to a case under Title 11 … which may be filed herein

  hereafter … be and they hereby are referred to the Bankruptcy Judges of this District for

  consideration and resolution consistent with law.” However, 28 U.S.C. § 157(d) authorizes the

  district court to withdraw the reference in certain circumstances: “[t]he district court may

  withdraw, in whole or in party, any case or proceeding referred under this section, on its own

  motion or on timely motion of any party, for cause shown.” 28 U.S.C. § 157(d).

           12.     The Fifth Circuit has set forth a number of factors to consider in determining

  whether to withdraw the reference for cause, including: (i) whether the proceeding involves core

  or non-core issues; (ii) whether a party has demanded a jury trial; (iii) whether the withdrawal

  would promote uniformity in bankruptcy administration; (iv) whether the withdrawal reduces



  9
      App. 058-067 (Motion for Leave, Ex. A).

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  forum shopping; (v) whether the withdrawal would foster the economical use of the debtors’ and

  creditors’ resources; and (vi) whether the withdrawal would expedite the bankruptcy process.

  Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 998-99 (5th Cir. 1985). 10

          13.      Here, the factors support the District Court withdrawing the reference for this

  Adversary Proceeding. The Bankruptcy Court does not have constitutional authority to enter a

  final judgment in this action without the consent of Defendant. More importantly, Defendant has

  a right to a jury trial. Not only do the Holland factors militate in favor of withdraw of the reference,

  but courts within this Circuit recognize that the right to a jury trial should be given substantial

  weight in undertaking an analysis of withdrawal of the reference. In re MPF Holding US LLC, No.

  08-36084-H4-11, 2013 WL 12146958, at *3 (Bankr. S.D. Tex. Apr. 26, 2013). For these reasons,

  the District Court should grant this Motion, withdraw the reference as to this Adversary

  Proceeding, and hear all matters in connection with the Adversary Proceeding.


  10
      L.B.R. 5011-1 provides that the Bankruptcy Court conduct a status conference upon motions to withdraw reference
  and after such conference the Bankruptcy Court shall prepare a report and recommendation to the District Court. At
  the status conference the Bankruptcy Court shall consider:
            (1) whether any response to the motion to withdraw the reference was filed;
            (2) whether a motion to stay the proceeding pending the district court's decision on the motion to
            withdraw the reference has been filed, in which court the motion was filed, and the status (pending,
            granted or denied) of the motion;
            (3) whether the proceeding is core or non-core, or both and with regard to the noncore and mixed
            issues, whether the parties consent to entry of a final order by the bankruptcy judge;
            (4) whether a jury trial has been timely requested, and if so, whether the parties consent to the
            bankruptcy judge conducting a jury trial, and whether the district court is requested to designate the
            bankruptcy judge to conduct a jury trial;
            (5) if a jury trial has not been timely requested or if the proceeding does not involve a right to jury
            trial;
            (6) whether a scheduling order has been entered in the proceeding;
            (7) whether the parties are ready for trial;
            (8) whether the bankruptcy judge recommends that
                       (A) the motion be granted,
                       (B) the motion be granted upon certification by the bankruptcy judge that the
                       parties are ready for trial,
                       (C) the motion be granted but that pre-trial matters be referred to the
                       bankruptcy judge, or
                       (D) the motion be denied; and
            (9) any other matters relevant to the decision to withdraw the reference.

  See L.B.R. 5011-1(a).

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  A.        Defendant demands a jury trial and does not consent to a jury trial in the Bankruptcy
            Court.

            14.     Under applicable law, the Defendant has a right to a jury trial on the Debtor’s breach

  of contract claim. The Seventh Amendment provides the right to a jury trial in cases where the

  amount in controversy exceeds twenty dollars and the cause of action is to enforce statutory rights

  that are at least analogous to one which was tried at law (as opposed to equitable suits) in the late

  18th century English courts. Granfinanciera, S.A. v. Norberg, 492 U.S. 33, 41 (1989). This

  analysis requires (i) a comparison of the statutory action to 18th century actions brought in the

  courts of England prior to the merger of the courts of law and equity and (ii) a determination as to

  whether the remedy sought is legal or equitable in nature. Id. at 42. The second prong is considered

  the more significant of the two. Id.

            15.     Count I of the Complaint asserts a breach of contract claim on various demand and

  term notes between the Plaintiff and Defendant (the “Notes”). All of the Notes are “governed by

  the laws of the United States of America and by the laws of the State of Texas . . . .” 11 The Texas

  Constitution guaranties a party to a contract a jury trial, and Defendant is therefore entitled to a

  jury trial on Plaintiff’s breach of contract claim. McManus-Wyatt Produce Co. v. Tex. Dep’t of

  Agric. Produce Recovery Fund Bd., 140 S.W.3d 826, 833 (Tex. App. 2004) (holding the Texas

  Constitution, at Art. 1, §15, and by practice previously, provides a right to jury trial in breach of

  contract cases, such that a party’s “right to defend against [a breach of contract claim], and to bring

  its own claim for breach of contract, were established rights that could be tried to a jury before the

  enactment of our constitution in 1876.”).




  11
       App. 013-024; 029-032 (Complaint, Exs. 1-4, 6).


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         16.     In addition, Plaintiff’s breach of contract claim is non-core proceeding. A claim

  involving a pre-petition contract (even if the alleged breach is post-petition) is not a core

  proceeding. In re Keener, No. 03-44804, 2008 WL 912933, at *3 (Bankr. S.D. Tex. Apr. 2, 2008)

  (where a contract entered pre-petition was allegedly breached post-petition, the bankruptcy court,

  assessing 28 U.S.C. § 157(b)(2), determined the breach of contract claim to be non-core); In re

  Bella Vita Custom Homes, No. 16-34790-BJH, 2018 WL 2966838, at *2 (N.D. Tex.

  May 29, 2018), report and recommendation adopted sub nom. In re Bella Vita Custom Homes,

  LLC, No. 3:18-CV-0994-N, 2018 WL 2926149 (N.D. Tex. June 8, 2018) (holding the sole cause

  of action is a breach of contract claim against a non-debtor, which is non-core under 28 U.S.C. §

  157(b)(2)). While Plaintiff also asserts a turnover claim under Bankruptcy Code section 542(b)—

  which, if free-standing, is a core claim—such claim is wholly derivative of the breach of contract

  claim and, thus, does not magically transform the non-core matter to a core matter. Instead, it is

  improper to bring a turnover claim “as a Trojan Horse for bringing garden variety contract claims

  . . .” In re Soundview Elite Ltd., 543 B.R. 78, 97 (Bankr. S.D.N.Y. 2016) (citation omitted); see

  also, Satelco, Inc., 58 B.R. 781, 786 (Bankr. N.D. Tex. 1986) (“Unless and until Debtor’s claims

  against the defendants are liquidated in a court of competent jurisdiction or by agreement, they

  cannot be enforced here through a turnover order.”).

         17.     For example, in In re Soundview Elite Ltd., 543 B.R. 78, 82 (Bankr. S.D.N.Y.

  2016), the trustee sought turnover of the debtor’s investment in the debtor’s wholly owned

  company. When determining whether the bankruptcy court had the constitutional authority to hear

  the turnover claim, the SDNY found, that while this “matter [was] close” on this issue, the trustee

  using turnover to pursue non-core claims was constitutionally inappropriate given Stern, in

  substantial part because the amount to be turned over was uncertain. Id. at 97-8.



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         18.     Here the amount to be turned over is similarly uncertain because it depends on the

  resolution of the breach of contract claim. The result is that Count I must be tried before a jury, in

  District Court, to determine what, if any, balance is owed, the result directly driving the turnover

  claim. Compounding the above with Defendant’s clear demand for a jury trial, and express lack of

  consent to the Bankruptcy Court entering final orders or holding a jury trial, the result is the first

  two factors under Granfinanciera are undoubtedly met.

  B.     HCMS has not a waived its’ jury trial right or right to Article III adjudication.

         19.     In the Bankruptcy Case, HCMS filed proofs of claim, but the Debtor’s First

  Omnibus Objection and Court’s Order on First Omnibus Objection resolved the Proofs of Claim

  such that the claim amount is $00.00. However, the mere filing of a proof of claim does not

  constitute a waiver of the right to trial by jury. Filing “a proof of claim is a necessary but not

  sufficient condition to forfeiting a creditor’s right to a jury trial.” In re CBI Holding Co., 529 F.3d

  432, 460 (2d Cir. 2008). “Rather, a creditor loses its jury trial right only with respect to claims

  whose resolution affects the allowance or disallowance of the creditor’s proof of claim.” Id.

  (emphasis added); accord Stern, 564 U.S. 462, 499, 131 S.Ct. 2594 (2011) (stating in the Article

  III context that “Congress may not bypass Article III simply because a proceeding may have some

  bearing on a bankruptcy case; the question is whether the action at issue stems from the bankruptcy

  itself or would necessarily be resolved in the claims allowance process.”); see also U.S Bank, 761

  F.3d at 418 (the right to a jury is waived where the resolution of a creditor’s a claim “[would]

  necessarily require resolution” of a creditor’s claims against the debtor). As a court in this Circuit

  recently explained, the Fifth Circuit has interpreted Stern not to mean that a chapter 5 cause of

  action was integrally related to the restructuring of the debtor-creditor relationship simply because

  the creditor filed a claim. Case Energy Servs., LLC v. Padco Energy Servs., LLC, No. CV 17-1043,

  2017 WL 4544719, at *5 (W.D. La. Oct. 11, 2017) (interpreting U.S. Bank and Stern). Rather, “to

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  decide whether a creditor is entitled to a jury trial, courts must examine whether the resolution of

  the creditor’s proofs of claim will necessarily require the resolution of the debtor’s claims against

  the   creditor.”   Id.   (citing   to   U.S.   Bank    Nat.    Ass'n.   v.   Verizon    Comm.      Inc.,

  761 F.3d 409, 418-19 (5th Cir. 2014)).

         20.     Applying this precedent, to determine if a jury right was extinguished with the filing

  of a proof of claim, courts within this Circuit consider “in relevant part: whether the proofs of

  claim had been resolved, and, if not, whether their resolution would necessarily require the

  resolution of the debtor’s fraudulent transfer claims (asserted by the Trustee).” Schott, Tr. for Est.

  of InforMD, LLC v. Massengale, 618 B.R. 444, 451–52 (M.D. La. 2020) (citing to U.S. Bank, 761

  F.3d at 418). In addition, the right to a jury trial is evaluated claim by claim rather than for a case

  in its entirety. See, e.g., Bleecker v. Standard Fire Inc. Co., 130 F. Supp. 2d 726, 737 (E.D.N.C.

  2000); Perlman v. Wells Fargo Bank, N.A., No. 10-81612-CV, 2012 WL 12854876, at *3 (S.D.

  Fla. Apr. 3, 2012); In re Sentry Operating Co. of Texas, Inc., 273 B.R. 515 (Bankr. S.D. Tex. 2002)

  (explaining that a creditor retains a jury trial right “with respect to any issue” not part of its filed

  pleading). “Maintenance of the jury as a fact-finding body is of such importance and occupies so

  firm a place in our history and jurisprudence that any seeming curtailment of the right to a jury

  trial should be scrutinized with the utmost care.” Bowles v. Bennett, 629 F.2d 1092, 1095 (5th

  Cir.1980) (quoting Dimick v. Schiedt, 293 U.S. 474, 486, 55 S.Ct. 296, 301, 79 L.Ed. 603 (1935)).

  Thus, courts should “indulge every reasonable presumption against waiver” and waiver should not

  be found in a “doubtful situation.” McAfee v. U.P. Martin, 63 F.3d 436, 437 (5th Cir.1995) (quoting

  Bowles, 629 F.2d at 1095).

         21.      Here, while HCMS filed the Proofs of Claim, the Proofs of Claim have already

  been fully resolved and, therefore, resolution of the Plaintiff’s affirmative claims against HCMS



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  cannot involve the allowance of claims process and the HCMS Proofs of Claim have no effect

  upon this Adversary Proceeding. Defendant has a right to a jury trial and does not consent to the

  Bankruptcy Court conducting a jury trial. 28 U.S.C. § 157(e) (permitting a bankruptcy judge to

  conduct a jury trial if the judge is specifically designated to exercise such authority by the district

  court, but only with the express consent of all the parties). Nor has Defendant waived its right to

  an Article III adjudication. The Bankruptcy Court has recently determined that these

  circumstances, in similar adversary proceedings brought by the same Debtor, were sufficient to

  recommend the District Court withdraw the reference. Highland Capital Management LP v.

  Dondero, Adv. No. 21-03003; Highland Capital Management LP v. Highland Capital

  Management Fund Advisors, L.P., Adv. No. 21-03004; Highland Capital Management LP v.

  NexPoint Advisors LP, Adv. No. 21-03005.

  C.     The Bankruptcy Court does not have constitutional authority to enter a final
         judgment in this Adversary Proceeding.

         22.     The Bankruptcy Court does not have the constitutional authority to enter a final

  judgment in this action because determination of the Plaintiff’s claims cannot be involved in the

  claims-allowance process.

         23.     In Stern v. Marshall, the United States Supreme Court held that even though

  bankruptcy courts are statutorily authorized to enter final judgment on certain types of bankruptcy

  related claims, Article III of the Constitution prohibits bankruptcy courts from finally adjudicating

  certain of those claims. 564 U.S. 462. Because there is no claim allowance or disallowance process

  related to HCMS’ Proofs of Claim, the Plaintiff’s claims are Stern-type claims. Id.

         24.     Stern clarified that “Langenkamp ... explained ... that a preferential transfer claim

  can be heard in bankruptcy when the allegedly favored creditor has filed a claim, because then the

  ensuing preference action by the trustee become[s] integral to the restructuring of the debtor-


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  creditor relationship.” Id. But, in Stern, “there was never any reason to believe that the process of

  adjudicating [the creditor’s] proof of claim would necessarily resolve [the debtor’s] counterclaim.”

  Id. In fact, in Stern the non-estate party had filed a claim that had been resolved by summary

  judgment (against the claimant); in this case the HCMS proof of claim was likewise determined to

  be in an amount of $00.00. The Stern court maintained the rights of the party against whom the

  estate representative was proceeding to Article III adjudication, which is what Defendant here

  seeks.

           25.   Here, Plaintiff pleads state law claims at common law which are not integral to the

  restructuring of debtor-creditor relations. Granfinanciera, 492 U.S. at 58-59. While the Plaintiff’s

  claims would augment the bankruptcy estate, the claims will not necessarily be resolved in the

  claims allowance process and therefore, the Bankruptcy Court is constitutionally prohibited from

  entering a final judgment. BP RE, L.P v. RML Waxahachie Dodge, L.L.P. (In re DP RE, L.P.), 735

  F.3d 279, 286 (5th Cir. 2013) (quoting Waldman v. Stone, 698 F.3d 910, 919 (6th Cir. 2012)).

           26.   The Defendant does not consent to the Bankruptcy Court entering final orders on

  these claims. See Wellness Int’l Network, Ltd. v. Sharif, 575 U.S. 665, 135 S.Ct. 1932, 191 L.Ed.2d

  911 (2015) (explaining that “consent—whether express or implied—must still be knowingly and

  voluntary”). There has been no knowing or voluntary consent by the Defendant, and as such, the

  Bankruptcy Court cannot enter final orders on the Plaintiff’s claims.

  D.       The remaining applicable Holland factors favor withdrawal.

           27.   As discussed above, in its Answer (and Amended Answer if leave to amend is

  granted) Defendant demands a jury trial and Article III adjudication. Therefore, this factor

  mandates withdrawal of the reference. See e.g. Nu Van Tech., Inc. v. Cottrell, Inc. (In re Nu Van

  Tech., Inc.), No. 01-49589-DML-11, 2003 WL 23785355, at *4 (Bankr. N.D. Tex. Oct. 14, 2003)

  (“[T]his court is convinced that Plaintiff’s claims must be heard by an Article III court and that the

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  reference must be withdrawn.”); Tow v. Speer (In re Royce Homes, L.P.), No. 09-32467-H4-7,

  2011 WL 13340482, at *5 (Bankr. S.D. Tex. Oct. 13, 2011) (noting that a valid jury demand is a

  “crucial factor” in a Holland analysis); In re Lapeyre, No. CIV. A. 99-1312, 1999 WL 486888, at

  *3 (E.D. La. July 8, 1999) (“[T]he inability of a bankruptcy court to hold a jury trial in a related

  matter is sufficient ground for a district court to withdraw reference…”). Analysis of the other

  factors—uniformity, forum shopping, and efficiency—also support withdrawal of the reference.

         28.     Withdrawing the reference would not at all undermine uniformity in the

  administration of the bankruptcy. While the Bankruptcy Court may be familiar with certain of the

  parties, and of the business of the Debtor, it is not familiar with the facts of this Adversary

  Proceeding. As of the date of this filing, no hearings have been held in this matter; no scheduling

  orders have been issued. Not even all defendants have been served. No evidentiary hearings have

  been held or motions on the merits of the claims in the Adversary Proceeding have been filed to

  allow the Bankruptcy Court to gain familiarity with the underlying facts in the Adversary

  Proceeding. See Tex. Capital Bank, N.A. v. Dallas Roadster, Ltd. (In re Dallas Roadster, Ltd.),

  Case No. 11-43725, Adv. No. 13-40332013 WL 5758632, at *2 (E.D. Tex. Bankr. Sept. 27, 2013),

  report and recommendation adopted, 11-43725, 2013 WL 5769916 (E.D. Tex. Oct. 21, 2013)

  (“[t]he claims in the Adversary Proceeding are predominantly based on state law, and there are no

  claims under federal bankruptcy law. Thus, the District Court's determination of the merits of these

  claims should not undermine any concerns for the uniformity of bankruptcy administration.”). In

  addition, the Bankruptcy Court recommended the reference be withdrawn in several similar




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  adversary proceedings in which the Debtor asserts breach of contract and turnover in connection

  with certain demand and term notes. 12

          29.     While it is true that any motion to withdraw the reference is “‘[i]n some sense . . .

  forum shopping[,] . . . ‘[a] good faith claim of right, even when motivated (at least in part) by a

  desire for a more favorable decision maker, should not on that basis alone be denied as forum

  shopping.’” In re Royce Homes, LP, 578 B.R. 748, 761 (Bankr. S.D. Tex. 2017) (citation omitted).

  The critical focus is whether the movant is engaging in bad faith or improper forum shopping by,

  for example, “‘lay[ing] behind the log’ to determine how [the Bankruptcy Court] would rule before

  filing its motion to withdraw the reference.” Id. “A good faith claim of right ... should not on that

  basis alone be denied as forum shopping.” Veldekens v. GE HFS Holdings, Inc., 362 B.R. 762

  (S.D. Tex. 2007) (quoted in Royce Homes, Adv. No. 11–03191. Adv. Doc. No. 201, p. 7, ¶ 3).

  Here, Defendant has a good faith right to a jury trial in the District Court. In re Align Strategic

  Partners LLC, No. 16-35702, 2019 WL 2527221, at *4 (Bankr. S.D. Tex. Mar. 5, 2019). Given

  the early stage of this adversary proceeding, Defendant is plainly not engaging in bad faith or

  improper forum shopping. Compare In re Royce Homes, LP, 578 B.R. at 761 (where party moved

  quickly to withdraw the reference, before any substantive rulings had been made, party did not

  engage in bad faith forum shopping) with In re Lopez, No. 09-70659, 2017 WL 3382099, at *10

  (Bankr. S.D. Tex. Mar. 20, 2017) (holding that confusion was more likely if reference was

  withdrawn when defendant did not move to withdraw the reference until over one year after

  adversary proceeding was filed).




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     Highland Capital Management L.P. v. James D. Dondero, Adv. No. 21-03003, [Dkt. No. 53]; Highland Capital
  Management L.P. v. Highland Capital Management Fund Advisors, L.P., Adv. No. 21-03004, [Dkt. No. 36]; Highland
  Capital Management L.P. v. NexPoint Advisors, L.P., Adv. No. 21-03005, [Dkt. No. 30].

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         30.     Concerns of judicial efficiency weigh in favor of withdrawing the reference. First,

  because there will be a jury trial, it will be more efficient for the District Court to handle pretrial

  matters so as to be fully acquainted with the case as it makes it way to trial in this District Court.

  In re Gulf States Long Term Acute Care of Covington, L.L.C., 455 B.R. 869, 878 (E.D. La. 2011).

  Second, because of the jury trial rights of Defendant, the Bankruptcy Court cannot hear the Stern-

  claims presented in the Adversary Proceeding, as proposed findings of fact and conclusions of law

  on the merits is antithetical to the right to trial by jury. FED. R. BANKR. P. 9033(a), (d). While the

  Plaintiff’s turnover claim may be core, the turnover claim is the sidecar to Plaintiff’s breach of

  contract claim, in that the turnover claim only goes where the jury on the breach of contract claim

  goes. Having the District Court adjudicate the breach of contract claim while the Bankruptcy Court

  simultaneously hears the turnover claim is an inefficient, impractical, and expensive path forward.

  On the other hand, having the Bankruptcy Court adjudicate both the non-core, state law, breach of

  contract claim, and the turnover claim would violate applicable law, as cited earlier in this motion.

  In addition, the Bankruptcy Court would need to submit its recommended findings of fact and

  conclusions of law on the entirely pivotal breach of contract claim to the District Court, which

  would then conduct a de novo review. 28 U.S.C. § 157(c)(1). Thus, the only practical and cost-

  effective manner of proceeding is for the District Court to conduct a jury trial on Plaintiff’s non-

  core, breach of contract claim, which will ultimately determine the viability of the turnover claim

  is wholly dependent on the verdict. In re MPF Holding US, LLC, No. 08–36084–H4–11, 2013 WL

  12146958, at *3 (Bankr. S.D. Tex. Apr. 26, 2013) (recommending withdrawal, and noting

  “immediate withdrawal of [the] reference will serve the interests of judicial economy” because it

  would allow the District Court to familiarize itself with the matter).




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          31.     Finally, the Debtor’s Plan has been confirmed. As such, the “expediting-the-

  bankruptcy-process factor” is irrelevant. Mirant Corp. v. The Southern Co., 337 B.R. 107, 123

  (N.D. Tex. Jan. 10, 2006) (where the bankruptcy judge had already confirmed the reorganization

  plan, the “expediting-the-bankruptcy-process factor” was not relevant to the withdrawal decision).

  Consideration of the Holland factors evidence a need to withdraw the reference in this Adversary

  Proceeding. Again, as mentioned above, the Bankruptcy Court has recently determined that it

  would recommend the District Court withdraw the reference in three similar adversary

  proceedings. Highland Capital Management LP v. Dondero, Adv. No. 21-03003; Highland

  Capital Management LP v. Highland Capital Management Fund Advisors, L.P., Adv. No. 21-

  03004; Highland Capital Management LP v. NexPoint Advisors LP, Adv. No. 21-03005.

  E.      The District Court is best suited to conduct pretrial proceedings as well as hear the
          sole pending and determinative breach of contract claim.

          32.     While the District Court has discretion to allow the Bankruptcy Court to preside

  over pretrial proceedings, with the District Court then trying the jury, it would be most efficient

  for the District Court to conduct all pretrial proceedings. (In re Guynes Printing Co. of Tex., Inc.,

  No. 15-CV-149-KC, 2015 WL 3824070, at *3 (W.D. Tex. June 19, 2015)). Courts consider the

  following factors when determining whether the District Court should retain all pretrial matters:

  (i) does referral promote judicial efficiency; (ii) is the Bankruptcy Court familiar with the

  allegations; and (iii) do the allegations require interpretation of federal bankruptcy law. See Curtis

  v. Cerner Corp., No. 7:29-CV-00417, 2020 WL 1983937, at *5 (S.D. Tex. Apr. 27, 2020); see

  also In re Brown Med. Ctr., Inc., No. BR 15-3229, 2016 WL 406959, at *2 (S.D. Tex. Feb. 3, 2016)

  (exercising its discretion to retain all pretrial matters as a means to maintain an active role in the

  case, gain familiarity with the issues that will be presented for trial, and ensure the efficient use of




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  judicial resources). These factors weigh heavily toward the District Court withdrawing the pretrial

  matters.

         33.     First, because the breach of contract claim is dispositive of the turnover claim, and

  the breach of contract claim requires a jury trial, it is most efficient for the District Court to hear

  the case from the start. Second, the Bankruptcy Court has not yet decided any substantive issues

  on this Adversary Proceeding; therefore, the Bankruptcy Court is no more familiar with the

  substance of the matter than the District Court can be in relatively short order. Third, there is no

  particular area of bankruptcy law expertise required.

                                          IV. CONCLUSION

         For these reasons, HCMS respectfully requests that the District Court grant its Motion,

  withdraw the reference of the Adversary Proceeding from the Bankruptcy Court, and grant it such

  other relief at law or in equity to which it may be entitled.

                                                 Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 3, 2021, a true and correct copy of the foregoing pleading was
  served via the Court’s CM/ECF system upon counsel for the Plaintiff and all other parties
  requesting or consenting to such service in this adversary case.

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                                               /s/ Lauren K. Drawhorn
                                                   Lauren K. Drawhorn




  DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S BRIEF IN SUPPORT                    PAGE 18
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  COUNSEL FOR HIGHLAND CAPITAL
  MANAGEMENT SERVICES, INC.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

   In re:                                            §
                                                     §
   HIGHLAND CAPITAL MANAGEMENT,                      §          Chapter 11
   L.P.                                              §
                                                     §           Case No.: 19-34054-sgj11
            Debtor.                                  §
                                                     §
   HIGHLAND CAPITAL MANAGEMENT,                      §
   L.P.                                              §
                                                     §
            Plaintiff,                               §
                                                     §
   vs.                                               §           Adv. Pro. No. 21-03006-sgj
                                                     §
   HIGHLAND CAPITAL MANAGEMENT                       §
   SERVICES, INC.,                                   §
                                                     §
            Defendant.                               §


                       APPENDIX IN SUPPORT OF HIGHLAND
                  CAPITAL MANAGEMENT SERVICES, INC.’S BRIEF IN
               SUPPORT OF ITS MOTION TO WITHDRAW THE REFERENCE


            Defendant Highland Capital Management Services, Inc. (“HCMS”) hereby files this

  Appendix in Support of its Motion to Withdraw the Reference.

  APPENDIX IN SUPPORT OF HCMS, INC.’S BRIEF IN SUPPORT OF ITS                               PAGE 1
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     Tab     Document Description                                               Appendix page
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       1.    Highland Capital Management, L.P.’s Adversary Complaint            App. 001 – 038
       2.    Highland Capital Management Services, Inc.’s Answer to             App. 039 – 048
             Plaintiff’s Complaint
       3.    Highland Capital Management Services, Inc.’s Motion for Leave      App. 049 – 069
             to File Amended Answer
       4.    Highland Capital Management Services, Inc.’s Proof of Claim        App. 070 – 075
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       5.    Highland Capital Management Services, Inc.’s Proof of Claim        App. 076 – 081
             #176
       6.    First Supplemental Order Sustaining First Omnibus Objection to     App. 082 – 086
             Certain (A) Duplicate Claims; (B) Overstated Claims; (C) Late-
             Filed Claims; (D) Satisfied Claims; (E) No-Liability Claims; and
             (F) Insufficient-Documentation Claims
       7.    Order (I) Confirming the Fifth Amended Plan of Reorganization      App. 087 – 248
             of Highland Capital Management, L.P. (as Modified) and (II)
             Granting Related Relief

                                                Respectfully submitted,

                                                /s/ Lauren K. Drawhorn
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                                                Texas Bar No. 24028786
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                                                COUNSEL FOR NEXPOINT REAL ESTATE
                                                PARTNERS, LLC F/K/A HCRE PARTNERS, LLC




  APPENDIX IN SUPPORT OF HCMS, INC.’S BRIEF IN SUPPORT OF ITS                              PAGE 2
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                                  CERTIFICATE OF SERVICE

           I hereby certify that on June 3, 2021, a true and correct copy of the foregoing Joinder was
  served via the Court’s electronic case filing (ECF) system upon all parties receiving such service
  in this bankruptcy case; and via e-mail upon the following parties:

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   Ira D. Kharasch                                  Zachery Z. Annable
   John A. Morris                                   10501 N. Central Expy, Ste. 106
   Gregory V. Demo                                  Dallas, Texas 75231
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           gdemo@pszjlaw.com


                                                /s/ Lauren K. Drawhorn
                                                    Lauren K. Drawhorn




  APPENDIX IN SUPPORT OF HCMS, INC.’S BRIEF IN SUPPORT OF ITS                                  PAGE 3
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  Counsel for Highland Capital Management, L.P.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                               §
  In re:
                                                               §    Chapter 11
  HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         §
                                                               §    Case No. 19-34054-sgj11
                                                               §
                                    Debtor.
                                                               §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                               §
                                    Plaintiff,                 §    Adversary Proceeding No.
                                                               §
  vs.                                                          §    ______________________
                                                               §
  HIGHLAND CAPITAL MANAGEMENT                                  §
  SERVICES, INC,                                               §
                                                               §
                                    Defendant.




  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
  address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

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                        COMPLAINT FOR (I) BREACH OF CONTRACT
               AND (II) TURNOVER OF PROPERTY OF THE DEBTOR’S ESTATE

          Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

  possession (the “Debtor”) in the above-captioned chapter 11 case and the plaintiff in the above-

  captioned adversary proceeding (the “Adversary Proceeding”), by its undersigned counsel, as

  and for its complaint (the “Complaint”) against defendant, Highland Capital Management

  Services, Inc. (“HCMS” or “Defendant”), alleges upon knowledge of its own actions and upon

  information and belief as to other matters as follows:

                                  PRELIMINARY STATEMENT

          1.       The Debtor brings this action against HCMS as a result of HCMS’s defaults under

  (i) four demand notes in the aggregate principal amount of $900,000 and payable upon the

  Debtor’s demand, and (ii) one term note in the aggregate principal amount of $20,247,628.02

  and payable in the event of default, all executed by HCMS in favor of the Debtor. HCMS has

  failed to pay amounts due and owing under the notes and the accrued but unpaid interest thereon.

          2.       Through this Complaint, the Debtor seeks (a) damages from HCMS in an amount

  equal to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii)

  all accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

  Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and

  expenses, as provided for in the notes) for HCMS’s breach of its obligations under the Notes, and

  (b) turnover by HCMS to the Debtor of the foregoing amounts.

                                   JURISDICTION AND VENUE

          3.       This adversary proceeding arises in and relates to the Debtor’s case pending

  before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division

  (the “Court”) under chapter 11 of the Bankruptcy Code.


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          4.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

  1334.

          5.       This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b), and,

  pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final order

  by the Court in the event that it is later determined that the Court, absent consent of the parties,

  cannot enter final orders or judgments consistent with Article III of the United States

  Constitution.

          6.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                            THE PARTIES

          7.       The Debtor is a limited liability partnership formed under the laws of Delaware

  with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

          8.       Upon information and belief, HCMS is a company with offices located in Dallas,

  Texas, and is incorporated in the state of Delaware.

                                        CASE BACKGROUND

          9.       On October 16, 2019, the Debtor filed a voluntary petition for relief under chapter

  11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware

  (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

          10.      On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

  Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

  Redeemer Committee of Highland Crusader Fund, (b) Meta-e Discovery, (c) UBS Securities

  LLC and UBS AG London Branch, and (d) Acis LP and Acis GP.




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             11.      On December 4, 2019, the Delaware Court entered an order transferring venue of

  the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

             12.      The Debtor has continued in the possession of its property and has continued to

  operate and manage its business as a debtor-in-possession pursuant to sections 1107(a) and 1108

  of the Bankruptcy Code. No trustee or examiner has been appointed in this chapter 11 case.

                                             STATEMENT OF FACTS

  A.         The HCMS Demand Notes

             13.      HCMS is the maker under a series of demand notes in favor of the Debtor.

             14.      Specifically, on March 28, 2018, HCMS executed a demand note in favor of the

  Debtor, as payee, in the original principal amount of $150,000 (“HCMS’s First Demand Note”).

  A true and correct copy of HCMS’s First Demand Note is attached hereto as Exhibit 1.

             15.      On June 25, 2018, HCMS executed a demand note in favor of the Debtor, as

  payee, in the original principal amount of $200,000 (“HCMS’s Second Demand Note”). A true

  and correct copy of HCMS’s Second Demand Note is attached hereto as Exhibit 2.

             16.      On May 29, 2019, HCMS executed a demand note in favor of the Debtor, as

  payee, in the original principal amount of $400,000 (“HCMS’s Third Demand Note”). A true

  and correct copy of HCMS’s Third Demand Note is attached hereto as Exhibit 3

             17.      On June 26, 2019, HCMS executed a demand note in favor of the Debtor, as

  payee, in the original principal amount of $150,000 (“HCMS’s Fourth Demand Note,” and

  collectively, with HCMS’s First Demand Note, HCMS’s Second Demand Note, and HCMS’s

  Third Demand Note, the “Demand Notes”). A true and correct copy of HCMS’s Fourth Demand

  Note is attached hereto as Exhibit 4.



  2
      All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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          18.      Section 2 of the Demand Notes provide: “Payment of Principal and Interest.

  The accrued interest and principal of this Note shall be due and payable on demand of the

  Payee.”

          19.      Section 4 of the Demand Notes provides:

          Acceleration Upon Default. Failure to pay this Note or any installment
          hereunder as it becomes due shall, at the election of the holder hereof, without
          notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
          or any other notice of any kind which are hereby waived, mature the principal of
          this Note and all interest then accrued, if any, and the same shall at once become
          due and payable and subject to those remedies of the holder hereof. No failure or
          delay on the part of the Payee in exercising any right, power, or privilege
          hereunder shall operate as a waiver hereof.

          20.      Section 6 of the Demand Notes provides:

          Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
          otherwise) and is placed in the hands of an attorney for collection, or if it is
          collected through a bankruptcy court or any other court after maturity, the Maker
          shall pay, in addition to all other amounts owing hereunder, all actual expenses of
          collection, all court costs and reasonable attorneys’ fees and expenses incurred by
          the holder hereof.

  B.      HCMS’s Defaults under Each Demand Note

          21.      By letter dated December 3, 2020, the Debtor made demand on HCMS for

  payment under the Demand Notes by December 11, 2020 (the “Demand Letter”). A true and

  correct copy of the Demand Letter is attached hereto as Exhibit 5. The Demand Letter provided:

          By this letter, Payee is demanding payment of the accrued interest and principal
          due and payable on the Notes in the aggregate amount of $947,519.43, which
          represents all accrued interest and principal through and including December 11,
          2020.

          Payment is due on December 11, 2020, and failure to make payment in full
          on such date will constitute an event of default under the Notes.

  Demand Letter (emphasis in the original).

          22.      Despite the Debtor’s demand, HCMS did not pay all or any portion of the

  amounts demanded by the Debtor on December 11, 2020.

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          23.      As of December 11, 2020, there was an outstanding principal amount of

  $158,776.59 on HCMS’s First Demand Note and accrued but unpaid interest in the amount of

  $3,257.32, resulting in a total outstanding amount as of that date of $162,033.91.

          24.      As of December 11, 2020, there was an outstanding principal balance of

  $212,403.37 on HCMS’s Second Demand Note and accrued but unpaid interest in the amount of

  $2,999.54, resulting in a total outstanding amount as of that date of $215,402.81.

          25.      As of December 11, 2020, there was an outstanding principal balance of

  $409,586.19 on HCMS’s Third Demand Note and accrued but unpaid interest in the amount of

  $5,256.62, resulting in a total outstanding amount as of that date of $414,842.81.

          26.      As of December 11, 2020, there was an outstanding principal balance of

  $153,564.74 on HCMS’s Fourth Demand Note and accrued but unpaid interest in the amount of

  $1,675.16, resulting in a total outstanding amount as of that date of $155,239.90.

          27.      Thus, as of December 11, 2020, the total outstanding principal and accrued but

  unpaid interest due under the Demand Notes was $947,519.43. Pursuant to Section 4 of each

  Demand Note, each Note is in default and is currently due and payable.

  C.      The HCMS Term Note

          28.      HCMS is the maker under a term note in favor of the Debtor.

          29.      Specifically, on May 31, 2017, HCMS executed a term note in favor of the

  Debtor, as payee, in the original principal amount of $20,247,628.02 (the “Term Note,” and

  together with the Demand Notes, the “Notes”). A true and correct copy of the Term Note is

  attached hereto as Exhibit 6.

          30.      Section 2 of the Term Note provides: “Payment of Principal and Interest.

  Principal and interest under this Note shall be due and payable as follows:



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          2.1    Annual Payment Dates. During the term of this Note, Borrower shall
          pay the outstanding principal amount of the Note (and all unpaid accrued interest
          through the date of each such payment) in thirty (30) equal annual payments (the
          “Annual Installment”) until the Note is paid in full. Borrower shall pay the
          Annual Installment on the 31st day of December of each calendar year during the
          term of this Note, commencing on the first such date to occur after the date of
          execution of this note.

          2.2    Final Payment Date. The final payment in the aggregate amount of the
          then outstanding and unpaid Note, together with all accrued and unpaid interest
          thereon, shall become immediately due and payable in full on December 31, 2047
          (the “Maturity Date”).

          31.      Section 3 of the Term Note provides:

          Prepayment Allowed: Renegotiation Discretionary.            Maker may prepay in
          whole or in part the unpaid principal or accrued interest of this Note. Any
          payments on this Note shall be applied first to unpaid accrued interest hereon, and
          then to unpaid principal hereof.

          32.      Section 4 of the Term Note provides:

          Acceleration Upon Default.           Failure to pay this Note or any installment
          hereunder as it becomes due shall, at the election of the holder hereof, without
          notice, demand, presentment, notice of intent to accelerate, notice of acceleration,
          or any other notice of any kind which are hereby waived, mature the principal of
          this Note and all interest then accrued, if any, and the same shall at once become
          due and payable and subject to those remedies of the holder hereof. No failure or
          delay on the part of the Payee in exercising any right, power, or privilege
          hereunder shall operate as a waiver hereof.

          33.      Section 6 of the Term Note provides:

          Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
          otherwise) and is placed in the hands of an attorney for collection, or if it is
          collected through a bankruptcy court or any other court after maturity, the Maker
          shall pay, in addition to all other amounts owing hereunder, all actual expenses of
          collection, all court costs and reasonable attorneys’ fees and expenses incurred by
          the holder hereof.

  D.      HCMS’s Default under the Term Note

          34.      HCMS failed to make the payment due under the Term Note on December 31,

  2020.



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          35.      By letter dated January 7, 2021, the Debtor made demand on HCMS for

  immediate payment under the Term Note (the “Second Demand Letter”). A true and correct

  copy of the Second Demand Letter is attached hereto as Exhibit 7. The Second Demand Letter

  provides:

          Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
          the Note, all principal, interest, and any other amounts due on the Note are
          immediately due and payable. The amount due and payable on the Note as of
          January 8, 2021 is $6,757,248.95; however, interest continues to accrue under the
          Note.

          The Note is in default, and payment is due immediately.

  Second Demand Letter (emphasis in the original).

          36.      As of January 8, 2021, the total outstanding principal and accrued but unpaid

  interest under the Term Note was $6,757,248.95.

          37.      Pursuant to Section 4 of the Term Note, the Term Note is in default and is

  currently due and payable.

                                    FIRST CLAIM FOR RELIEF
                                      (For Breach of Contract)

          38.      The Debtor repeats and re-alleges the allegations in each of the foregoing

  paragraphs as though fully set forth herein.

          39.      The Notes are binding and enforceable contracts.

          40.      HCMS breached each Demand Note by failing to pay all amounts due to the

  Debtor upon the Debtor’s demand.

          41.      HCMS breached the Term Note by failing to pay all amounts due to the Debtor

  upon HCMS’s default and acceleration.

          42.      Pursuant to each Note, the Debtor is entitled to damages from HCMS in an

  amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued


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  and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

  costs of collection (including all court costs and reasonable attorneys’ fees and expenses) for

  HCMS’s breach of its obligations under each of the Notes.

          43.      As a direct and proximate cause of HCMS’s breach of each Demand Note, the

  Debtor has suffered damages in the amount of at least $947,519.43 as of December 11, 2020,

  plus an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

  collection.

          44.      As a direct and proximate cause of HCMS’s breach of the Term Note, the Debtor

  has suffered damages in the amount of at least $6,757,248.95 as of January 8, 2021, plus an

  amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

  collection.

                                  SECOND CLAIM FOR RELIEF
                          (Turnover by HCMS Pursuant to 11 U.S.C. § 542(b))

          45.      The Debtor repeats and re-alleges the allegations in each of the foregoing

  paragraphs as though fully set forth herein.

          46.      HCMS owes the Debtor an amount equal to (i) the aggregate outstanding

  principal due under each of the Notes, plus (ii) all accrued and unpaid interest thereon until the

  date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court

  costs and reasonable attorneys’ fees and expenses) for HCMS’s breach of its obligations under

  each of the Notes.

          47.      Each Demand Note is property of the Debtor’s estate and the amounts due under

  each Demand Note are matured and payable upon demand.

          48.      The Term Note is property of the Debtor’s estate and the amounts due under the

  Term Note are matured and payable upon default and acceleration.


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           49.     The Debtor has made demand for turnover of the amounts due under each of the

  Notes.

           50.     As of the date of filing this Complaint, HCMS has not turned over to the Debtor

  all or any of the amounts due under each of the Notes.

           51.     The Debtor is entitled to the turnover of all amounts due under each of the Notes.

           WHEREFORE, the Debtor prays for judgment as follows:

                   (i)        On its First Claim for Relief, damages in an amount to be determined at

                   trial, including, among other things, (a) the aggregate outstanding principal due

                   under each Note, plus (b) all accrued and unpaid interest thereon until the date of

                   payment, plus (c) an amount equal to the Debtor’s cost of collection (including all

                   court costs and reasonable attorneys’ fees and expenses);

                    (ii)      On its Second Claim for Relief, ordering turnover by HCMS to the Debtor

                   of an amount equal to (a) the aggregate principal due under each Note, plus (b) all

                   accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                   equal to the Debtor’s cost of collection (including all court costs and reasonable

                   attorneys’ fees and expenses); and

                   (iii)      Such other and further relief as this Court deems just and proper.




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  Dated: January 22, 2021.            PACHULSKI STANG ZIEHL & JONES LLP

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                                      Ira D. Kharasch (CA Bar No. 109084)
                                      John A. Morris (NY Bar No. 2405397)
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                                      -and-

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                                      Tel: (972) 755-7100
                                      Fax: (972) 755-7110

                                      Counsel for Highland Capital Management, L.P.




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                                       PROMISSORY NOTE


  $150,000.00                                                                         March 28, 2018


         FOR VALUE RECEIVED, HIGHLAND CAP!TAL MANAGEMENT SERVICES, INC.
  ("Maker") promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP.
  ("Payee"), in legal and lawful tender of the United States of America, the principal sum of ONE
  HUNDRED AND FIFTY THOUSAND and 00/100 Dollars ($150,000.00), togetl1er with
  interest, on the tenns set forth below (the "Note"). All sums hereunder are payable to Payee at
  300 Crescent Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in
  writing from time to time.

          1.     Interest Rate.    The unpaid principal balance of this Note from time to time
  outstanding sha11 bear interest at a rate equal to the Iong-tenn "applicable federal rate" (2.88 %)
  in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
  Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
  the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
  11365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
  number of days elapsed, and shall be payable on demand of the Payee.

          2.     Payment of Principal and Interest. The accrued interest and principal of this Note
  shall be due and payable on demand of the Payee.

          3.      Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in whole
  or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
  be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof

         4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
  as it becomes due shall, at the election of the holder hereof, without notice, demand,
  presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
  which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
  and the same shall at once become due and payable and subject to those remedies of the holder
  hereof. No failure or delay on the part of Payee fn exercising any right, power or privilege
  hereunder shall operate as a waiver thereof.

          5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
  nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
  all other notices of any kind hereunder.

         6.       Attorneys' Fees. If this Note fa not paid at maturity (whether by acceleration or
  otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
  bankruptcy court or any other comt afier maturity, the Mal<er shall pay, in addition to all other
  amounts_ owing hereunder, all actual expenses of collection, all court costs and reasonable
  attorneys' fees and expenses incun-ed by the holder hereof.



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         7.       Limitation on Agreements. All agreements between Maker and Payee, whether
  now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
  agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
  performance of any covenant or obligation contained herein or in any other document
  evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
  law. The terms and provisions of this paragraph shall control and supersede every other
  provision of all agreements between Payee and Maker in conflict herewith.

          8.     Governing Law. This Note and the rights and obligations of the parties hereunder
  shall be governed by the laws of the United States of America and by the laws of the State of
  Texas, and is performable in Dallas County, Texas.


                                               MAKER:




                                               HI I        APITAL MANAGEMENT
                                               SERVICES, INC.




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                      EXHIBIT 2




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                                       PROMISSORY NOTE


  $200,000.00                                                                           June 25, 2018


          FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
  ("Maker") promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP.
  ("Payee"), in legal and lawful tender of the United States of America, the principal stun of TWO
  HUNDRED THOUSAND and 00/100 Dollars ($200,000.00), together with interest, on the terms
  set forth below (the "Note"). All stuns hereunder are payable to Payee at 300 Crescent Court,
  Dallas, TX 75201, or such other address as Payee may specify to Maker in writing from time to
  time.

          1.      Interest Rate. The unpaid principal balance of this Note from time to time
  outstanding shall bear interest at a rate equal to the long-term "applicable federal rate" (3.05 %)
  in effect on the date hereof for loans of such matmity as detennined by Section 1274(d) of the
  Internal Revenue Code, per amrnm from the date hereof until maturity, compounded annually on
  the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
  11365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
  number of days elapsed, and shall be payable on demand of the Payee.

          2.     Payment of Principal and Interest. The accrued interest and principal of this Note
  shall be due and payable on demand of the Payee.

          3.      Prepayment Allowed; Renegotiation Discretionaiy. Maker may prepay in whole
  or in part the unpaid principal or accrned interest of this Note. Any payments on this Note shall
  be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

         4,      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
  as it becomes due shall, at the election of the holder hereof, without notice, demand,
  presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
  which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
  and the same shall at once become due and payable and subject to those remedies of the holder
  hereof. No failure or delay on the part of Payee in exercising any right, pbwer or privilege
  hereunder shall operate as a waiver thereof:

          5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
  nonpayment, protest, notice of protest, notice- of intent to accelerate, notice of acceleration and
  all other notices of any kind hereunder.

         6.       Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
  otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
  banlauptcy court or any other court after maturity, the Maker shall pay, in addition to all other
  amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
  attorneys' fees and expenses incun·ed by the holder hereof.




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         7.       Limitation on Agreements. All agreements between Maker and Payee, whether
  now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
  agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
  performance of any covenant or obligation contained herein or in any other document
  evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
  law. The terms and provisions of this paragraph shall control and supersede every other
  provision of all agreements between Payee and Maker in conflict herewith.

          8.     Governing Law. This Note and the rights and obligations of the parties hereunder
  shall be governed by the laws of the United States of America and by the laws of the State of
  Texas, and is performable in Dallas County, Texas.


                                               MAKER:




                                            ~~ SERVICES, INC.




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                      EXHIBIT 3




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                                       PROMISSORY NOTE


  $400,000                                                                             May 29, 2019


          FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
  (“Maker”) promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP
  (“Payee”), in legal and lawful tender of the United States of America, the principal sum of
  FOUR HUNDRED THOUSAND and 00/100 Dollars ($400,000.00), together with interest, on
  the terms set forth below (the “Note”). All sums hereunder are payable to Payee at 300 Crescent
  Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in writing from
  time to time.

          1.     Interest Rate. The unpaid principal balance of this Note from time to time
  outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.39%)
  in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
  Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
  the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
  1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
  number of days elapsed, and shall be payable on demand of the Payee.

          2.     Payment of Principal and Interest. The accrued interest and principal of this Note
  shall be due and payable on demand.

          3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
  or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
  be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

         4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
  as it becomes due shall, at the election of the holder hereof, without notice, demand,
  presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
  which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
  and the same shall at once become due and payable and subject to those remedies of the holder
  hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
  hereunder shall operate as a waiver thereof.

          5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
  nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
  all other notices of any kind hereunder.

         6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
  otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
  bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
  amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
  attorneys’ fees and expenses incurred by the holder hereof.



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         7.       Limitation on Agreements. All agreements between Maker and Payee, whether
  now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
  agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
  performance of any covenant or obligation contained herein or in any other document
  evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
  law. The terms and provisions of this paragraph shall control and supersede every other
  provision of all agreements between Payee and Maker in conflict herewith.

          8.     Governing Law. This Note and the rights and obligations of the parties hereunder
  shall be governed by the laws of the United States of America and by the laws of the State of
  Texas, and is performable in Dallas County, Texas.


                                               MAKER:




                                               FRANK WATERHOUSE




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                      EXHIBIT 4




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                                       PROMISSORY NOTE


  $150,000                                                                             June 26, 2019


          FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
  (“Maker”) promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP
  (“Payee”), in legal and lawful tender of the United States of America, the principal sum of ONE
  HUNDRED AND FIFTY THOUSAND and 00/100 Dollars ($150,000.00), together with
  interest, on the terms set forth below (the “Note”). All sums hereunder are payable to Payee at
  300 Crescent Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in
  writing from time to time.

          1.     Interest Rate. The unpaid principal balance of this Note from time to time
  outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.37%)
  in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
  Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
  the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
  1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
  number of days elapsed, and shall be payable on demand of the Payee.

          2.     Payment of Principal and Interest. The accrued interest and principal of this Note
  shall be due and payable on demand.

          3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
  or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
  be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

         4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
  as it becomes due shall, at the election of the holder hereof, without notice, demand,
  presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
  which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
  and the same shall at once become due and payable and subject to those remedies of the holder
  hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
  hereunder shall operate as a waiver thereof.

          5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
  nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
  all other notices of any kind hereunder.

         6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
  otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
  bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
  amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
  attorneys’ fees and expenses incurred by the holder hereof.



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         7.       Limitation on Agreements. All agreements between Maker and Payee, whether
  now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
  agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
  performance of any covenant or obligation contained herein or in any other document
  evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
  law. The terms and provisions of this paragraph shall control and supersede every other
  provision of all agreements between Payee and Maker in conflict herewith.

          8.     Governing Law. This Note and the rights and obligations of the parties hereunder
  shall be governed by the laws of the United States of America and by the laws of the State of
  Texas, and is performable in Dallas County, Texas.


                                               MAKER:




                                               FRANK WATERHOUSE




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                      EXHIBIT 5




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                         HIGHLAND CAPITAL MANAGEMENT, L.P.

  December 3, 2020

  Highland Capital Management Services, Inc.
  c/o Highland Capital Management, L.P.
  300 Crescent Court, Suite 700
  Dallas, Texas 75201
  Attention: Frank Waterhouse, CFO

          Re: Demand on Promissory Notes:

  Dear Mr. Waterhouse,

  Highland Capital Management Services, Inc. (“Maker”) entered into the following promissory
  notes (collectively, the “Notes”) in favor of Highland Capital Management, L.P. (“Payee”):

 Date Issued      Original Principal   Outstanding Principal    Accrued But             Total Amount
                       Amount           Amount (12/11/20)      Unpaid Interest      Outstanding (12/11/20)
                                                                 (12/11/20)
   3/28/18             $150,000            $158,776.59            $3,257.32              $162,033.91
   6/25/18             $200,000            $212,403.27            $2,999.54              $215,402.81
   5/29/19             $400,000            $409,586.19            $5,256.62              $414,842.81
   6/26/19             $150,000            $153,564.74            $1,675.16              $155,239.90
   TOTALS              $900,000            $934,330.79           $13,188.64              $947,519.43

  As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
  upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
  and principal due and payable on the Notes in the aggregate amount of $947,519.43, which
  represents all accrued and unpaid interest and principal through and including December 11,
  2020.

  Payment is due on December 11, 2020, and failure to make payment in full on such date
  will constitute an event of default under the Notes.

  Payments on the Notes must be made in immediately available funds. Payee’s wire information
  is attached hereto as Appendix A.

  Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
  or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
  expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
  accrue until the Notes are paid in full. Any such interest will remain the obligation of Maker.

  Sincerely,

  /s/ James P. Seery, Jr.

  James P. Seery, Jr.
  Highland Capital Management, L.P.
  Chief Executive Officer/Chief Restructuring Officer


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  cc:     Fred Caruso
          James Romey
          Jeffrey Pomerantz
          Ira Kharasch
          Gregory Demo




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                                       Appendix A


                     ABA #:          322070381
                     Bank Name:      East West Bank
                     Account Name:   Highland Capital Management, LP
                     Account #:      5500014686




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                      EXHIBIT 6




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                                        PROMISSORY NOTE

  $20,247,628.02                                                                         May 31, 2017

          THIS PROMISSORY NOTE (this "Note") is in substitution for and supersedes in their
  entirety each of those certain promissory notes described in Exhibit A hereto, from Highland
  Capital Management Services, Inc. , as Maker, and Highland Capital Management, L.P. as Payee
  (collectively, the "Prior Notes"), together with the aggregate outstanding principal and accrued
  and unpaid interested represented thereby.

           FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
  ("Maker") promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, L.P.
  ("Payee"), in legal and lawful tender of the United States of America, the principal sum of
  TWENTY MILLION, TWO HUNDRED FORTY SEVEN THOUSAND, SIX HUNDRED
  TWENTY EIGHT AND 02/100 DOLLARS ($20,247,628.02), together with interest, on the terms
  set forth below. All sums hereunder are payable to Payee at 300 Crescent Court, Suite 700, Dallas,
  Texas 75201, or such other address as Payee may specify to Maker in writing from time to time.

           1.     Interest Rate. The unpaid principal balance of this Note from time to time
  outstanding shall bear interest at the rate of two and seventy-five hundredths percent (2.75%) per
  annum from the date hereof until Maturity Date (hereinafter defined), compounded annually on
  the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to 11365th
  ( 1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual number
  of days elapsed, and shall be payable annually.

         2.      Payment of Principal and Interest. Principal and interest under this Note shall be
  payable as follows:

             2.1     Annual Payment Dates. During the tenn of this Note, Borrower shall pay the
      outstanding principal amount of the Note (and all unpaid accrued interest through the date of
      each such payment) in thirty (30) equal annual payments (the "Annual Installment") until
      the Note is paid in full. Borrower shall pay the Annual Installment on the 31st day of December
      of each calendar year during the term of this Note, commencing on the first such date to occur
      after the date of execution of this Note.

            2.2    Final Payment Date.        The final payment in the aggregate amount of the
      then outstanding and unpaid Note, together with all accrued and unpaid interest thereon, shall
      become immediately due and payable in full on December 31 , 2047 (the "Maturity Date").

          3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
  or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
  be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

          4.     Acceleration Upon Default. Failure to pay this Note or any installment hereunder
  as it becomes due shall, at the election of the holder hereof, without notice, demand, presentment,
  notice of intent to accelerate, notice of acceleration, or any other notice of any kind which are
  hereby waived, mature the principal of this Note and all interest then accrued, if any, and the same
  shall at once become due and payable and subject to those remedies of the holder hereof. No

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  failure or delay on the part of Payee in exercising any right, power or privilege hereunder shall
  operate as a waiver thereof.

         5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
  nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and all
  other notices of any kind hereunder.

         6.       Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
  otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
  bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
  amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
  attorneys' fees and expenses incLmed by the holder hereof.

         7.      Limitation on Agreements. All agreements between Maker and Payee, whether
  now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
  agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
  perfonnance of any covenant or obligation contained herein or in any other document evidencing,
  securing or pertaining to this Note, exceed the maximum interest rate allowed by law. The terms
  and provisions of this paragraph shall control and supersede every other provision of all
  agreements between Payee and Maker in confl ict herewith.

          8.     Governing Law. This Note and the rights and obligations of the paiiies hereunder
  shall be governed by the laws of the United States of America and by the laws of the State of
  Texas, and is performable in Dallas County, Texas.

        9.    Prior Notes.       The original of each of the Prior Notes superseded hereby shall be
  marked "VOID" by Payee.


                                                 MAKER:

                                                 HIGHLAND CAPITA
                                                 SERVICES,


                                                 By: _ _----'.,..:..--:..__~ :..___ _ _ _ _ _ __
                                                 Name:
                                                 Title:




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                                      EXHIBIT A

                                     PRIOR NOTES

                                                           Principal and Interest
                      Initial Note
      Loan Date                        Interest Rate          Outstanding as
                       Amount
                                                              of May 31, 2017
       5/29/15         $500,000           2.30%                   $523,095
        10/1/15        $350,000           2.58%                   $3 15,500
        10/2/15        $310,000           2.58%                   $323,301
       10/27/15        $200,000           2.58%                   $208,228
       10/28/15        $200,000           2.58%                   $208,214
       10/30/15        $100,000           2.58%                   $104,093
       11/23/15        $ 100,000          2.57%                   $103 ,908
       11/24/15        $250,000           2.57%                   $259,752
       2/10/16        $2,000,000          2.62%                   $ 83,390
       2/11/16         $250,000           2.62%                   $258,524
        4/5/16        $6,000,000          2.25%                  $6, 155,712
        5/4/16        $2,700,000          2.24%                  $2,764,954
        7/1/16          $30,000           2. 18%                   $30,598
        8/5/16         $525,000           2. 18%                  $534,375
       8/22/16         $250,000           2. 18%                  $254,465
       9/22/16         $185,000           2.18%                   $187,773
       12/12/16       $7,700,000          2.26%                  $7,78 1,050
       3/31/17         $ 150,000          2.78%                   $150,697
                      $21,800,000                              $20,247,628.02




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                      EXHIBIT 7




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  EXHIBIT 7
